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                                                                     CLOSED,APPEAL,ECF,PRIOR
                            U.S. District Court
               Southern District of New York (Foley Square)
     CRIMINAL DOCKET FOR CASE #: 1:14−cr−00068−KBF All Defendants

Case title: USA v. Ulbricht
Magistrate judge case number: 1:13−mj−02328−UA

Date Filed: 02/04/2014
Date Terminated: 06/01/2015

Assigned to: Judge Katherine B.
Forrest

Defendant (1)
Ross William Ulbricht             represented by Joshua Lewis Dratel
TERMINATED: 06/01/2015                           Law Offices of Joshua L. Dratel, P.C.
also known as                                    29 Broadway, Suite 1412
Dread Pirate Roberts                             New York, NY 10006
TERMINATED: 06/01/2015                           (212) 732−0707
also known as                                    Fax: (212) 571−6341
Silk Road                                        Email: jdratel@joshuadratel.com
TERMINATED: 06/01/2015                           Designation: Retained
also known as
Sealed Defendant 1                               Joshua Jacob Horowitz
TERMINATED: 06/01/2015                           Tech Law Ny
also known as                                    225 Broadway
DPR                                              New York, NY 10007
TERMINATED: 06/01/2015                           (212)−203−9011
                                                 Email: joshua.horowitz@techlawny.com
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

                                                 Lindsay Anne Lewis
                                                 Law Offices of Joshua Dratel, P.C(2 Wall St.)
                                                 2 Wall Street, 3rd Floor
                                                 New York, NY 10005
                                                 (212)−732−3141
                                                 Fax: (212)−571−3792
                                                 Email: llewis@joshuadratel.com
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

                                                 Paul Grant
                                                 Law Office of Paul Grant
                                                 P.O. Box 2720
                                                 Parker, CO 80134
                                                 (303)−909−6133
                                                 Email: paul_pglaw@yahoo.com
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Retained

Pending Counts                                   Disposition
21:841A=CD.F AIDING AND                          The defendant is hereby committed to the custody of
ABETTING DISTRIBUTION OF                         the United States Bureau of Prisons to be imprisoned
DRUGS OVER INTERNET                              for a total term of: Counts Two (2) and Four (4):
(2s)                                             Life to run concurrently; Count (5): Five (5) Years to
                                                 run concurrently; Count Six (6): Fifteen (15) Years
                                                 to run concurrently; Count Seven (7): Twenty (20)
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                                              Years to run concurrently. Upon release from
                                              imprisonment, the defendant shall be on supervised
                                              release for a term of: Life on Counts Two (2) and
                                              Four (4) to run concurrently; Three (3) Years on
                                              Counts Five (5), Six (6) and Seven (7) to run
                                              concurrently.
                                              The defendant is hereby committed to the custody of
                                              the United States Bureau of Prisons to be imprisoned
                                              for a total term of: Counts Two (2) and Four (4):
                                              Life to run concurrently; Count (5): Five (5) Years to
                                              run concurrently; Count Six (6): Fifteen (15) Years
21:848.F CONTINUING                           to run concurrently; Count Seven (7): Twenty (20)
CRIMINAL ENTERPRISE                           Years to run concurrently. Upon release from
(4s)                                          imprisonment, the defendant shall be on supervised
                                              release for a term of: Life on Counts Two (2) and
                                              Four (4) to run concurrently; Three (3) Years on
                                              Counts Five (5), Six (6) and Seven (7) to run
                                              concurrently.
                                              The defendant is hereby committed to the custody of
                                              the United States Bureau of Prisons to be imprisoned
                                              for a total term of: Counts Two (2) and Four (4):
                                              Life to run concurrently; Count (5): Five (5) Years to
18:1030A.F COMPUTER                           run concurrently; Count Six (6): Fifteen (15) Years
HACKING CONSPIRACY                            to run concurrently; Count Seven (7): Twenty (20)
(5s)                                          Years to run concurrently. Upon release from
                                              imprisonment, the defendant shall be on supervised
                                              release for a term of: Life on Counts Two (2) and
                                              Four (4) to run concurrently; Three (3) Years on
                                              Counts Five (5), Six (6) and Seven (7) to run
                                              concurrently.
                                              The defendant is hereby committed to the custody of
                                              the United States Bureau of Prisons to be imprisoned
                                              for a total term of: Counts Two (2) and Four (4):
                                              Life to run concurrently; Count (5): Five (5) Years to
18:1028A.F FRAUD WITH                         run concurrently; Count Six (6): Fifteen (15) Years
IDENTIFICATION                                to run concurrently; Count Seven (7): Twenty (20)
DOCUMENTS                                     Years to run concurrently. Upon release from
(6s)                                          imprisonment, the defendant shall be on supervised
                                              release for a term of: Life on Counts Two (2) and
                                              Four (4) to run concurrently; Three (3) Years on
                                              Counts Five (5), Six (6) and Seven (7) to run
                                              concurrently.
                                              The defendant is hereby committed to the custody of
                                              the United States Bureau of Prisons to be imprisoned
                                              for a total term of: Counts Two (2) and Four (4):
                                              Life to run concurrently; Count (5): Five (5) Years to
                                              run concurrently; Count Six (6): Fifteen (15) Years
18:1956−4999.F MONEY                          to run concurrently; Count Seven (7): Twenty (20)
LAUNDERING CONSPIRACY                         Years to run concurrently. Upon release from
(7s)                                          imprisonment, the defendant shall be on supervised
                                              release for a term of: Life on Counts Two (2) and
                                              Four (4) to run concurrently; Three (3) Years on
                                              Counts Five (5), Six (6) and Seven (7) to run
                                              concurrently.

Highest Offense Level (Opening)
Felony

Terminated Counts                             Disposition
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21:846=CD.F DRUG                                 Count is dismissed on the motion of the United
TRAFFICKING CONSPIRACY                           States.
(1)
21:841G=CI.F DRUG                                Count is dismissed on the motion of the United
TRAFFICKING                                      States.
(1s)
21:848.F CONTINUING                              Count is dismissed on the motion of the United
CRIMINAL ENTERPRISE                              States.
(2)
18:1030B.F COMPUTER                              Count is dismissed on the motion of the United
HACKING CONSPIRACY                               States.
(3)
21:846=CD.F DRUG                                 Count is dismissed on the motion of the United
TRAFFICKING CONSPIRACY                           States.
(3s)
18:1956−6801.F MONEY
LAUNDERING (DRUG                                 Count is dismissed on the motion of the United
TRAFFICKING CONSPIRACY)                          States.
(4)

Highest Offense Level
(Terminated)
Felony

Complaints                                       Disposition
21:846=CD.F CONSPIRACY TO
DISTRIBUTE CONTROLLED
SUBSTANCE, 18:1030A.F
FRAUD ACTIVITY
CONNECTED WITH
COMPUTERS, , 18:1956−4999.F
MONEY LAUNDERING−
FRAUD, OTHER


Plaintiff
USA                                         represented by Eun Young Choi
                                                           United States Attorney's Office, SDNY
                                                           One Saint Andrew's Plaza
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                                                           (212) 637−2187
                                                           Fax: (212) 637−3290
                                                           Email: eun.young.choi@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Michael Daniel Neff
                                                           U.S. Attorney's Office, SDNY
                                                           1 St. Andrew's Plaza
                                                           New York, NY 10007
                                                           212−637−2107
                                                           Email: michael.neff2@usdoj.gov
                                                           ATTORNEY TO BE NOTICED

                                                           Serrin Andrew Turner
                                                           U.S. Attorney's Office, SDNY (Chambers
                                                           Street)
                                                           86 Chambers Street
                                                           New York, NY 10007
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                                                              (212)−637−2701
                                                              Fax: (212)−637−2686
                                                              Email: serrin.turner@usdoj.gov
                                                              ATTORNEY TO BE NOTICED

                                                              Timothy Turner Howard
                                                              U.S. Attorney's Office, SDNY
                                                              One St. Andrew's Plaza
                                                              New York, NY 10007
                                                              (212) 637−2308
                                                              Fax: (212) 637−2387
                                                              Email: timothy.howard@usdoj.gov
                                                              ATTORNEY TO BE NOTICED

Date Filed   #   Docket Text
09/27/2013       SEALED ORAL ORDER as to Sealed Defendant 1. (Signed by Magistrate Judge
                 Frank Maas on 9/27/2013)(dif) [1:13−mj−02328−UA] (Entered: 10/22/2013)
09/27/2013    1 COMPLAINT as to Sealed Defendant 1 (1). In Violation of 21 U.S.C. 846, 18 U.S.C.
                1030 & 1956 (Signed by Magistrate Judge Frank Maas) (dif) [1:13−mj−02328−UA]
                (Entered: 10/22/2013)
10/01/2013       Arrest of Ross William Ulbright in the United States District Court − Northern District
                 of California. (dif) [1:13−mj−02328−UA] (Entered: 10/22/2013)
10/18/2013    3 Rule 5(c)(3) Documents Received as to Ross William Ulbright from the United States
                District Court − Northern District of California. (dif) [1:13−mj−02328−UA] (Entered:
                10/22/2013)
11/05/2013       Arrest of Ross William Ulbright. (dif) [1:13−mj−02328−UA] (Entered: 11/06/2013)
11/06/2013    4 NOTICE OF ATTORNEY APPEARANCE: Retained Attorney Joshua Lewis Dratel
                appearing for Ross William Ulbright. (dif) [1:13−mj−02328−UA] (Entered:
                11/06/2013)
11/06/2013       Minute Entry for proceedings held before Magistrate Judge Ronald L. Ellis: Initial
                 Appearance as to Ross William Ulbright held on 11/6/2013., Deft Appears with
                 Retained Attorney Joshua Dratel and AUSA Serrin Turner for the government.
                 Detention Hearing Scheduled for 11/21/13 at 11:00 AM; ( Preliminary Hearing set for
                 12/6/2013 at 10:00 AM before Judge Unassigned.) (dif) [1:13−mj−02328−UA]
                 (Entered: 11/06/2013)
11/21/2013       Minute Entry for proceedings held before Magistrate Judge Kevin Nathaniel Fox:
                 Detention Hearing as to Ross William Ulbright held on 11/21/2013. Deft Appears with
                 Retained Attorney Joshua Dratel and AUSA Serrin Turner for the government.
                 Detention. The Defendant Did Not Overcome The Presumption That There Are No
                 Conditions That Can Be Fashioned to Permit Him To Be At Liberty While The
                 Criminal Action is Pending. Clear and Convincing Evid That The Defendant Sought
                 To Have Several Persons Murdered Was Presented To The Court Which Demonstrate
                 The Defendant Presents As A Danger To The Community. In Addition Considerable
                 Un−Rebutted Evid Was Presented That The Defendant Has The Resources To Flee
                 and Previously Acquired Many False Identification Documents That Would Permit
                 Him to Flee. Furthermore He Has Used an Alias Previously. (dif)
                 [1:13−mj−02328−UA] (Entered: 11/21/2013)
11/22/2013    5 SEALED DOCUMENTS FILED as to Ross William Ulbright.. (Signed by Magistrate
                Judge Kevin Nathaniel Fox on 11/22/2013)(dif) [1:13−mj−02328−UA] (Entered:
                11/26/2013)
11/22/2013    6 LETTER as to Ross William Ulbright addressed to Magistrate Judge Kevin Nathaniel
                Fox from Joshua Dratel, Esq dated 11/19/2013 re: USA v Ross William Ulbright, 13
                Mag 2328.. (Signed by Magistrate Judge Kevin Nathaniel Fox on 11/22/2013) (Docket
                and File(dif) [1:13−mj−02328−UA] (Entered: 11/26/2013)
11/22/2013    7 LETTER as to Ross William Ulbright addressed to Magistrate Judge Kevin Nathaniel
                Fox from Joshua Dratel, Esq dated 11/20/2013 re: USA v Ross William Ulbright, 13
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                 Mag 2328.. (Signed by Magistrate Judge Kevin Nathaniel Fox on 11/22/2013) (Docket
                 and File)(dif) [1:13−mj−02328−UA] (Entered: 11/26/2013)
11/22/2013    8 LETTER as to Ross William Ulbright addressed to Magistrate Judge Kevin Nathaniel
                Fox from AUSA Serrin Turner dated 11/20/2013 re: USA v Ross William Ulbright, 13
                Mag 2328.. (Signed by Magistrate Judge Kevin Nathaniel Fox on 11/22/2013) (Docket
                and File)(dif) Modified on 12/4/2013 (jm). [1:13−mj−02328−UA] (Entered:
                11/26/2013)
12/06/2013    9 AFFIRMATION of Serrin Turner in Support by USA as to Ross William Ulbright, the
                government is requesting a 30−day continuance until 1/6/14.(jbo)
                [1:13−mj−02328−UA] (Entered: 12/09/2013)
12/06/2013   10 ORDER TO CONTINUE IN THE INTEREST OF JUSTICE as to Ross William
                Ulbright. Time excluded from 12/6/13 until 1/6/14. (Signed by Magistrate Judge James
                C. Francis on 12/6/13)(jbo) [1:13−mj−02328−UA] (Entered: 12/09/2013)
01/06/2014   11 AFFIRMATION of AUSA Serrin Turner in Support by USA as to Ross William
                Ulbright, the Government is requesting a 30 continuance until 2/4/2014. (ajc)
                [1:13−mj−02328−UA] (Entered: 01/07/2014)
01/06/2014       ORDER TO CONTINUE IN THE INTEREST OF JUSTICE as to Ross William
                 Ulbright re: 10 Order to Continue − Interest of Justice. Time excluded from 1/6/2014
                 until 2/4/2014. Follows oral order of 1/6/2014. (Signed by Magistrate Judge Sarah
                 Netburn on 1/6/2014) (ajc) [1:13−mj−02328−UA] (Entered: 01/07/2014)
02/04/2014       Case Designated ECF as to Ross William Ulbright. (jbo) (Entered: 02/04/2014)
02/04/2014   12 INDICTMENT FILED as to Ross William Ulbricht (1) count(s) 1, 2, 3, 4. (jbo)
                (Entered: 02/04/2014)
02/07/2014       Minute Entry for proceedings held before Judge Katherine B. Forrest:Arraignment as
                 to Ross William Ulbricht (1) Count 1,2,3,4Ross William Ulbricht (1) Count 1,2,3,4
                 held on 2/7/2014., Plea entered by Ross William Ulbricht (1) Count 1,2,3,4Ross
                 William Ulbricht (1) Count 1,2,3,4 Not Guilty. Defendant present with attorneys
                 Joshua Dratel and Lindsay Lewis. AUSA Serrin Turner present. Special Agent Ilh
                 Wan Yum and Special Agent Gary Alfred present. Court Reporter present. Defendant
                 arraigned on the Indictment and enters a plea of not guilty. Order to follow. Defendant
                 remand continued. (jp) (Entered: 02/10/2014)
02/10/2014   13 ORDER as to Ross William Ulbricht ( Discovery due by 2/27/2014., Motions due by
                3/10/2014., Replies due by 3/31/2014., Responses due by 3/24/2014, Jury Trial set for
                11/3/2014 at 09:00 AM before Judge Katherine B. Forrest., Status Conference set for
                4/30/2014 at 01:00 PM before Judge Katherine B. Forrest.) Time excluded from 2/7/14
                until 4/30/14. Not later than 2113/2014, defense counsel shall provide the Government
                with hard drives of sufficient storage size so that the Government can copy the
                electronic discovery and turn it over to the defendant. Not later than 2/27/2014, the
                Government shall provide to the defendant the above electronic discovery. Non
                electronic discovery shall be provided to the defendant not later than 2/20/2014. All
                discovery is to be completed not later than 2/27/2014. Motions relating to the
                Indictment are to be filed not later than 3/10/2014. Responses are due not later than
                3/24/2014. Replies, if any, are due 3/31/2014. Trial is scheduled to commence on
                11/3/2014, at 9:00 a.m. Six weeks have been allocated at this time. A final pretrial
                conference will be held on 10/28/2014, at 1:00 p.m. Upon application of the
                Government and consented to by defendant, and as set forth on the record, time
                pursuant to 18 U.S.C. 3161 (h)(7)(A) of the Speedy Trial Act, is hereby excluded from
                2/7/2014, to 4130/2014. The Court finds the ends of justice are served by such an
                exclusion and that these ends outweigh the interests of the public and defendant in a
                speedy trial (Signed by Judge Katherine B. Forrest on 2/10/14)(jw) (Entered:
                02/10/2014)
02/24/2014   14 PROTECTIVE ORDER as to Ross William Ulbricht...regarding procedures to be
                followed that shall govern the handling of confidential material.... (Signed by Judge
                Katherine B. Forrest on 2/24/14)(jw) (Entered: 02/24/2014)
02/24/2014   15 SEALED DOCUMENT placed in vault. (nm) (Entered: 02/24/2014)
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02/25/2014   16 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Serrin Turner dated 2/25/2014 re: To request that the discovery deadline
                set by the Court in this matter for February 27, 2014 be extended by 12 days until
                March 11, 2014.ENDORSEMENT: SO ORDERED ( Discovery due by 3/11/2014.)
                (Signed by Judge Katherine B. Forrest on 2/25/14)(jw) (Entered: 02/25/2014)
03/10/2014   17 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Attorney Joshua L. Dratel dated March 7, 2014 re: For the reasons set
                forth in this letter, counsel requested that the Court grant a ten−day extension until
                Thursday, March 20, 2014, for the filing of the Defendant's Pre−Trial Motions.
                Assistant United States Attorney Serrin Turner has informed me that the government
                consents to this request as long as the government's time to respond is extended until
                April 10, 2014, which includes an additional week beyond the mere adjustment of the
                motion schedule because AUSA Turner will not be available the week of March 24th.
                ENDORSEMENT: Application granted. Dates adjusted as set forth above. (Signed by
                Judge Katherine B. Forrest on 3/7/2014)(bw) (Entered: 03/10/2014)
03/19/2014   18 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Joshua L. Dratel dated 3/19/14 re: For the reasons set forth below, it is
                respectfully requested that the Court grant an additional eight−day extension until
                Friday, March 28, 2014, for the filing of the Defendant's Pretrial Motions. Assistant
                United States Attorney Serrin Turner has informed me that the government consents to
                this request as long as a corresponding extension, until April 18, 2014, is provided for
                the government..ENDORSEMENT: Application Granted. SO ORDERED. (Signed by
                Judge Katherine B. Forrest on 3/19/14)(jw) (Entered: 03/19/2014)
03/28/2014   19 FIRST MOTION to Dismiss Challenging the Face of the Indictment. Document filed
                by Ross William Ulbricht. (Dratel, Joshua) (Entered: 03/28/2014)
03/28/2014   20 DECLARATION of Joshua L. Dratel, Esq. in Support as to Ross William Ulbricht re:
                19 FIRST MOTION to Dismiss Challenging the Face of the Indictment..
                (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2)(Dratel, Joshua) (Entered:
                03/28/2014)
03/29/2014   21 MEMORANDUM in Support by Ross William Ulbricht re 19 FIRST MOTION to
                Dismiss Challenging the Face of the Indictment.. (Dratel, Joshua) (Entered:
                03/29/2014)
03/31/2014   22 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Serrin Turner dated 3/28/14 re: The Government therefore respectfully
                requests that the Court extend the time for the Government to file any superseding
                indictment by 60 days, i.e., until May 30, 2014..ENDORSEMENT: Application
                granted (Signed by Judge Katherine B. Forrest on 3/31/14)(jw) (Entered: 03/31/2014)
04/10/2014   23 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on
                2/7/14 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Eve Giniger,
                (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                through the Court Reporter/Transcriber before the deadline for Release of Transcript
                Restriction. After that date it may be obtained through PACER. Redaction Request due
                5/5/2014. Redacted Transcript Deadline set for 5/15/2014. Release of Transcript
                Restriction set for 7/14/2014. (Rodriguez, Somari) (Entered: 04/10/2014)
04/10/2014   24 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                Notice is hereby given that an official transcript of a Conference proceeding held on
                2/7/14 has been filed by the court reporter/transcriber in the above−captioned matter.
                The parties have seven (7) calendar days to file with the court a Notice of Intent to
                Request Redaction of this transcript. If no such Notice is filed, the transcript may be
                made remotely electronically available to the public without redaction after 90
                calendar days.... (Rodriguez, Somari) (Entered: 04/10/2014)
04/16/2014   25 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Serrin Turner dated 4/16/14 re: The Government requests that the
                briefing schedule for the motion to dismiss be extended.ENDORSEMENT:
                Application granted. (I did not use the Govt's proposed order because it has the Court's
                signature line of a page by itself −− causing certain concerns) (Defendant Replies due
                by 5/5/2014., Government Responses due by 4/28/2014) (Signed by Judge Katherine
                B. Forrest on 4/16/14)(jw) (Entered: 04/16/2014)
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04/28/2014   26 MEMORANDUM in Opposition by USA as to Ross William Ulbricht re 19 FIRST
                MOTION to Dismiss Challenging the Face of the Indictment.. (Attachments: # 1
                Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Turner, Serrin) (Entered: 04/28/2014)
04/29/2014   27 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Joshua L. Dratel dated 4/25/2014 re: For the reasons stated in this letter,
                defense counsel writes to request an adjournment of the pretrial conference scheduled
                for February 19, 2014. ENDORSEMENT: Adjourned to 6/2/2014 at 2:00 p.m. (Signed
                by Judge Katherine B. Forrest on 4/28/2014)(dnd) . (Entered: 04/29/2014)
05/09/2014   28 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Attorney Joshua L. Dratel dated May 9, 2014 re: submitted to request an
                extension until May 23, 2014, for the filing of Mr. Ulbricht's Reply to the
                Government's Response to the Defendant's Pre−Trial Motions challenging the face of
                the Indictment. This adjustment in the briefingschedule will not impact the next
                pre−trial conference in this case, which is currently scheduled for June 2, 2014, at 2
                p.m., and at which time the motions will be fully briefed. ENDORSEMENT:
                Application granted. (Signed by Judge Katherine B. Forrest on 5/9/2014)(bw)
                (Entered: 05/12/2014)
05/22/2014   29 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                Joshua L. Dratel, Esq. dated May 22, 2014 re: Extension of Time for File of Reply
                (Dratel, Joshua) (Entered: 05/22/2014)
05/22/2014   30 NOTICE OF ATTORNEY APPEARANCE Timothy Turner Howard appearing for
                USA. (Howard, Timothy) (Entered: 05/22/2014)
05/23/2014   31 MEMO ENDORSEMENT as to Ross William Ulbricht on re: 29 Letter filed by Ross
                William Ulbricht. ENDORSEMENT: ORDERED: Application Granted. (Signed by
                Judge Katherine B. Forrest on 5/23/2014)(ft) (Entered: 05/23/2014)
05/23/2014       Set/Reset Deadlines/Hearings as to Ross William Ulbricht: Replies due by 5/27/2014.
                 (ft) (Entered: 05/23/2014)
05/27/2014   32 REPLY MEMORANDUM OF LAW in Support as to Ross William Ulbricht re: 19
                FIRST MOTION to Dismiss Challenging the Face of the Indictment. . (Dratel, Joshua)
                (Entered: 05/27/2014)
06/02/2014   33 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Serrin Turner dated 5/30/14 re: The Government is continuing to
                investigate other charges against the defendant and requires additional time to pursue
                its investigation before determining whether to seek a superseding indictment. The
                Government therefore respectfully requests that the Court extend the time for the
                Government to file any superseding indictment by 30 additional days, i.e., until June
                30, 2014. The Government does not anticipate that any further extension will be
                needed after June 30, 2014. The Government submits that this schedule will still afford
                the defense ample time to review any additional discovery and prepare for trial, which
                is set to begin on November 4, 2014.ENDORSEMENT: SO ORDERED. (Signed by
                Judge Katherine B. Forrest on 6/2/14)(jw) (Entered: 06/02/2014)
06/02/2014       Minute Entry for proceedings held before Judge Katherine B. Forrest:Status
                 Conference as to Ross William Ulbricht held on 6/2/2014. Defendant present with
                 attorneys Joshua Dratel and Lindsay Lewis. AUSAs Serrin Turner and Tim Howard
                 present. Conference held. Order to follow. Detention continued. (jp) (Entered:
                 06/02/2014)
06/03/2014   34 ORDER as to Ross William Ulbricht ( Motions due by 7/15/2014., Replies due by
                8/27/2014., Responses due by 8/15/2014, Status Conference set for 9/5/2014 at 12:00
                PM before Judge Katherine B. Forrest.) The Court hereby ORDERS the parties to
                comply with the following schedule for the remainder of this litigation: Dispositive
                motions shall be filed by July 15, 2014; oppositions are due August 15, 2014, and
                replies, if any, shall be filed by August 27, 2014; The parties shall together determine
                the date by which trial exhibits are to be exchanged to allow adequate time for
                objections to be interposed (if a date cannot be agreed upon, the Court will set one at
                the next status conference); The parties shall confer as to whether they believe juror
                questionnaires would be helpful in this case. They shall submit a joint letter setting
                forth their views on this topic by August 1, 2014 (if they believe questionnaires would
                be helpful, the August 1 letter should contain a proposed date for submission of a draft
      Case  18-691,
             18-691,Document
                     Document29-2, 06/19/2018, 2328483, Page10 of 105
      Case:
       Case1:14-cr-00068-KBF  1-2,
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                                   03/12/2018,
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                  to the Court); A status conference shall occur on September 5, 2014 at 12:00 p.m. Rule
                  404(b) motions shall be submitted by October 3, 2014; Motions in Limine shall be
                  submitted by October 17, 2014; oppositions are due October 24, 2014. 3500 material
                  shall be submitted not later than October 31, 2014; and A final pretrial conference
                  shall occur on October 29, 2014 at 2:00 p.m. (the Court has reserved three hours).
                  (Signed by Judge Katherine B. Forrest on 6/3/14)(jw) (Entered: 06/03/2014)
06/26/2014   35 MOTION To Intervene Solely For The Purpose right To Access Judicial Proceeding
                Records. Document filed by Intervenors. (dnd) (Entered: 06/26/2014)
06/27/2014        Minute Entry for proceedings held before Judge Katherine B. Forrest: Conference as to
                  Ross William Ulbricht held on 6/27/2014. Defendant waives his appearance. Counsel
                  for defendant, Joshua Dratel and Lindsay Lewis present. AUSAs Serrin Turner and
                  Tim Howard present. Court Reporter present. Conference held. (jp) (Entered:
                  06/27/2014)
06/27/2014   36 Waiver of Appearance as to Ross William Ulbricht. I have spoken with my attorney,
                Joshua L. Dratel, Esq., and he has advised me of thenature of the June 27, 2014, Court
                conference scheduled in the above−captioned matter. I hereby knowingly waive my
                right to appear in person June 27, 2014, at 2:30 p.m., before the Honorable Katherine
                B. Forrest, United States District Judge for the Southern District of New York, at the
                United States Courthouse located at 500 Pearl Street, New York, in the
                above−captioned matter. I authorize my attorneys Joshua L. Dratel, Esq., and Lindsay
                A. Lewis, Esq., to appear on my behalf at that conference. (jw) (Entered: 06/27/2014)
06/27/2014   37 ORDER as to Ross William Ulbricht. On June 27, 2014, a status conference was held
                in the above−referenced matter. (Mr. Ulbricht was not in attendance; he waived his
                right to appear in person. That waiver has been filed electronically.) As was discussed,
                the Court hereby ORDERS the following: −The parties shall submit a letter (jointly, if
                possible) that sets forth the status of Mr. Ulbricht' s access to discovery by the close of
                business on July 7, 2014. In particular, the letter shall set forth the number of hours
                Mr. Ulbricht requested to view the electronic discovery and the number of hours he
                actually had such access from June 28, 2014 through July 6, 2014. −Defendant's
                counsel shall notify the Court no later than the close of business on July 2, 2014 if Mr.
                Ulbricht has not yet received access to the hard drives. −The schedule has been
                adjusted as follows: defendant shall file any dispositive motion by July 29, 2014; the
                Government's response is due by August 26, 2014; and the reply, if any, shall be filed
                by September 12, 2014. Separately, the Court notes that on June 26, 2014, it received a
                letter motion from four incarcerated individuals seeking permission to intervene in this
                action (the letter is included herein). Because there is no provision that allows for such
                intervention in criminal actions, the Court DENIES the request.(See Footnote 1). SO
                ORDERED. (Signed by Judge Katherine B. Forrest on 6/27/2014) [*** FOOTNOTE
                1: The Court notes that as a matter of policy and practice, the proceedings that occur
                and the submissions that are made in this matter are, generally speaking, publicly
                available − it is an open courtroom and a public docket. ***] (bw) (Entered:
                06/30/2014)
07/02/2014   38 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on
                6/2/14 before Judge Katherine B. Forrest. Court Reporter/Transcriber: William
                Richards, (212) 805−0300, Transcript may be viewed at the court public terminal or
                purchased through the Court Reporter/Transcriber before the deadline for Release of
                Transcript Restriction. After that date it may be obtained through PACER. Redaction
                Request due 7/28/2014. Redacted Transcript Deadline set for 8/7/2014. Release of
                Transcript Restriction set for 10/3/2014. (Rodriguez, Somari) (Entered: 07/02/2014)
07/02/2014   39 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                Notice is hereby given that an official transcript of a Conference proceeding held on
                6/2/14 has been filed by the court reporter/transcriber in the above−captioned matter.
                The parties have seven (7) calendar days to file with the court a Notice of Intent to
                Request Redaction of this transcript. If no such Notice is filed, the transcript may be
                made remotely electronically available to the public without redaction after 90
                calendar days.... (Rodriguez, Somari) (Entered: 07/02/2014)
07/07/2014   40 ORDER as to Ross William Ulbricht. On July 3, 2014, the Court sent the attached
                letter via email to Nicole McFarland, Senior Staff Attorney at the Metropolitan
                Detention Center. (Signed by Judge Katherine B. Forrest on 7/7/14)(jw) (Entered:
      Case  18-691,
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      Case:
       Case1:14-cr-00068-KBF  1-2,
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                 07/07/2014)
07/08/2014   41 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Timothy T. Howard dated 7/7/2014 re: Status Update. ENDORSEMENT:
                Ordered: Post to docket. (Signed by Judge Katherine B. Forrest on 7/8/2014)(ft)
                (Entered: 07/08/2014)
07/09/2014   42 OPINION AND ORDER #104494: as to Ross William Ulbricht re: 19 FIRST
                MOTION to Dismiss Challenging the Face of the Indictment. filed by Ross William
                Ulbricht. For the reasons set forth on this Opinion and Order, the defendant's motion to
                dismiss is DENIED in its entirety. The clerk of the Court is directed to terminate the
                motion at ECFNo. 19. (Signed by Judge Katherine B. Forrest on 7/9/2014)(jp)
                Modified on 7/11/2014 (ca). (Entered: 07/09/2014)
07/15/2014   43 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Serrin Turner dated 7/14/2014 re: Status Update. ENDORSEMENT:
                Ordered: Post to docket. (Signed by Judge Katherine B. Forrest on 7/14/2014)(ft)
                (Entered: 07/15/2014)
07/25/2014   44 ENDORSED LETTER: As to Ross William Ulbricht addressed to Magistrate Judge
                Kevin Nathaniel Fox from Joshua L. Dratel dated 7/24/2014 re: Defense counsel
                writes to request a two day extension until July 31, 2014 to file the defendant's
                motions. ENDORSEMENT: Application Granted. SO ORDERED. (Signed by
                Magistrate Judge Kevin Nathaniel Fox on 7/25/2014)(dnd) (Entered: 07/25/2014)
07/31/2014   45 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Joshua L. Dratel dated 7/30/2014 re: Extension of Time to File Motion.
                ENDORSEMENT: Ordered: Application granted. (Motions due by 8/1/2014.) (Signed
                by Judge Katherine B. Forrest on 7/31/2014)(ft) (Entered: 07/31/2014)
08/01/2014   46 MOTION to Suppress Certain Evidence., MOTION for Discovery ., MOTION for Bill
                of Particulars . Document filed by Ross William Ulbricht. (Dratel, Joshua) (Entered:
                08/01/2014)
08/01/2014   47 DECLARATION of Joshua L. Dratel in Support as to Ross William Ulbricht re: 46
                MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill
                of Particulars .. (Dratel, Joshua) (Entered: 08/01/2014)
08/01/2014   48 MEMORANDUM in Support by Ross William Ulbricht re 46 MOTION to Suppress
                Certain Evidence. MOTION for Discovery . MOTION for Bill of Particulars .. (Dratel,
                Joshua) (Entered: 08/01/2014)
08/04/2014   49 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                Joshua L. Dratel, Esq. dated August 4, 2014 re: Juror Questionnaire (Dratel, Joshua)
                (Entered: 08/04/2014)
08/05/2014   50 ORDER as to Ross William Ulbricht. The Court has received defendant's application
                for an extension of time to subject a proposed juror questionnaire and accompanying
                letter motion. Without taking a position on the ultimately utility, if any, of a juror
                questionnaire in this action, the Court hereby GRANTS defendant's request. The
                Government is ORDERED to respond to any submission by defendant not later than
                September 5, 2014 at 8:30 a.m. SO ORDERED. (Signed by Judge Katherine B. Forrest
                on 8/5/2014)(bw) (Entered: 08/05/2014)
08/08/2014   51 NOTICE OF ATTORNEY APPEARANCE: Lindsay Anne Lewis appearing for Ross
                William Ulbricht. Appearance Type: Retained. (Lewis, Lindsay) (Entered:
                08/08/2014)
08/21/2014   52 (S1) SUPERSEDING INDICTMENT FILED as to Ross William Ulbricht (1) count(s)
                1s, 2s, 3s, 4s, 5s, 6s, 7s. (jbo) (Entered: 08/21/2014)
08/22/2014   53 LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel,
                Esq. dated August 22, 2014 re: Respectfully Requesting that the Court Order the Use
                of a Juror Questionnaire . Document filed by Ross William Ulbricht. (Attachments: # 1
                Exhibit Defendant's Proposed Questionnaire)(Dratel, Joshua) (Entered: 08/22/2014)
08/29/2014   54 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Serrin Turner dated 8/29/2014 re: On August 1, 2014, the defendant filed
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        Case1:14-cr-00068-KBF  As
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                  a 90−page suppression motion. The Governments opposition is presently due today,
                  August 29, 2014... the Government respectfully requests that the briefing schedule for
                  the motion to dismiss be extended by one week, as follows: Governments opposition
                  due: September 5, 2014. Defendants reply due: September 23, 2014.
                  ENDORSEMENT: Application Granted. SO ORDERED. (Signed by Judge Katherine
                  B. Forrest on 8/29/2014)(dnd) (Entered: 08/29/2014)
09/03/2014   55 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                Joshua L. Dratel, Esq. dated September 3, 2014 re: Update To the Court on the
                Discovery Review Process (Dratel, Joshua) (Entered: 09/03/2014)
09/05/2014        Minute Entry for proceedings held before Judge Katherine B. Forrest:Arraignment as
                  to Ross William Ulbricht (1) Count 1s,2s,3s,4s,5s,6s,7sRoss William Ulbricht (1)
                  Count 1s,2s,3s,4s,5s,6s,7s held on 9/5/2014., Plea entered by Ross William Ulbricht
                  (1) Count 1s,2s,3s,4s,5s,6s,7sRoss William Ulbricht (1) Count 1s,2s,3s,4s,5s,6s,7s Not
                  Guilty. Defendant present with attorneys Joshua Dratel, Lindsay Lewis, and Joshua
                  Horowitz. AUSA Serrin Turner present. Court Reporter present. Defendant arraigned
                  on the Superseding Indictment and enters a plea of not guilty to all counts. Order to
                  follow. Pretrial detention continued. (jp). (Entered: 09/05/2014)
09/05/2014   56 MEMORANDUM in Opposition by USA as to Ross William Ulbricht re 46 MOTION
                to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of
                Particulars .. (Turner, Serrin) (Entered: 09/05/2014)
09/05/2014   57 DECLARATION of Christopher Tarbell in Opposition by USA as to Ross William
                Ulbricht re: 46 MOTION to Suppress Certain Evidence. MOTION for Discovery .
                MOTION for Bill of Particulars .. (Turner, Serrin) (Entered: 09/05/2014)
09/08/2014   58 ORDER as to Ross William Ulbricht ( Motions due by 9/26/2014., Replies due by
                9/23/2014., Responses due by 9/9/2014, Status Conference set for 10/17/2014 at 11:00
                AM before Judge Katherine B. Forrest.) The Government shall submit a response to
                defendant's submission regarding a proposed juror questionnaire not later than
                Tuesday, September 9, 2014. Any motion by defendant regarding additional counts in
                the Superseding Indictment shall be made by letter not later than Friday, September
                26, 2014. The Government shall respond as soon as practicable, but not later than
                Tuesday, September 30, 2014. The government shall provide a proposed exhibit list to
                defendant not later than Tuesday, October 21, 2014. Defendant shall provide a
                proposed exhibit list to the Government not later than Friday, October 24, 2014,
                indicating any objections to the Government's exhibits. Parties shall submit final
                pretrial materials by Friday, October 31, 2014. Those materials include (a) trial witness
                lists; (b) joint proposed voir dire; (c) joint proposed requests to charge, and verdict
                form; (d) exhibit lists; (e) objections to proposed exhibits; and (f) a list of stipulations.
                The final pretrial conference is now scheduled to occur on Wednesday November 5,
                2014 at 2:00pm. The parties shall set aside three hours. The trial is now scheduled to
                commence Monday, November 10, 2014. (Signed by Judge Katherine B. Forrest on
                9/8/14)(jw) (Entered: 09/08/2014)
09/08/2014   59 NOTICE OF ATTORNEY APPEARANCE: Joshua Jacob Horowitz appearing for
                Ross William Ulbricht. Appearance Type: Retained. (Horowitz, Joshua) (Entered:
                09/08/2014)
09/09/2014   60 LETTER RESPONSE in Opposition by USA as to Ross William Ulbricht addressed to
                Judge Katherine B. Forrest from AUSA Serrin Turner dated 09/09/2014 re: 53
                LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel,
                Esq. dated August 22, 2014 re: Respectfully Requesting that the Court Order the Use
                of a Juror Questionnaire .. (Turner, Serrin) (Entered: 09/09/2014)
09/15/2014   61 MEMO ENDORSEMENT granting 53 LETTER MOTION Respectfully Requesting
                that the Court Order the Use of a Juror Questionnaire as to Ross William Ulbricht (1).
                ENDORSEMENT: Ordered: Defendant's application for a questionnaire is granted.
                However, the Court does not all of defendant's questions and will put out a revised
                questionnaire and schedule for use of such shortly. (Signed by Judge Katherine B.
                Forrest on 9/15/2014) (ft) (Entered: 09/15/2014)
09/16/2014   62 ORDER as to Ross William Ulbricht. In accordance with the Court's Order on
                September 15, 2014 granting the use of a juror questionnaire (ECF No. 61), defendant
                shall provide by Friday, September 19, 2014 one Excel spreadsheet (using a template
       Case  18-691,
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                 similar to that employed in United States v. Mostafa) with columns corresponding to
                 those questions the Court has indicated it is considering including. The Court plans to
                 finalize the juror questionnaire by Friday, September 26, 2014. The process shall be as
                 follows: Potential jurors will be given the questionnaire on Wednesday, November 5,
                 2014. 2. It is anticipated that the parties will have access to the questionnaires by 1:00
                 p.m. on that day. 3. The parties shall agree as between themselves which side shall
                 take the laboring oar of filling in the spreadsheet based on juror responses. Both sides
                 must agree that the Excel spreadsheet properly reflects the questionnaire responses.
                 The parties shall then confer and present the Court with a list of jointly agreed strikes
                 as well as a list of non−agreed requested strikes not later thanThursday, November 6,
                 2014 at 7:00p.m. (The Court must call prospective jurors who do not need to appear.).
                 The Court shall review all agreed cause−strikes and those proposed by one side but not
                 agreed by the other. The Court may determine that it is appropriate to strike one or
                 more of these (or other) potential jurors. The Court will then separate the remaining
                 jurors into two waves: the first wave will be those jurors who do not have potential or
                 likely cause issues, and the second wave will be all others. The Court intends to
                 proceed with voir dire initially using the first wave of potential jurors. The second
                 wave ofpotential jurors shall only be called to the courtroom if necessary. (Signed by
                 Judge Katherine B. Forrest on 9/16/14)(jw) (Entered: 09/16/2014)
09/16/2014   63 MEMORANDUM in Opposition by USA as to Ross William Ulbricht re 46 MOTION
                to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of
                Particulars .. (Supplemental Memorandum) (Turner, Serrin) (Entered: 09/16/2014)
09/19/2014   64 ORDER as to Ross William Ulbricht. The Court has attached Version 1 of the juror
                questionnaire spreadsheet. The parties shall submit additional questions (not already
                proposed) and changes by Wednesday September 24, 2014. The Government shall
                provide its summary of the case by Wednesday, October 8, 2014. SO ORDERED.
                (Signed by Judge Katherine B. Forrest on 9/19/2014)(bw) (Entered: 09/22/2014)
09/22/2014   65 SEALED DOCUMENT placed in vault. (mps) (Entered: 09/22/2014)
09/22/2014   66 SEALED DOCUMENT placed in vault. (mps) (Entered: 09/22/2014)
09/23/2014   67 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                Joshua L. Dratel, Esq. dated September 23, 2014 re: Request for an Extension of Time
                for Filing Mr. Ulbrict's Reply motion (Dratel, Joshua) (Entered: 09/23/2014)
09/24/2014   68 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Joshua L. Dratel dated 9/23/2014 re: This letter is in regard to the Reply
                papers on behalf of defendant Ross Ulbricht, whom I represent, and that are due today,
                September 23, 2014. For the reasons set forth below, it is respectfully requested that
                the due date be adjourned until September 30, 2014. It is also respectfully requested
                that the due date for the motions challenging the Superseding Indictment be extended
                from this Friday, September 26, 2014, until next Thursday, October 2, 2014.
                ENDORSEMENT: Application Granted. SO ORDERED. (Signed by Judge Katherine
                B. Forrest on 9/24/2014)(dnd) (Entered: 09/24/2014)
10/01/2014   69 REPLY MEMORANDUM OF LAW in Support as to Ross William Ulbricht re: 46
                MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill
                of Particulars . . (Dratel, Joshua) (Entered: 10/01/2014)
10/01/2014   70 DECLARATION of Joshua J. Horowitz, Esq. in Support as to Ross William Ulbricht
                re: 46 MOTION to Suppress Certain Evidence. MOTION for Discovery . MOTION
                for Bill of Particulars .. (Attachments: # 1 Exhibit Government's March 21, 2014,
                Discovery Production Letter, # 2 Exhibit Mtime and Sites−Enabled Directory For Item
                1 of March 21, 2014, Discovery Production, # 3 Exhibit Defense Counsel's September
                17, 2014, Letter Demand for Discovery, # 4 Exhibit Government's September 23, 2014
                Reponse to Defense Counsel's September 17, 2014, Letter, # 5 Exhibit Nginx Logs,
                Attachment 1 to the Government's September 23, 2014, Letter, # 6 Exhibit Full Text of
                live−ssl Configuration File, # 7 Exhibit Full Text of phpmyadmin Configuration File,
                # 8 Exhibit phpmyadmin Login Page, # 9 Exhibit Silk Road Login Page, # 10 Exhibit
                Example of Wireshark Packet Capture, # 11 Exhibit Screenshot of Wireshark Exit
                Prompt)(Dratel, Joshua) (Entered: 10/01/2014)
10/02/2014   71 MOTION to Dismiss Counts One through Four of hte Superseding Indictment.,
                SUPPLEMENTAL MOTION for Bill of Particulars as to the New Charges and
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                 Allegations Contained in the Superseding Indictment. Document filed by Ross William
                 Ulbricht. (Lewis, Lindsay) (Entered: 10/02/2014)
10/02/2014   72 MEMORANDUM in Support by Ross William Ulbricht re 71 MOTION to Dismiss
                Counts One through Four of hte Superseding Indictment.SUPPLEMENTAL MOTION
                for Bill of Particulars as to the New Charges and Allegations Contained in the
                Superseding Indictment.. (Lewis, Lindsay) (Entered: 10/02/2014)
10/03/2014   73 ORDER as to Ross William Ulbricht. Defendant has submitted a declaration from
                Joshua Horowitz in support of his motion and request for an evidentiary hearing.If the
                Government has any response to the factual statements (and/or relevance of the factual
                statements) asserted therein, it should file such response by C.O.B., October 6, 2014 (if
                possible). (Signed by Judge Katherine B. Forrest on 10/3/14)(jw) (Entered:
                10/03/2014)
10/03/2014   74 ORDER as to Ross William Ulbricht. Defendant has submitted a motion dismissing
                Counts One through Four of the Superseding Indictment and a motion directing the
                Government to produce the requested Bill of Particulars. The Government shall
                respond to these motions not later than Tuesday, October 7, 2014. SO ORDERED.
                (Signed by Judge Katherine B. Forrest on 10/3/2014)(bw) (Entered: 10/03/2014)
10/06/2014   75 RESPONSE in Opposition by USA as to Ross William Ulbricht re: 46 MOTION to
                Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of Particulars
                .. (Response to Declaration of Joshua Horowitz) (Turner, Serrin) (Entered:
                10/06/2014)
10/07/2014   76 ORDER as to Ross William Ulbricht: The Court has not received a declaration or
                affidavit from defendant Ross Ulbricht, demonstrating that he had a subjective
                expectation of privacy in any of the items seized and as to which his suppression
                motion relates. The Court has read his counsel's argument as to the order in which they
                assert that decisions should be made. The potential rationale for not submitting a
                declaration or affidavit may, however, be different for the servers located in premises
                operated by third parties, versus the wireless router located on Montgomery Street, the
                laptop, the Gmail and Facebook accounts. The Court will give Mr. Ulbricht one final
                opportunity to submit a declaration or affidavit in support of his motion (which would
                of course need to have sufficient specificity to establish a subjective expectation of
                privacy in items to which it relates). However, given that the defendant has had quite a
                long time already to make such a submission, if he now decides to submit one, the
                Court must be so notified by 5pm today (October 7) that one shall be forthcoming by
                tomorrow, and to specify the particular items it will cover. (Signed by Judge Katherine
                B. Forrest on 10/7/2014)(jp) (Entered: 10/07/2014)
10/07/2014   77 ORDER: As to Ross William Ulbricht. The Court has not received a declaration or
                affidavit from defendant Ross Ulbricht, demonstrating that he had a subjective
                expectation of privacy in any of the items seized and as to which his suppression
                motion relates. The Court has read his counsel's argument as to the order in which they
                assert that decisions should be made. The potential rationale for not submitting a
                declaration or affidavit may, however, be different for the servers located in premises
                operated by third parties, versus the wireless router located on Montgomery Street, the
                laptop, the Gmail and Facebook accounts. The Court will give Mr. Ulbricht one final
                opportunity to submit a declaration or affidavit in support of his motion (which would
                of course need to have sufficient specificity to establish a subjective expectation of
                privacy in items to which it relates). However, given that the defendant has had quite a
                long time already to make such a submission, if he now decides to submit one, the
                Court must be so notified by 5pm today (October 7) that one shall be forthcoming by
                tomorrow, and to specify the particular items it will cover. SO ORDERED. (Signed by
                Judge Katherine B. Forrest on 10/7/2014)(dnd) (Entered: 10/07/2014)
10/07/2014   78 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on
                9/5/2014 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Kristen
                Carannante, (212) 805−0300, Transcript may be viewed at the court public terminal or
                purchased through the Court Reporter/Transcriber before the deadline for Release of
                Transcript Restriction. After that date it may be obtained through PACER. Redaction
                Request due 10/31/2014. Redacted Transcript Deadline set for 11/10/2014. Release of
                Transcript Restriction set for 1/8/2015. (McGuirk, Kelly) (Entered: 10/07/2014)
       Case  18-691,
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10/07/2014   79 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                Notice is hereby given that an official transcript of a Conference proceeding held on
                9/5/2014 has been filed by the court reporter/transcriber in the above−captioned
                matter. The parties have seven (7) calendar days to file with the court a Notice of
                Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                may be made remotely electronically available to the public without redaction after 90
                calendar days.... (McGuirk, Kelly) (Entered: 10/07/2014)
10/07/2014   80 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                Lindsay A. Lewis, Esq. dated October 7, 2014 re: the Court's October 7, 2014, Order
                (Lewis, Lindsay) (Entered: 10/07/2014)
10/07/2014   81 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Lindsay A. Lewis dated 10/7/2014 re: Accordingly, it is respectfully
                requested that defense counsel be pem1itted to respond to the Court's Order after Mr.
                Dratel's trial is concluded.ENDORSEMENT: The Court intends to rule on the
                suppression motion before Thurs. −− since you represent Mr. Ulbricht, perhaps you
                should meet with him. Ultimately, I assume you folks have considered the various
                issues relating to the declaration as an accommodation, the Court is providing you a
                last clear chance. (Signed by Judge Katherine B. Forrest on 10/7/14)(jw) (Entered:
                10/07/2014)
10/07/2014   82 MEMORANDUM in Opposition by USA as to Ross William Ulbricht re 71 MOTION
                to Dismiss Counts One through Four of hte Superseding
                Indictment.SUPPLEMENTAL MOTION for Bill of Particulars as to the New Charges
                and Allegations Contained in the Superseding Indictment.. (Turner, Serrin) (Entered:
                10/07/2014)
10/07/2014   83 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                Joshua L. Dratel, Esq. dated October 7, 2014 re: the government's October 6, 2014,
                filing and the Court's October 7, 2014, Order (Lewis, Lindsay) (Entered: 10/07/2014)
10/08/2014   84 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Joshua L. Dratel dated 10/7/14 re: This letter is submitted on behalf of
                defendant Ross Ulbricht, in response to the government's October 6, 2014, filing
                pursuant to the Court's October 3, 2014, Order inviting the government to respond to
                the factual statements contained in the Declaration of Joshua J. Horowitz,
                Esq..ENDORSEMENT: Does the Government agree that no declaration is required is
                this case with regard to establishing Ulbricht's privacy interest in his Facebook,
                GMAIL accounts, and laptop? (Could you let me know today " yes" or "no" will do.)
                (Signed by Judge Katherine B. Forrest on 10/8/14)(jw) (Entered: 10/08/2014)
10/08/2014   85 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                from AUSA Serrin Turner dated 10/08/2014 re: Defendant's Motion to Suppress
                Document filed by USA. (Turner, Serrin) (Entered: 10/08/2014)
10/08/2014   86 ORDER as to Ross William Ulbricht. Understanding that Mr. Dratel is currently on
                trial, the Court would like the parties to meet and confer, and inform the Court as soon
                as practicable, but in any event, not later than C.O.B., October 13, 2014 on the
                following: 1. What is the best estimate of the total trial duration −− real estimate −−
                including both direct and cross of witnesses. 2. Will the trial likely run into the
                Christmas holidays? 3. If it does seem that we will run into the holidays, without in
                any way suggesting the trial will be delayed, what is the soonest after January 1, 2015,
                the parties would be able to try the case? SO ORDERED. (Signed by Judge Katherine
                B. Forrest on 10/8/2014)(bw) (Entered: 10/08/2014)
10/08/2014   87 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                Proposed Voir Dire Questions by USA as to Ross William Ulbricht. (Attachments: # 1
                proposed case summary)(Turner, Serrin) Modified on 10/9/2014 (ka). (Entered:
                10/08/2014)
10/09/2014       NOTE TO ATTORNEY TO RE−FILE DOCUMENT − DOCUMENT TYPE
                 ERROR. Note to Attorney Serrin Andrew Turner as to Ross William Ulbricht: to
                 RE−FILE Document 87 Proposed Voir Dire Questions. Use the document type
                 Letter found under the document list Other Documents. (ka) (Entered:
                 10/09/2014)
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10/09/2014   88 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                from AUSA Serrin Turner dated 10/08/2014 re: Proposed Case Summary for Voir
                Dire Document filed by USA. (Attachments: # 1 Proposed Case Summary)(Turner,
                Serrin) (Entered: 10/09/2014)
10/10/2014   89 OPINION AND ORDER #104893 as to Ross William Ulbricht re: 46 MOTION to
                Suppress Certain Evidence. MOTION for Discovery . MOTION for Bill of Particulars
                . filed by Ross William Ulbricht: For the reasons set forth above, defendant's motion to
                suppress, for a bill of particulars and to strike surplusage is DENIED. The Clerk of
                Court is directed to close the motion at ECF No. 46. (Signed by Judge Katherine B.
                Forrest on 10/10/2014)(jp) Modified on 10/16/2014 (ca). (Entered: 10/10/2014)
10/15/2014   90 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Joshua L.. Dratel dated October 13, 2014 re: This letter is submitted on
                behalf of defendant Ross Ulbricht in conjunction with a corresponding letter submitted
                today by the government in response to the questions posed in the Court's October 8,
                2014, Order. This letter is being transmitted via electronic mail to the Court, but can
                filed via ECF if the Court wishes.ENDORSEMENT: Trial adjourned to January 5,
                2015. We will discuss other dates and logistics of jury selection at the conference on
                Friday (10/17/14) (Signed by Judge Katherine B. Forrest on 10/15/14)(jw) (Entered:
                10/15/2014)
10/15/2014   91 SEALED DOCUMENT placed in vault. (rz) (Entered: 10/15/2014)
10/16/2014   92 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                Forrest from Serrin Turner and Timothy Howard dated 10/8/2014 re: Please find
                attached a proposed summary of the case to be used in connection with voir dire at
                trial..ENDORSEMENT: Defendant shall provide any proposed modifications to the
                summary attached no later than 10/23/14. (Signed by Judge Katherine B. Forrest on
                10/16/14)(jw) (Entered: 10/16/2014)
10/17/2014   93 ORDER as to Ross William Ulbricht ( Motions due by 12/3/2014., Responses due by
                12/10/2014, Pretrial Conference set for 12/17/2014 at 02:00 PM before Judge
                Katherine B. Forrest.) The Government shall provide a proposed exhibit list to
                defendant not later than Monday, December 1, 2014 at 4:00 p.m. Defendant shall
                provide a proposed exhibit list to the Government not later than Friday, December 5,
                2014 at 4:00 p.m., indicating any objections to the Government's exhibits and setting
                forth any known exhibits defendant intends to offer. Parties shall file any motions in
                limine by Wednesday, December 3, 2014; opposition briefs are due by Wednesday,
                December 10, 2014; no replies. Parties shall submit final pretrial materials by
                Wednesday, December 10, 2014. Those materials include (a) trial witness lists, in
                approximate order, with names and expected duration of direct examination; (b) joint
                proposed voir dire (taking into account the juror questionnaire); (c) joint proposed
                requests to charge; (d) joint proposed verdict form; (e) exhibit lists; (f) objections to
                proposed exhibits; and (g) a list of stipulations. The final pretrial conference is now
                scheduled to occur on Wednesday December 17, 2014 at 2:00 p.m. The parties shall
                set aside three hours. The juror questionnaire shall be filled out by the potential jurors
                the weeks of December 22 and 29, 2014. 3500 materials for non−cooperating
                witnesses shall be submitted by Monday, December 29, 2014. 3500 materials for all
                other witnesses shall be submitted by Friday, January 2, 2015. Upon receipt from the
                Jury Department, the Government shall work with defense counsel to copy/scan the
                questionnaires, fill out the juror questionnaire summary spreadsheet, and confer on
                joint strikes. Not later than Friday, January 2, 2015 at 10:00 a.m., the parties shall file
                the spreadsheet in both hard copy and electronic format (Excel) and a letter containing
                (1) jointly agreed−upon strikes; (2) proposed but not agreed−upon strikes. The trial
                shall commence on Monday, January 5, 2015. (Signed by Judge Katherine B. Forrest
                on 10/17/14)(jw) (Entered: 10/20/2014)
10/17/2014        Minute Entry for proceedings held before Judge Katherine B. Forrest:Status
                  Conference as to Ross William Ulbricht held on 10/17/2014. Defendant present with
                  attys Joshua Dratel, Lindsay Lewis, and Joshua Horowitz. AUSAs Serrin Turner and
                  Tim Howard present. Court Reporter present. Conference held. Order to follow.
                  Remand continued. (jp) (Entered: 10/20/2014)
10/24/2014   94 OPINION & ORDER #104931: as to (14−Cr−68−01) Ross William Ulbricht. On
                February 4, 2014, a federal grand jury returned Indictment 14 Cr. 68 (the "Original
                Indictment"), charging Ross Ulbricht ("defendant" or "Ulbricht") on four counts−−−all
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                   stemming from the creation, administration, and operations of an online marketplace
                   known as "Silk Road." (ECF No. 12 ("Orig. Ind.").) On March 28, 2014, Ulbricht
                   moved to dismiss the Original Indictment in its entirety. (ECF No. 19.) That motion
                   became fully briefed on May 27, 2014 (ECF No. 32), and on July 9, 2014, the Court
                   denied the motion (ECF No. 42). On August 21, 2014, the Government filed
                   Superseding Indictment S1 14 Cr. 68 (KBF) (the "Superseding Indictment") containing
                   three additional charges. (ECF No. 52 ("Sup. Ind.").) Ulbricht's trial is scheduled to
                   begin on January 5, 2015. Pending before the Court is defendant's motion to dismiss
                   Counts One through Four of the Superseding Indictment, for a bill of particulars, and
                   "for any such other and further relief... which to the Court seems just and proper."
                   (ECF No. 71.) For the reasons set forth below, the motion is DENIED....[See this
                   Opinion And Order]... IV. CONCLUSION: For the reasons set forth above,
                   defendant's motion is DENIED. The Clerk of the Court is directed to terminate the
                   motion at ECF No. 71. SO ORDERED. (Signed by Judge Katherine B. Forrest on
                   10/24/2014)(bw) Modified on 11/4/2014 (ca). (Entered: 10/24/2014)
11/04/2014    95 SEALED DOCUMENT placed in vault. (nm) (Entered: 11/04/2014)
11/18/2014    96 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from AUSA Serrin Turner dated November 17, 2014 re: The Government
                 respectfully requests that the deadline for the Government's disclosure of trial exhibits
                 be extended by two days to December 3, 2014, and that the deadline for defense
                 exhibits be correspondingly extended by two days to December 9, 2014.
                 ENDORSEMENT: Application granted. (Signed by Judge Katherine B. Forrest on
                 11/18/2014)(bw) (Entered: 11/18/2014)
11/25/2014    97 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on
                 10/17/14 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sonya Ketter
                 Huggins, (212) 805−0300, Transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through PACER. Redaction
                 Request due 12/19/2014. Redacted Transcript Deadline set for 12/29/2014. Release of
                 Transcript Restriction set for 2/26/2015. (Rodriguez, Somari) (Entered: 11/25/2014)
11/25/2014    98 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Conference proceeding held on
                 10/17/14 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (Rodriguez, Somari) (Entered: 11/25/2014)
12/01/2014    99 SEALED DOCUMENT placed in vault. (nm) (Entered: 12/01/2014)
12/01/2014   100 ORDER as to Ross William Ulbricht. The Court has conferred with the Jury
                 Department to implement a process for calling potential jurors to be given the juror
                 questionnaire. The process shall be as follows: Potential jurors will be given the
                 questionnaire on Monday, December 29, 2014. It is anticipated that the parties will
                 have access to the questionnaires by 1:00 p.m. on that day. The parties shall agree as
                 between themselves which side shall take the laboring oar of filling in the spreadsheet
                 based on juror responses. Both sides must agree that the Excel spreadsheet properly
                 reflects the questionnaire responses. The parties shall then confer and present the Court
                 with a list of jointly agreed strikes as well as a list of non−agreed requested strikes not
                 later than Thursday, January 1, 2015 at 5:00p.m. (The Court must call prospective
                 jurors who do not need to appear.) The Court shall review all agreed cause− strikes
                 and those proposed by one side but not agreed by the other. The Court may determine
                 that it is appropriate to strike one or more of these (or other) potential jurors. The
                 Court will then separate the remaining jurors into two waves: the first wave will be
                 those jurors who do not have potential or likely cause issues, and the second wave will
                 be all others. The Court intends to proceed with voir dire initially using the first wave
                 of potential jurors. The second wave of potential jurors shall only be called to the
                 courtroom if necessary. (Signed by Judge Katherine B. Forrest on 12/1/2014)(jw)
                 (Entered: 12/01/2014)
12/01/2014   101 ORDER as to Ross William Ulbricht. The Court hereby notifies the parties that it
                 intends to provide the enclosed Juror Questionnaire to the Clerk's Office on December
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                   4, 2014. If either party has concerns, it should let the Court know not later than
                   December 3, 2014. (Signed by Judge Katherine B. Forrest on 12/1/2014)(jw) (Entered:
                   12/01/2014)
12/03/2014   102 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from AUSA Timothy T. Howard dated 12/3/2014 re: Court's proposed jury
                 questionnaire Document filed by USA. (Howard, Timothy) (Entered: 12/03/2014)
12/03/2014   103 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Joshua L. Dratel dated 12/3/2014 re: This letter is submitted on behalf of
                 defendant Ross Ulbricht in response to the Court's December 1, 2014, Order
                 requesting that the parties convey any concerns with the existing questionnaire to the
                 Court by today, December 3, 2014. This letter is being transmitted via electronic mail
                 to the Court, but can filed via ECF if the Court wishes. ENDORSEMENT: Does the
                 Government object to the changes noted in PP 1−5 above? Please inform the court by
                 5:00 p.m. 12/4/2014. SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 12/3/2014)(dnd) (Entered: 12/03/2014)
12/04/2014   104 SEALED DOCUMENT placed in vault. (nm) (Entered: 12/04/2014)
12/05/2014   105 ORDER as to Ross William Ulbricht. Attached as Exhibit A is the juror questionnaire,
                 as provided to the Jury Department. SO ORDERED (Signed by Judge Katherine B.
                 Forrest on 12/5/14)(jw) (Entered: 12/05/2014)
12/05/2014   106 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Attorney Joshua L. Dratel dated December 5, 2014 re: This letter is
                 submitted on behalf of defendant Ross Ulbricht, and respectfully requests that the
                 Court permit the motions in limine, the deadline for which the Court graciously
                 extended until Monday, December 8, 2014, to be filed Tuesday, December 9, 2014,
                 while leaving the time for any replies − due December 12, 2014 − unchanged.
                 ENDORSEMENT: SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 12/5/2014)(bw) (Entered: 12/08/2014)
12/09/2014   107 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from AUSAs Timothy T. Howard / Serrin Turner, dated December 9, 2014 re:
                 On October 17, 2014, the Court ordered that the parties submit final pretrial materials
                 by Wednesday, December 10, 2014, to include trial witness lists. The Government
                 submits this letter to respectfully request leave from the Court to redact the names of
                 cooperating witnesses from the list of Government witnesses. ENDORSEMENT:
                 Defendant to respond to the instant letter request as soon as practicable (not later than
                 12/11 at 10am). (Signed by Judge Katherine B. Forrest on 12/9/2014)(bw) (Entered:
                 12/09/2014)
12/09/2014   108 MOTION in Limine − Government's Pretrial Motions in Limine. Document filed by
                 USA as to Ross William Ulbricht. (Howard, Timothy) (Entered: 12/09/2014)
12/10/2014   110 ENDORSED LETTER as to Ross William Ulbricht addressed to Forrest Chambers
                 from Lindsay Lewis dated 12/10/14 re: Motion in Limine & Objections to Government
                 Exhibits...ENDORSEMENT...Post to docket. Redacted versions of all docs, which can
                 be filed possibly in such form should be. File redacted versions by COB today.
                 (Signed by Judge Katherine B. Forrest on 12/10/14)(jw) (Entered: 12/10/2014)
12/10/2014   111 ORDER as to Ross William Ulbricht ( Status Conference set for 12/15/2014 at 10:00
                 AM before Judge Katherine B. Forrest.) One of the issues defendant raises in his
                 motion in limine relates to a currently non−public matter. To discuss and resolve this
                 issue requires receipt of the Government's response, and a conference dedicated to that
                 issue. Accordingly, the Court has set a conference for Monday, December 15, 2014 at
                 10:00a.m. for this purpose. In advance of that conference, the parties shall confer
                 regarding whether (1) the Courtroom should be sealed, or (2) the matter can/should be
                 taken up in the robing room. The parties shall inform the Court not later than C.O.B.
                 Friday, December 12, 2014, as to their views regarding the same. (Signed by Judge
                 Katherine B. Forrest on 12/10/14)(jw) (Entered: 12/10/2014)
12/10/2014   112 FIRST MOTION in Limine to Preclude Certain Evidence and Proposed Government
                 Exhibits. Document filed by Ross William Ulbricht. (Dratel, Joshua) (Entered:
                 12/10/2014)
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12/10/2014   113 DECLARATION of Joshua L. Dratel in Support as to Ross William Ulbricht re: 112
                 FIRST MOTION in Limine to Preclude Certain Evidence and Proposed Government
                 Exhibits.. (Dratel, Joshua) (Entered: 12/10/2014)
12/10/2014   114 MEMORANDUM in Support by Ross William Ulbricht re 112 FIRST MOTION in
                 Limine to Preclude Certain Evidence and Proposed Government Exhibits.. (Dratel,
                 Joshua) (Entered: 12/10/2014)
12/10/2014   115 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 Proposed Voir Dire Questions by Ross William Ulbricht. (Dratel, Joshua) Modified on
                 12/10/2014 (ka). (Entered: 12/10/2014)
12/10/2014         NOTE TO ATTORNEY TO RE−FILE DOCUMENT − DOCUMENT TYPE
                   ERROR. Note to Attorney Joshua Lewis Dratel as to Ross William Ulbricht: to
                   RE−FILE Document 115 Proposed Voir Dire Questions. Use the document type
                   Letter found under the document list Other Documents. (ka) (Entered:
                   12/10/2014)
12/10/2014   116 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Lindsay A. Lewis, Esq. dated December 10, 2014 re: Defendant's Proposed Voir Dire
                 (Lewis, Lindsay) (Entered: 12/10/2014)
12/10/2014   117 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from AUSAs Serrin Turner and Tim Howard dated 12/10/2014 re: Pre−trial Order
                 Document filed by USA. (Turner, Serrin) (Entered: 12/10/2014)
12/10/2014   118 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Joshua L. Dratel dated 12/10/2014 re: This letter is submitted on behalf of
                 defendant Ross Ulbricht, in regard to the Joint Proposed Request to Charge, due today,
                 December 10, 2014. We are currently finishing our redlining of the governments
                 proposed Request to Charge. After consulting with the government, two options exist:
                 we can either send the redlined version of the Request to Charge to the court tonight,
                 or we can send it to the government to see if there are any additional areas in which we
                 are able to reach agreement. ENDORSEMENT: Submit tonight to the Government.
                 SO ORDERED. (Signed by Judge Katherine B. Forrest on 12/10/2014)(dnd) (Entered:
                 12/11/2014)
12/10/2014         ***DELETED DOCUMENT. Deleted document number 109 Endorsed Letter, as
                   to Ross William Ulbricht. The document was incorrectly filed in this case. (dnd)
                   (Entered: 12/18/2014)
12/11/2014   119 MEMO ENDORSEMENT as to Ross William Ulbricht on E−Mail sent to Joseph
                 Pecorino of Judge Forrest's Chambers from Attorney Lindsay Lewis on 12/10/2014
                 7:45PM re: Attached please find a letter to the Court in opposition to the government's
                 December 9, 2014, letter requesting leave from the Court to redact the names of the
                 cooperating witnesses from the list of government witnesses. ENDORSEMENT: All
                 letters and filings with the Court must be filed via ECF unless there is some truly
                 important reason not to. If something cannot be filed publicly, then it must be filed in
                 redacted form simultaneously on within the same business day. (Signed by Judge
                 Katherine B. Forrest on 12/11/2014)(bw) (Entered: 12/11/2014)
12/11/2014   120 MEMORANDUM DECISION & ORDER as to Ross William Ulbricht. Ross Ulbricht
                 ("defendant" or "Ulbricht") is charged with a variety of crimes relating to his alleged
                 design, administration, and operation of an online marketplace known as "Silk Road."
                 (ECF No. 52.) Trial is scheduled to commence on January 5, 2015. Before the Court is
                 the Government's request for leave to redact the names of cooperating witnesses from
                 the list of witnesses provided as part of the Government's final pretrial materials. (ECF
                 No. 107.) The Government has agreed to provide the identities of such witnesses on
                 January 2, 2015. According to theGovernment, disclosure on that date will provide at
                 least ten days' notice regarding the witnesses' identities prior to their testimony at trial.
                 Defendant has opposed this application. (ECF No. 119.). The Government has
                 represented that it will provide the identities of thecooperating witnesses on January 2,
                 2015, and it has disclosed the identities of itsfirst two witnesses, both of whom are
                 multi−day witnesses. The Court weighsdefendant's need to prepare for trial against the
                 Government's proffered reason for withholding the identities of its cooperating
                 witnesses until January 2, 2015. And while the Court currently has no view as to the
                 merit of the Government's contention regarding defendant's alleged solicitations of
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                   murders−for−hire, it is in no position to find that they are baseless or that witnesses
                   who are known to be preparing to testify against defendant would not be at risk of
                   some retaliatory act. While defendant has limited access to the outside world, that has
                   been true of many defendants in many cases who have creatively managed around
                   such limitations. (Signed by Judge Katherine B. Forrest on 12/11/14)(jw) (Entered:
                   12/11/2014)
12/11/2014   121 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 Request To Charge by USA as to Ross William Ulbricht. (Attachments: # 1 Joint
                 RTCs (redline))(Turner, Serrin) Modified on 12/12/2014 (ka). (Entered: 12/11/2014)
12/12/2014   122 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from Government dated 12/12/2014 re: Joint Proposed Verdict Form Document filed
                 by USA. (Attachments: # 1 Joint Proposed Verdict Form − Redline)(Turner, Serrin)
                 (Entered: 12/12/2014)
12/12/2014   123 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 Request To Charge by USA as to Ross William Ulbricht. (Attachments: # 1 Joint
                 RTCs − revised redline)(Turner, Serrin) Modified on 12/12/2014 (ka). (Entered:
                 12/12/2014)
12/12/2014         NOTE TO ATTORNEY TO RE−FILE DOCUMENT − DOCUMENT TYPE
                   ERROR. Note to Attorney Serrin Andrew Turner as to Ross William Ulbricht: to
                   RE−FILE Document 121 Request to Charge. Use the document type Letter found
                   under the document list Other Documents.***NOTE: Proposed Jury Instructions
                   must be filed individually. Use event code Proposed Jury Instructions located
                   under Trial Documents. (ka) (Entered: 12/12/2014)
12/12/2014         NOTE TO ATTORNEY TO RE−FILE DOCUMENT − DOCUMENT TYPE
                   ERROR. Note to Attorney Serrin Andrew Turner as to Ross William Ulbricht: to
                   RE−FILE Document 123 Request to Charge. Use the document type Letter found
                   under the document list Other Documents.***NOTE: Proposed Jury Instructions
                   must be filed individually. Use event code Proposed Jury Instructions located
                   under Trial Documents. (ka) (Entered: 12/12/2014)
12/12/2014   124 ORDER as to Ross William Ulbricht. It is hereby ORDERED that in advance of, but
                 to be discussed at the final pretrial conference, the parties shall confer on a list of terms
                 likely to arise and determine whether there is any likelihood of stipulations to
                 definitions. In prior trials involving complex matters, the Court has requested the
                 parties to confer on definitions of terms and a handout has sometimes been provided to
                 the jury with those terms. A witness in the ordinary course has then explained the
                 terms. The Court has allowed the jury to retain the handout at their seats throughout
                 the trial. Among the types of terminology the parties will want to consider including in
                 such a "glossary" are the following: Online chats, Application(s), Log, Browser, Tor,
                 IP address, Servers, Server side, Bitcoin, bitcoin process: ledger, bitcoin value, PIN,
                 PTH, Codebase, Configuration files, Controllers, Support controllers, Administrator,
                 administrative/administrator privileges, Path, Scripting language. SO ORDERED.
                 (Signed by Judge Katherine B. Forrest on 12/12/2014)(ft) (Entered: 12/12/2014)
12/12/2014   125 CORRECTED MEMORANDUM DECISION & ORDER as to Ross William
                 Ulbricht. Ross Ulbricht ("defendant" or "Ulbricht") is charged with a variety of crimes
                 relating to his alleged design, administration, and operation of an online marketplace
                 known as "Silk Road." (ECF No. 52.) Trial is scheduled to commence on January 5,
                 2015. Before the Court is the Government's request for leave to redact the names of
                 cooperating witnesses from the list of witnesses provided as part of the Government's
                 final pretrial materials. (ECF No. 107.) The Government has agreed to provide the
                 identities of such witnesses on January 2, 2015. According to the Government,
                 disclosure on that date will provide at least ten days' notice regarding the witnesses'
                 identities prior to their testimony at trial. Defendant has opposed this application. (ECF
                 No. 119.) The Government has represented that it will provide the identities of the
                 cooperating witnesses on January 2, 2015, and it has disclosed the identities of its first
                 two witnesses, both of whom are multi−day witnesses. The Court weighs defendant's
                 need to prepare for trial against the Government's proffered reason for withholding the
                 identities of its cooperating witnesses until January 2, 2015. And while the Court
                 currently has no view as to the merit of the Government's contention regarding
                 defendant's alleged solicitations of murders−for−hire, it is in no position to find that
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                   they are baseless or that witnesses who are known to be preparing to testify against
                   defendant would not be at risk of some retaliatory act. While defendant has limited
                   access to the outside world, that has been true of many defendants in many cases who
                   have creatively managed around such limitations. Disclosure on January 2, 2015 is
                   sufficient. (Signed by Judge Katherine B. Forrest on 12/12/2014)(ft) (Entered:
                   12/12/2014)
12/12/2014   126 MEMORANDUM in Opposition by Ross William Ulbricht re 108 MOTION in
                 Limine − Government's Pretrial Motions in Limine.. (Dratel, Joshua) (Entered:
                 12/12/2014)
12/12/2014   127 MEMORANDUM in Opposition by USA as to Ross William Ulbricht re 112 FIRST
                 MOTION in Limine to Preclude Certain Evidence and Proposed Government
                 Exhibits.. (Howard, Timothy) (Entered: 12/12/2014)
12/15/2014         Minute Entry for proceedings held before Judge Katherine B. Forrest: Conference as to
                   Ross William Ulbricht held on 12/15/2014. Defendant present with attys Joshua
                   Dratel, Lindsay Lewis, and Joshua Horowitz. AUSAs Serrin Turner and TImothy
                   Howard present. Court Reporter present. Conference held. Detention continued. (jp)
                   (Entered: 12/15/2014)
12/15/2014   128 ORDER as to Ross William Ulbricht. The Court has made several minor
                 non−substantive edits to the juror questionnaire. The revised version, as provided to
                 the Jury Department, is attached as Exhibit A. The Court will email the parties a
                 revised version of the Excel spreadsheet, which the parties shall fill in and provide to
                 the Court as set forth in the Court's December 1, 2014 order. (ECF No. 100.) SO
                 ORDERED. (Signed by Judge Katherine B. Forrest on 12/15/2014)(dnd) (Entered:
                 12/15/2014)
12/16/2014   129 ORDER as to Ross William Ulbricht. Further to the Court's questions and concerns as
                 expressed on the record on December 15, the court needs to further understand the
                 government's legal theory as to the following: 1. Does the government contend that the
                 defendant was the hub in a hub and spoke conspiracy −− or would the government
                 characterize his alleged position otherwise? 2. If the defendant is alleged to be at the
                 center of the conspiracy as a hub or occupying a position akin to a hub, does the
                 government agree that it must prove the existence of a rim to connect the various
                 co−conspirators to each other? If not, please provide case law support for the
                 government's position. 3. Does the government contend that all sellers of all types of
                 drugs during the entire conspiracy timeframe were part of a single conspiracy? If so,
                 please provide case law support. 4. What does "mutual dependence" mean as a matter
                 of law and what must the government prove to demonstrate this? Put another way,
                 apart from asserting mutual dependence, must the government show that a seller of
                 LSD on day one of the launch was mutually dependent on a seller of heroin on day
                 250? 5. How does mutual dependence work when buyers and sellers are targeting
                 particular drugs only? (That is, why does a seller of LSD care about the vibrancy of the
                 marketplace for heroin? What type of proof could establish any necessary inference?)
                 The court would like to have the government's responses before or at the final pre−trial
                 conference. SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 12/16/2014)(bw) (Entered: 12/16/2014)
12/16/2014   130 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from AUSA Timothy T. Howard dated 12/16/2014 re: Court's Order Regarding List of
                 Defined Terms Document filed by USA. (Howard, Timothy) (Entered: 12/16/2014)
12/17/2014   131 LETTER MOTION addressed to Judge Katherine B. Forrest from the Government
                 dated 12/17/2014 re: 129 Order,,,,,, re: Response to the Court's December 16 Order .
                 Document filed by USA as to Ross William Ulbricht. (Turner, Serrin) (Entered:
                 12/17/2014)
12/17/2014   132 MEMO ENDORSEMENT as to Ross William Ulbricht on re: 130 Letter filed by
                 USA. ENDORSEMENT: Ordered: Fine. I just want us to discuss the concept at the
                 FPTC today. I don;t need the stip. before 12/30. (Signed by Judge Katherine B. Forrest
                 on 12/17/2014)(ft) (Entered: 12/17/2014)
12/17/2014         Minute Entry for proceedings held before Judge Katherine B. Forrest: FinalPretrial
                   Conference as to Ross William Ulbricht held on 12/17/2014. Defendant present with
                   attys Joshua Dratel, Lindsay Lewis, and Joshua Horowitz. AUSAs Serrin Turner and
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                   Timothy Howard present. Court Reporter present. Conference held. Detention
                   continued. (jp) (Entered: 12/18/2014)
12/18/2014   133 ENDORSED LETTER as to Ross William Ulbricht addressed to Forrest NYSD
                 Chambers from NYSD Help Desk dated 12/10/2014 re: Letter received from attorney
                 Joshua Dratel to have document number 109 removed from docket. Document was
                 inadvertently filed on the CM/ECF system, and should have instead been filed under
                 seal. ENDORSEMENT: ECF No. 109 to be removed from the public docket. SO
                 ORDERED. (Signed by Judge Katherine B. Forrest on 12/17/2014)(dnd) (Entered:
                 12/18/2014)
12/19/2014   134 LETTER MOTION addressed to Judge Katherine B. Forrest from the Government
                 dated 12/19/2014 re: Request for One−Week Adjournment of Trial . Document filed
                 by USA as to Ross William Ulbricht. (Turner, Serrin) (Entered: 12/19/2014)
12/19/2014   135 SEALED DOCUMENT placed in vault. (nm) (Entered: 12/19/2014)
12/19/2014   136 SEALED DOCUMENT placed in vault. (nm) (Entered: 12/19/2014)
12/19/2014   137 SEALED DOCUMENT placed in vault. (nm) (Entered: 12/19/2014)
12/19/2014   138 SEALED DOCUMENT placed in vault. (nm) (Entered: 12/19/2014)
12/19/2014   139 ORDER as to Ross William Ulbricht. Potential jurors will be given the questionnaire
                 on Monday, January 5, 2015. It is anticipated that the parties will have access to the
                 questionnaires by 3:00 p.m. on that day. The parties shall agree as between themselves
                 which side shall take the laboring oar of filling in the spreadsheet based on juror
                 responses. Both sides must agree that the Excel spreadsheet properly reflects the
                 questionnaire responses. The parties shall then confer and present the Court with a list
                 of jointly agreed strikes as well as a list of non−agreed requested strikes not later than
                 Thursday, January 8, 2015 at 5:00 p.m. (The Court must call prospective jurors who do
                 not need to appear.) The Court shall review all agreed cause−strikes and those
                 proposed by one side but not agreed by the other. The Court may determine that it is
                 appropriate to strike one or more of these (or other) potential jurors. The Court will
                 then separate the remaining jurors into two waves: the first wave will be those jurors
                 who do not have potential or likely cause issues, and the second wave will be all
                 others. The Court intends to proceed with voir dire initially using the first wave of
                 potential jurors. The second wave of potential jurors shall only be called to the
                 courtroom if necessary. The updated juror questionnaire (reflecting the change in trial
                 start date) is attached. SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 12/19/2014)(ft) (Entered: 12/19/2014)
12/19/2014   140 MEMO ENDORSEMENT as to Ross William Ulbricht on re: 134 LETTER MOTION
                 addressed to Judge Katherine B. Forrest from the Government dated 12/19/2014 re:
                 Request for One−Week Adjournment of Trial filed by USA. ENDORSEMENT:
                 ORDERED: Application Granted. Trial adjourned to Tuesday, January 13, 2015, at
                 9:00 am. Order re jury selection process to follow. (Jury Trial set for 1/13/2015 at
                 09:00 AM before Judge Katherine B. Forrest.) (Signed by Judge Katherine B. Forrest
                 on 12/19/2014)(ft) Modified on 12/19/2014 (ft). (Entered: 12/19/2014)
12/29/2014   141 SEALED DOCUMENT placed in vault. (rz) (Entered: 12/29/2014)
01/07/2015   142 OPINION & ORDER as to Ross William Ulbricht. Defendant's motion to preclude
                 certain evidence regarding Silk Road product listings and transactions is DENIED,
                 subject to the ruling in subpart F. Defendant's motions to preclude evidence of
                 defendant's murder−for−hire solicitations and to strike references to such solicitations
                 as surplusage are DENIED. The Government's corresponding motion to allow the
                 murder−for−hire evidence is GRANTED. Defendant's motion to preclude certain
                 Government exhibits as insufficiently authenticated is DENIED. Defendant can renew
                 this motion as to any particular exhibit when it is offered at trial. Defendant's motion to
                 preclude evidence that he ordered fraudulent identification documents from Silk Road
                 is DENIED. The Government's corresponding motion to allow this evidence is
                 GRANTED. Defendant's motion to preclude a variety of government exhibits not
                 covered by the other motions in limine is GRANTED in part and DENIED in part. The
                 specific rulings are set forth above. DENIED. The Government's motions to preclude
                 argument and evidenceregarding (1) any potential consequences of conviction, and (2)
                 defendant's political views or other excuses is DENIED as moot. The Clerk of Court is
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                   directed to terminate the motions at ECF Nos. 108 and 112. (Signed by Judge
                   Katherine B. Forrest on 1/7/2015)(ft) (Entered: 01/07/2015)
01/08/2015   143 SEALED DOCUMENT placed in vault. (rz) (Entered: 01/08/2015)
01/09/2015   144 ORDER as to Ross William Ulbricht. The Court has reviewed the list of strikes to
                 which both parties have consented. The Court agrees, and hereby strikes the following
                 prospective jurors: 3, 9, 13, 18, 22, 24, 25, 34, 35, 36, 40, 42, 44, 47, 48, 54, 57, 67,
                 68, 69, 71, 72, 74, 76, 78, 79, 80, 82, 83, 84, 88, 94, 95, 96, 99, 100, 103, 105, 108,
                 109, 125, 126, 128, 129, 131, 132, 133, 142, 145, 147, 149, 150, 151, 161, 172, 174,
                 177, 179, 182. Based on its review of the questionnaires, the Court also strikes the
                 following prospective jurors: 6, 7, 8, 14, 16, 20, 31, 37, 39, 45, 46, 56, 58, 60, 62, 64,
                 86, 91, 117, 118, 120,122, 123, 130, 139, 144, 148, 152, 157, 158, 160, 167, 183. The
                 parties shall provide the Court with printed copies of all filled−out juror
                 questionnaires, marked with each jurors number, as soon as is practicable, but not later
                 than Saturday, January 10, 2015. (Signed by Judge Katherine B. Forrest on 1/9/15)(jw)
                 (Entered: 01/09/2015)
01/09/2015   145 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Conference held on
                 12/17/2014 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Andrew
                 Walker, (212) 805−0300, Transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through PACER. Redaction
                 Request due 2/2/2015. Redacted Transcript Deadline set for 2/12/2015. Release of
                 Transcript Restriction set for 4/13/2015. (McGuirk, Kelly) (Entered: 01/09/2015)
01/09/2015   146 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Conference proceeding held on
                 12/17/2014 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 01/09/2015)
01/09/2015   147 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Joshua L. Dratel, Esq. dated January 9, 2015 re: the reading of internet
                 communications during trial (Dratel, Joshua) (Entered: 01/09/2015)
01/12/2015   148 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Serkin Turner dated 10/13/2014 re: The Government respectfully submits
                 this letter in response to the Court's order dated October 8, 2014. ENDORSEMENT:
                 Ordered: Post to docket. (Signed by Judge Katherine B. Forrest on 1/12/2015)(ft)
                 (Entered: 01/12/2015)
01/12/2015   149 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Lindsay Lewis dated 1/8/2015 re: As per the Court's September 16, 2014,
                 Order, attached please find (1) the Excel spreadsheet prepared from the juror
                 questionnaire submitted on behalf of Mr. Ulbricht in the above−captioned case; and
                 (2) s a cover letter explaining the contents of the spreadsheet. ENDORSEMENT:
                 Ordered: Post to docket. (Signed by Judge Katherine B. Forrest on 1/12/2015)(ft)
                 (Entered: 01/12/2015)
01/12/2015   150 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Serkin Turner dated 8/21/2014 re: The Government respectfully requests
                 that the defendant's arraignment on the Superseding Indictment be scheduled for the
                 same time as the upcoming pretrial conference presently scheduled for September 5,
                 2014, at 12:00 p.m. ENDORSEMENT: Ordered: Post to docket. Dealt with in ordinary
                 course. (Signed by Judge Katherine B. Forrest on 1/12/2015)(ft) (Entered: 01/12/2015)
01/12/2015   151 SEALED DOCUMENT placed in vault. (nm) (Entered: 01/13/2015)
01/12/2015   152 SEALED DOCUMENT placed in vault. (nm) (Entered: 01/13/2015)
01/12/2015   153 SEALED DOCUMENT placed in vault. (nm) (Entered: 01/13/2015)
01/13/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Voir Dire held
                   and Jury Trial begun on 1/13/2015 as to Ross William Ulbricht. (jp) (Entered:
                   02/05/2015)
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01/14/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 1/14/2015. (jp) (Entered: 02/05/2015)
01/15/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 1/15/2015. (jp) (Entered: 02/05/2015)
01/19/2015   154 LETTER MOTION addressed to Judge Katherine B. Forrest from the Government
                 dated 01/19/2015 re: Striking/Preclusion of Testimony . Document filed by USA as to
                 Ross William Ulbricht. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                 Exhibit D, # 5 Exhibit E)(Turner, Serrin) (Entered: 01/19/2015)
01/19/2015   155 LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel,
                 Esq. dated January 19, 2015 re: 154 LETTER MOTION addressed to Judge Katherine
                 B. Forrest from the Government dated 01/19/2015 re: Striking/Preclusion of
                 Testimony . re: the governments January 19, 2015, letter seeking preclusion of certain
                 questioning of Homeland Security Investigations Special Agent Jared Der−Yeghiayan
                 . Document filed by Ross William Ulbricht. (Lewis, Lindsay) (Entered: 01/19/2015)
01/20/2015   156 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Joshua L. Dratel dated 1/19/15 re: About twenty minutes ago, while
                 eating dinner, I broke a tooth. Obviously, I would very much like to get to the dentist
                 as quickly as possible but of course there's the ongoing trial. I'm confident I could get
                 in to see my dentist tomorrow morning at 9 a.m. but don't know anything beyond that.
                 I also don't know how I would feel in the morning. If anyone (including AUSA's) sees
                 this e−mail tonight, please let me know everyone's position on how to
                 proceed..ENDORSEMENT: It is too late to have the jury stay home so they will be
                 here. Go to the dentist and let us know ASAP what your schedule/status is. (Signed by
                 Judge Katherine B. Forrest on 1/20/15)(jw) (Entered: 01/20/2015)
01/20/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 1/20/2015. (jp) (Entered: 02/05/2015)
01/21/2015   157 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Serrin Turner dated 1/20/15 re: Please find attached highlighted excerpts
                 of SA Der−Yeghiayan's testimony that the Government respectfully requests be
                 stricken from the record in accordance with the Court's ruling from this
                 morning...ENDORSEMENT...Post to docket. (Signed by Judge Katherine B. Forrest
                 on 1/21/15)(jw) (Entered: 01/21/2015)
01/21/2015   158 SEALED DOCUMENT placed in vault. (nm) (Entered: 01/21/2015)
01/21/2015   159 SEALED DOCUMENT placed in vault. (nm) (Entered: 01/21/2015)
01/21/2015   160 SEALED DOCUMENT placed in vault. (nm) (Entered: 01/21/2015)
01/21/2015   161 SEALED DOCUMENT placed in vault. (nm) (Entered: 01/21/2015)
01/21/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 1/21/2015. (jp) (Entered: 02/05/2015)
01/22/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 1/22/2015. (jp) (Entered: 02/05/2015)
01/23/2015   162 ORDER as to Ross William Ulbricht. Attached to this Order are draft jury instructions.
                 The Court will separately e−mail a Word version of these instructions to the parties.
                 The parties shall submit any proposed revisions to the instructions not later than
                 Monday evening, January 26, 2015. The Court will hold the first charging conference
                 on Tuesday, January 27, 2015, at 9 a.m. (Signed by Judge Katherine B. Forrest on
                 1/23/2015)(bw) (Entered: 01/23/2015)
01/26/2015   163 ENDORSED LETTER as to Ross William Ulbricht on E−Mail addressed to Judge
                 Forrest's Chambers from AUSA Serrin Turner dated 1/22/2015 08:40 AM re: Please
                 see the attached letter concerning the admissibility of the statement from the
                 Complaint that was raised yesterday morning. The Government will plan to file the
                 letter later today on ECF. Also attached is a relevant case. ENDORSEMENT: Post to
                 docket. (Signed by Judge Katherine B. Forrest on 1/23/2015)(bw) (Entered:
                 01/26/2015)
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01/26/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 1/26/2015. (jp) (Entered: 02/05/2015)
01/28/2015   164 LETTER MOTION addressed to Judge Katherine B. Forrest from the Government
                 dated 01/28/2015 re: 162 Order, Set Deadlines/Hearings,, re: Modification of Jury
                 Charges . Document filed by USA as to Ross William Ulbricht. (Turner, Serrin)
                 (Entered: 01/28/2015)
01/28/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 1/28/2015. (jp) (Entered: 02/05/2015)
01/29/2015   165 LETTER MOTION addressed to Judge Katherine B. Forrest from the Government
                 dated 01/29/2015 re: Preclusion of Expert Testimony . Document filed by USA as to
                 Ross William Ulbricht. (Attachments: # 1 Exhibit A)(Turner, Serrin) (Entered:
                 01/29/2015)
01/29/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 1/29/2015. (jp) (Entered: 02/05/2015)
01/30/2015   166 ORDER as to Ross William Ulbricht. Any party wishing to submit additional
                 materials regarding the jury instructions shall do so not later than 5 p.m. today, January
                 30, 2015. This applies to all proposed changes except those that cannot be reasonably
                 anticipated because the evidentiary record has not yet been closed. SO ORDERED.
                 (Signed by Judge Katherine B. Forrest on 1/30/2015)(ft) (Entered: 01/30/2015)
01/30/2015   167 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from AUSA Timothy T. Howard dated 1/30/2015 re: Requests to Charge and Defense
                 Exhibits Document filed by USA. (Howard, Timothy) (Entered: 01/30/2015)
01/30/2015   168 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Joshua L. Dratel dated January 30, 2015 re: Requests to Charge (Dratel, Joshua)
                 (Entered: 01/30/2015)
01/30/2015   169 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from the Government dated 01/30/2015 re: Defense Letter re: Requests to Charge
                 Document filed by USA. (Turner, Serrin) (Entered: 01/30/2015)
01/31/2015   170 LETTER MOTION addressed to Judge Katherine B. Forrest from AUSA Timothy T.
                 Howard dated 1/31/2015 re: Motion to Preclude Expert Testimony of Dr. Steven M.
                 Bellovin . Document filed by USA as to Ross William Ulbricht. (Attachments: # 1
                 Exhibit A)(Howard, Timothy) (Entered: 01/31/2015)
01/31/2015   171 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel,
                 Esq. dated January 31, 2015 re: 165 LETTER MOTION addressed to Judge Katherine
                 B. Forrest from the Government dated 01/29/2015 re: Preclusion of Expert Testimony
                 . re: To Permit the Expert Testimony of Defense Witness Andreas Antonopoulos .
                 Document filed by Ross William Ulbricht. (Dratel, Joshua) Modified on 2/3/2015 (ka).
                 (Entered: 01/31/2015)
01/31/2015   178 OPINION & ORDER as to Ross William Ulbricht. Any further submissions regarding
                 defendants proposed expert witness Andreas M. Antonopoulos shall be submitted not
                 later than 2:00 p.m. today, January 31, 2015. Any other motions regarding experts
                 must be received by 4:00 p.m. today, January 31, 2015. Any response to any such new
                 motions shall be submitted not later than 12:00 p.m. tomorrow, February 1, 2015. SO
                 ORDERED. (Signed by Judge Katherine B. Forrest on 1/31/2015)(ft) (Entered:
                 02/05/2015)
01/31/2015         Set/Reset Deadlines/Hearings as to Ross William Ulbricht: Motions due by 1/31/2015.
                   Responses due by 2/2/2015. (ft) (Entered: 02/05/2015)
01/31/2015   179 ORDER as to Ross William Ulbricht. The defense shall disclose any exhibits it
                 proposes to use with experts or otherwise to the Government not later than 5 p.m.
                 today, January 31, 2015. SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 1/31/2015)(ft) (Entered: 02/05/2015)
01/31/2015   180 OPINION & ORDER as to Ross William Ulbricht. The Court is unclear as to whether
                 there is an additional expert who has been disclosed. Any additional expert would have
                 to have been disclosed before nowif such a disclosure has not been made by now, it is
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                   untimely and shall not be allowed. All exhibits relating to defense witnesses shall be
                   made not later than 10:00 p.m. this evening, January 31, 2015. SO ORDERED.
                   (Signed by Judge Katherine B. Forrest on 1/31/2015)(ft) (Entered: 02/05/2015)
01/31/2015   181 OPINION & ORDER as to Ross William Ulbricht. The Court has just learned that on
                 January 30, 2015, defendant noticed an additional expert witness, Mr. Steven M.
                 Bellovin. The Government has moved to preclude Bellovin from testifying. (ECF No.
                 70.) Defendant shall respond to the Government's motion to preclude Bellovin's
                 testimony not later than Sunday, February 1, 2015 at 9:00 a.m. Today's 10:00 p.m.
                 deadline for defendant's response to the Government's motion to preclude the
                 testimony of Andreas M. Antonopoulos (ECF No. 165) remains in place. SO
                 ORDERED. (Responses due by 2/1/2015) (Signed by Judge Katherine B. Forrest on
                 1/31/2015)(ft) (Entered: 02/05/2015)
02/01/2015   172 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel,
                 Esq. dated February 1, 2015 re: 170 LETTER MOTION addressed to Judge Katherine
                 B. Forrest from AUSA Timothy T. Howard dated 1/31/2015 re: Motion to Preclude
                 Expert Testimony of Dr. Steven M. Bellovin . re: To Admit the Expert Testimony of
                 Defense Witness Dr. Steven Bellovin . Document filed by Ross William Ulbricht.
                 (Dratel, Joshua) Modified on 2/3/2015 (ka). (Entered: 02/01/2015)
02/01/2015   173 OPINION & ORDER as to Ross William Ulbricht. Lawyers and clients make tactical
                 decisions. The Court cannot always understand why certain decisions are made, nor
                 need it. But when tactical decisions run contrary to established rules and case law, the
                 Court's duty is clear. The Court is duty−bound to apply the law as it exists, not as any
                 party wishes it to be....[See this Opinion & Order]... Why did the defense choose to
                 proceed as it has? This Court cannot know.Perhaps a tactical choice not to show the
                 defenses hand; perhaps to try andaccumulate appeal points; perhaps something else. In
                 any event, the outcome ofthese choices is that the Court hereby GRANTS the
                 Government's motions topreclude the testimony of both experts. (ECF Nos. 165,
                 170.)...[See this Opinion & Order]... II. CONCLUSION: For the reasons set forth
                 above, the Government's motions to preclude are GRANTED. The Clerk of Court is
                 directed to close the motions at ECF Nos. 165 and 170. SO ORDERED. (Signed by
                 Judge Katherine B. Forrest on 2/1/2015)(bw) (Entered: 02/02/2015)
02/02/2015   174 OPINION & ORDER as to (14−Cr−68−1) Ross William Ulbricht. Pending before the
                 Court are several applications by the parties to modify the proposed jury instructions
                 circulated by the Court on January 23, 2015. (ECF No. 162.) This Opinion & Order
                 sets forth the Court's determinations as to several proposed modifications.(See
                 Footnote 1 on page 1 of this Opinion & Order)....[See Opinion & Order]... The Clerk
                 of Court is directed to terminate the motion at ECF No. 164. SO ORDERED. (Signed
                 by Judge Katherine B. Forrest on 2/2/2015)(bw) (Entered: 02/02/2015)
02/02/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 2/2/2015. (jp) (Entered: 02/05/2015)
02/03/2015         NOTE TO ATTORNEY TO RE−FILE DOCUMENT − DOCUMENT TYPE
                   ERROR. Note to Attorney Joshua Lewis Dratel as to Ross William Ulbricht: to
                   RE−FILE Document 172 LETTER MOTION addressed to Judge Katherine B.
                   Forrest from Joshua L. Dratel, Esq. dated February 1, 2015 re: 170 LETTER
                   MOTION addressed to Judge Katherine B. Forrest from AUSA Timothy T.
                   Howard dated 1/31/2015 re: Motion to Preclude Ex. Use the document type
                   Response to Motion found under the document list Replies, Opposition and
                   Supporting Documents. (ka) (Entered: 02/03/2015)
02/03/2015         NOTE TO ATTORNEY TO RE−FILE DOCUMENT − DOCUMENT TYPE
                   ERROR. Note to Attorney Joshua Lewis Dratel as to Ross William Ulbricht: to
                   RE−FILE Document 171 LETTER MOTION addressed to Judge Katherine B.
                   Forrest from Joshua L. Dratel, Esq. dated January 31, 2015 re: 165 LETTER
                   MOTION addressed to Judge Katherine B. Forrest from the Government dated
                   01/29/2015 re: Preclusion of Expert Testimo. Use the document type Response to
                   Motion found under the document list Replies, Opposition and Supporting
                   Documents. (ka) (Entered: 02/03/2015)
       Case  18-691,
              18-691,Document
                      Document29-2, 06/19/2018,  2328483, Page27 of 43
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      Case:
        Case1:14-cr-00068-KBF  As
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                                    03/12/2018,
                                       03/12/20182255448,
                                                  01:13 PMPage28
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02/03/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held on 2/3/2015. (jp) (Entered: 02/05/2015)
02/04/2015   175 LETTER RESPONSE to Motion by Ross William Ulbricht addressed to Judge
                 Katherine B. Forrest from Joshua L. Dratel dated January 31, 2015 re: 165 LETTER
                 MOTION addressed to Judge Katherine B. Forrest from the Government dated
                 01/29/2015 re: Preclusion of Expert Testimony .. (Dratel, Joshua) (Entered:
                 02/04/2015)
02/04/2015   176 LETTER RESPONSE to Motion by Ross William Ulbricht addressed to Judge
                 Katherine B. Forrest from Joshua L. Dratel dated February 1, 2015 re: 170 LETTER
                 MOTION addressed to Judge Katherine B. Forrest from AUSA Timothy T. Howard
                 dated 1/31/2015 re: Motion to Preclude Expert Testimony of Dr. Steven M. Bellovin ..
                 (Dratel, Joshua) (Entered: 02/04/2015)
02/04/2015   177 ORDER as to Ross William Ulbricht. Attached are the jury instructions as delivered
                 on February 4, 2015. SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 2/4/2015)(bw) (Entered: 02/04/2015)
02/04/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest:Jury Trial as to
                   Ross William Ulbricht held and concluded on 2/4/2015. (jp) (Entered: 02/05/2015)
02/05/2015   182 Jury Note docketed as Court Exhibit 1 as to Ross William Ulbricht filed. (jp) (Entered:
                 02/05/2015)
02/05/2015   183 JURY VERDICT as to Ross William Ulbricht (1) Guilty on Count 1s,2s,3s,4s,5s,6s,7s.
                 (jp) (Entered: 02/05/2015)
02/05/2015   184 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Serrin Turner dated 2/2/2015 re: Statement by Andrew Jones.
                 ENDORSEMENT: Ordered: Post to Docket. (Signed by Judge Katherine B. Forrest on
                 2/5/2015)(ft) (Entered: 02/05/2015)
02/05/2015   185 ORDER as to Ross William Ulbricht. Attached to this order as Exhibit A is the resume
                 of Steven M. Bellovin, which was submitted by the Government in connection with
                 their motion to preclude him from testifying as an expert. (ECF No. 170.). SO
                 ORDERED. (Signed by Judge Katherine B. Forrest on 2/5/2015)(ft) (Entered:
                 02/05/2015)
02/05/2015   186 MEMO ENDORSEMENT on DEFENDANT'S SUPPLEMENTAL REQUESTS TO
                 CHARGE as to Ross William Ulbricht. ENDORSEMENT: Ordered: Post to docket.
                 All handwriting is the Court's. (Signed by Judge Katherine B. Forrest on 2/5/2015)(ft)
                 (Entered: 02/05/2015)
02/06/2015   187 ORDER as to Ross William Ulbricht. This Order recites and, where necessary,
                 attaches the various drafts and requests in connection with the jury instructions. 1. The
                 parties' initial joint requests to charge, filed on December 12, 2014, are at ECF No.
                 123. 2. The draft jury charge provided to the parties on January 23, 2015, is at ECF
                 No. 162. 3. The blackline draft jury charge provided to the Court by the parties on
                 January 27, 2015 is attached as Exhibit A. This blackline reflects the parties' proposed
                 edits to the January 23, 2015 draft jury charge. Appended to the blackline is a list
                 specifying who made each change. 4. The draft jury charge provided to the parties on
                 February 1, 2015 is attached as Exhibit B. 5. Defendant's Supplemental Requests to
                 Charge and proposed jury instruction with respect to character evidence, both
                 submitted to the Court on February 2, 2015, are attached as Exhibit C. 6. The jury
                 charge as delivered is at ECF No. 177.(See Footnote 1 on page 2 of Order). 7. The
                 verdict form provided to the jury is attached as Exhibit D. SO ORDERED. (Signed by
                 Judge Katherine B. Forrest on 2/6/2015)(bw) (Entered: 02/06/2015)
02/06/2015   188 ORDER as to Ross William Ulbricht. The Court requires that post−trial motions be
                 fully briefed one (1) month prior to sentencing, which is currently scheduled for May
                 15, 2015, at 10:00 a.m. The parties are directed to confer and not later than February
                 10, 2015, submit to the Court a schedule in which to accomplish the above. In the
                 absence of a proposed schedule from the parties, the Court will set one (Signed by
                 Judge Katherine B. Forrest on 2/6/15)(jw) (Entered: 02/06/2015)
02/06/2015   189 ENDORSED LETTER as to Ross William Ulbricht re: You have reputation evidence
                 about the defendant's character trait for peacefulness and non−violence. You should
       Case  18-691,
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                      Document29-2, 06/19/2018,  2328483, Page28 of 43
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                   consider character evidence together with and in the same way as all the other
                   evidence in the case..ENDORSEMENT: Requested by defendant. Post to docket.
                   (Signed by Judge Katherine B. Forrest on 2/6/15)(jw) (Entered: 02/06/2015)
02/09/2015   190 FILING ERROR − DEFICIENT DOCKET ENTRY − SIGNATURE ERROR −
                 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Lindsay A. Lewis, Esq. dated January 31, 2015 re: Extension for Time for Filing of
                 Response to the government's motion to preclude expert testimony and for the
                 production of defense exhibits to the government (Lewis, Lindsay) Modified on
                 2/10/2015 (ka). (Entered: 02/09/2015)
02/09/2015   191 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from the Government dated 02/09/2015 re: briefing schedule for post−trial motions
                 Document filed by USA. (Turner, Serrin) (Entered: 02/09/2015)
02/10/2015         ***NOTE TO ATTORNEY TO RE−FILE DOCUMENT − DEFICIENT
                   DOCKET ENTRY ERROR. Note to Attorney Lindsay Anne Lewis as to Ross
                   William Ulbricht: to RE−FILE Document 190 Letter. ERROR(S): Attorney
                   s/signature missing from document. (ka) (Entered: 02/10/2015)
02/10/2015   192 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Lindsay A. Lewis, Esq. dated January 31, 2015 re: Extension for Time for Filing of
                 Response to the government's motion to preclude expert testimony and for the
                 production of defense exhibits to the government (Lewis, Lindsay) (Entered:
                 02/10/2015)
02/10/2015   193 MEMO ENDORSEMENT as to Ross William Ulbricht on re: 191 Letter filed by
                 USA. ENDORSEMENT: Ordered: The Government's schedule is adopted. Briefing
                 shall be: defense motions: March 6, 2015, Gov't response: April 3, 2015, defense
                 reply: April 15, 2015. (Signed by Judge Katherine B. Forrest on 2/10/2015)(ft)
                 (Entered: 02/10/2015)
02/10/2015         Set/Reset Deadlines/Hearings as to Ross William Ulbricht: Motions due by 3/6/2015.
                   Replies due by 4/15/2015. Responses due by 4/3/2015. (ft) (Entered: 02/10/2015)
02/18/2015   194 SEALED DOCUMENT placed in vault. (mps) (Entered: 02/18/2015)
02/20/2015   195 SEALED DOCUMENT placed in vault. (mps) (Entered: 02/20/2015)
02/25/2015   196 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/13/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   197 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/13/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   198 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/14/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   199 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/14/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
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        Case1:14-cr-00068-KBF  As
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                   may be made remotely electronically available to the public without redaction after 90
                   calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   200 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/15/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Vincent Bologna,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   201 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/15/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   202 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/20/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   203 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/20/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   204 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/21/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Vincent Bologna,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   205 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/21/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   206 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/22/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   207 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/22/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
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02/25/2015   208 TRANSCRIPT of Proceedings as to Ross William Ulbricht held on 1/22/2015
                 corrected trial before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina
                 D'Emidio, (212) 805−0300, Transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through PACER. Redaction
                 Request due 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of
                 Transcript Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   209 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/22/2015 corrected trial has been filed by the court reporter/transcriber in the
                 above−captioned matter. The parties have seven (7) calendar days to file with the court
                 a Notice of Intent to Request Redaction of this transcript. If no such Notice is filed, the
                 transcript may be made remotely electronically available to the public without
                 redaction after 90 calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   210 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/26/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   211 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/26/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   212 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/29/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   213 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/29/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   214 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 1/28/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Vincent Bologna,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   215 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on
                 1/28/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   216 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 2/2/15
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
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                   through the Court Reporter/Transcriber before the deadline for Release of Transcript
                   Restriction. After that date it may be obtained through PACER. Redaction Request due
                   3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                   Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   217 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on 2/2/15
                 has been filed by the court reporter/transcriber in the above−captioned matter. The
                 parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                 Redaction of this transcript. If no such Notice is filed, the transcript may be made
                 remotely electronically available to the public without redaction after 90 calendar
                 days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   218 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 2/3/2015
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina D'Emidio,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   219 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on 2/3/2015
                 has been filed by the court reporter/transcriber in the above−captioned matter. The
                 parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                 Redaction of this transcript. If no such Notice is filed, the transcript may be made
                 remotely electronically available to the public without redaction after 90 calendar
                 days.... (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   220 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Trial held on 2/4/15
                 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Vincent Bologna,
                 (212) 805−0300, Transcript may be viewed at the court public terminal or purchased
                 through the Court Reporter/Transcriber before the deadline for Release of Transcript
                 Restriction. After that date it may be obtained through PACER. Redaction Request due
                 3/23/2015. Redacted Transcript Deadline set for 4/2/2015. Release of Transcript
                 Restriction set for 5/29/2015. (McGuirk, Kelly) (Entered: 02/25/2015)
02/25/2015   221 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Trial proceeding held on 2/4/15
                 has been filed by the court reporter/transcriber in the above−captioned matter. The
                 parties have seven (7) calendar days to file with the court a Notice of Intent to Request
                 Redaction of this transcript. If no such Notice is filed, the transcript may be made
                 remotely electronically available to the public without redaction after 90 calendar
                 days.... (McGuirk, Kelly) (Entered: 02/25/2015)
03/06/2015   222 MOTION for New Trial Pursuant to Rule 33, Fed.R.Crim.P.. Document filed by Ross
                 William Ulbricht. (Dratel, Joshua) (Entered: 03/06/2015)
03/06/2015   223 DECLARATION of Joshua L. Dratel in Support as to Ross William Ulbricht re: 222
                 MOTION for New Trial Pursuant to Rule 33, Fed.R.Crim.P... (Attachments: # 1
                 Exhibit 3500 Material Chart, # 2 Exhibit Government Exhibit Chart, # 3 Exhibit
                 1/8/15 Email)(Dratel, Joshua) (Entered: 03/06/2015)
03/06/2015   224 MEMORANDUM in Support by Ross William Ulbricht re 222 MOTION for New
                 Trial Pursuant to Rule 33, Fed.R.Crim.P... (Dratel, Joshua) (Entered: 03/06/2015)
03/13/2015   225 SEALED DOCUMENT placed in vault. (mps) (Entered: 03/13/2015)
03/30/2015   226 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Serrin Turner and Timothy T. Howard dated 3/30/2015 re: The
                 Government writes respectfully to inform the Court that the complaint attached hereto
                 as Exhibit A, which concerns a corruption investigation conducted by the U.S.
                 Attorneys Office for the Northern District of California (NDCA), was unsealed
                 today..ENDORSEMENT: SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 3/30/2015)(jw) (Entered: 03/31/2015)
       Case  18-691,
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                      Document29-2, 06/19/2018,  2328483, Page32 of 43
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03/31/2015   227 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from the Government dated 03/31/2015 re: Sealed Filings Document filed by USA.
                 (Attachments: # 1 Sealed Filings)(Turner, Serrin) (Entered: 03/31/2015)
03/31/2015   228 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from the Government dated 03/31/2015 re: unsealing of trial transcripts Document
                 filed by USA. (Turner, Serrin) (Entered: 03/31/2015)
03/31/2015   229 MEMO ENDORSEMENT as to Ross William Ulbricht on re: 228 LETTER by USA
                 as to Ross William Ulbricht addressed to Judge Katherine B. Forrest from the
                 Government (by AUSA Serrin Turner / Timothy T. Howard) dated 03/31/2015 re:
                 unsealing of trial transcripts. Yesterday, at the request of the Government, the Court
                 ordered the unsealing of certain sealed filings relating to a corruption investigation by
                 the U.S. Attorney's Office for the Northern District of California (the "NDCA
                 Investigation"). For the same reasons underlying its original request, the Government
                 additionally requests that any courtroom transcripts that were previously scaled due to
                 the existence of the NDCA Investigation now be unsealed. The defense consents to
                 this request. The transcripts at issue include: the sealed portion of the pre−trial
                 conference held on December 15, 2014; and the sealed portions of the trial transcripts,
                 to include: pages 118−19 (January 13, 2015); pages 594−614 (January 20, 2015);
                 pages 1440−42 (January 28, 2015); and pages 2084−97 (February 3, 2015).
                 ENDORSEMENT: SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 3/31/2015)(bw) (Entered: 04/01/2015)
04/01/2015         Transmission to Sealed Records Clerk: as to Ross William Ulbricht. Transmitted re:
                   229 Memo Endorsement, to the Sealed Records Clerk for the unsealing of document.
                   (bw) (Entered: 04/01/2015)
04/03/2015   230 MEMORANDUM in Opposition by USA as to Ross William Ulbricht re 222
                 MOTION for New Trial Pursuant to Rule 33, Fed.R.Crim.P... (Attachments: # 1
                 Exhibit A)(Turner, Serrin) (Entered: 04/03/2015)
04/15/2015   231 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Lindsay A. Lewis dated 4/15/2015 re: Adjournment of Reply.
                 ENDORSEMENT: Ordered: Application granted. (Replies due by 4/16/2015.) (Signed
                 by Judge Katherine B. Forrest on 4/15/2015)(ft) (Entered: 04/15/2015)
04/16/2015   232 REPLY MEMORANDUM OF LAW in Support as to Ross William Ulbricht re: 222
                 MOTION for New Trial Pursuant to Rule 33, Fed.R.Crim.P.. . (Attachments: # 1
                 Exhibit 1: 5/29/13 Email, # 2 Exhibit 2: 8/15/13 Email, # 3 Exhibit 3: Athavale Report
                 1, # 4 Exhibit 4: Athavale Report 2, # 5 Exhibit 5: Undated Report, # 6 Exhibit 6: Silk
                 Road Investigation Report, # 7 Exhibit 7: 9/20/13 Emails, # 8 Exhibit 8: Defense
                 Exhibit C, # 9 Exhibit 9: Defense Exhibit E)(Dratel, Joshua) (Entered: 04/16/2015)
04/17/2015   233 ORDER as to Ross William Ulbricht. The Government shall notify the Court as soon
                 as practicable as to whether any victims intend to speak at Mr. Ulbricts sentencing;
                 and, if so, the number and the likely duration. The Government shall update the Court
                 on an ongoing basis until the sentencing. (Signed by Judge Katherine B. Forrest on
                 4/17/2015)(jw) (Entered: 04/17/2015)
04/17/2015   234 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from the Government dated 04/17/2015 re: Sentencing Document filed by USA.
                 (Turner, Serrin) (Entered: 04/17/2015)
04/24/2015   235 LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel,
                 Esq. dated April 24, 2015 re: Sentencing Adjournment . Document filed by Ross
                 William Ulbricht. (Dratel, Joshua) (Entered: 04/24/2015)
04/24/2015   236 MEMO ENDORSEMENT granting 235 LETTER MOTION Adjournment of
                 Sentencing as to Ross William Ulbricht (1). ENDORSEMENT: Ordered: The
                 Government shall provide the Court with its view as to the request not later than
                 4/28/15. (Signed by Judge Katherine B. Forrest on 4/24/2015) (ft) (Entered:
                 04/24/2015)
04/27/2015   237 OPINION & ORDER denying 222 Motion for New Trial as to Ross William Ulbricht
                 (1). For the reasons set forth above, Ulbricht's motion for a new trial is DENIED. The
                 Clerk of Court is directed to terminate the motion at ECF No. 222. SO ORDERED.
                 (Signed by Judge Katherine B. Forrest on 4/27/2015) (ft) (Entered: 04/27/2015)
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04/28/2015   238 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from AUSA Timothy T. Howard dated 04/28/2015 re: Defendant's Request for an
                 Adjournment of Sentencing Document filed by USA. (Howard, Timothy) (Entered:
                 04/28/2015)
04/28/2015   239 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Joshua L. Dratel dated 4/24/15 re: Reschedule
                 Sentencing...ENDORSEMENT: The Court shall have a Fatico Hearing on May 22 at
                 9am. Defendant shall inform the Court and the Government not later than May 15. The
                 matters as to which the hearing is requested; defendant shall provide any evidence is
                 support of his position and a list of witnesses also by May 15. The sentencing is
                 adjourned only until 5/29/15 at 1pm., as to Ross William Ulbricht( Fatico Hearing set
                 for 5/22/2015 at 09:00 AM before Judge Katherine B. Forrest., Sentencing set for
                 5/29/2015 at 01:00 PM before Judge Katherine B. Forrest.) (Signed by Judge
                 Katherine B. Forrest on 4/28/15)(jw) (Entered: 04/28/2015)
05/15/2015   240 Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from Joshua L. Dratel, Esq. dated May 15, 2015 re: the Matters to Which the Fatico
                 Hearing is Addressed and the Evidence in Support of Mr. Ulbricht's Position. (Dratel,
                 Joshua) (Entered: 05/15/2015)
05/15/2015   241 LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L. Dratel,
                 Esq. dated May 15, 2015 re: the Matters to Which the Fatico Hearing is Addressed and
                 the Evidence in Support of Mr. Ulbricht's Position . Document filed by Ross William
                 Ulbricht. (Lewis, Lindsay) (Entered: 05/15/2015)
05/15/2015   242 DECLARATION of Lindsay A. Lewis, Esq. in Support as to Ross William Ulbricht
                 re: 241 LETTER MOTION addressed to Judge Katherine B. Forrest from Joshua L.
                 Dratel, Esq. dated May 15, 2015 re: the Matters to Which the Fatico Hearing is
                 Addressed and the Evidence in Support of Mr. Ulbricht's Position .. (Attachments: # 1
                 Exhibit 1−−Bingham Article: Single Case Study, # 2 Exhibit 2−− Bingham Article:
                 Study of User Experiences, # 3 Exhibit 3−− Bingham Article: Responsible Vendors, #
                 4 Exhibit 4− Ask a Drug Expert Physician SR Forum Thread, # 5 Exhibit 5−− Dr. X
                 Private Msgs, # 6 Exhibit 6−− Weekly Report ro DPR of Thread Topics, # 7 Exhibit
                 7−− Msgs Btwn DPR and Dr. X, # 8 Exhibit 8−− Barratt Article: Use of SR, # 9
                 Exhibit 9−− Ralston Article: End of SR, # 10 Exhibit 10−− Ralston Article: SR Was
                 Better, Safer, # 11 Exhibit 11−− Declaration of Tim Bingham, # 12 Exhibit 12−−
                 Declaration of Dr. Fernando Caudevilla (Dr. X), # 13 Exhibit 13 −− Declaration of Dr.
                 Monica Barratt, # 14 Exhibit 14−− Declaration of Meghan Ralston, # 15 Exhibit 15 −−
                 Curriculum Vitae for Dr. Mark Taff, # 16 Exhibit 16−− List of Documentary Evidence
                 Provided to Dr. Taff)(Lewis, Lindsay) (Entered: 05/15/2015)
05/18/2015   243 ORDER as to Ross William Ulbricht. Please respond by C.O.B. 5/19/2015 or sooner to
                 the following: 1. Does the Government request a Fatico hearing on the facts proffered
                 by the defendant? −− Will the Government be offering any responsive factual
                 materials on those topics? 2. The Court assumes the parties understand that even if
                 they waive a Fatico hearing, the Court will make any necessary findings of fact based
                 on the evidence before it as to matters relevant to sentencing. 3. The Court would like
                 information within five (5) days the parties may have as to whether Silk Road
                 transactions typically involved personal use quantities or resale quantities of narcotics.
                 SO ORDERED: (Signed by Judge Katherine B. Forrest on 5/18/2015)(bw) (Entered:
                 05/18/2015)
05/18/2015   244 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from the Government dated May 18, 2015 re: Fatico hearing Document filed by USA.
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Turner, Serrin) (Entered: 05/18/2015)
05/19/2015   245 ORDER as to Ross William Ulbricht. The parties are advised that the Court shall
                 review a number of sources cited in the articles submitted by the defense and, to the
                 extent appropriate, refer to them. Among those is Not an Ebay for Drugs: The
                 Cryptomarket Silk Road as a Paradigm Shifting Criminal Innovation by Judith
                 Aldridge and David Dcary−Htu. (Signed by Judge Katherine B. Forrest on
                 5/19/15)(jw) (Entered: 05/19/2015)
05/19/2015   246 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Lindsay A. Lewis dated 5/18/2015 re: Fatico Letter. ENDORSEMENT:
                 Ordered: Post on Docket. (Signed by Judge Katherine B. Forrest on Lindsay A.
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                   Lewis)(ft) (Entered: 05/19/2015)
05/19/2015   247 ORDER as to Ross William Ulbricht. As neither side is seeking a Fatico hearing in
                 this matter, the hearing currently scheduled for Friday, May 22, 2015, at 9:00 a.m. is
                 adjourned. Sentencing is scheduled for Friday, May 29, 2015, at 1:00 p.m. Sentencing
                 submissions from the defendant are due May 22, 2015. Government submissions are
                 due May 26, 2015. SO ORDERED. (Brief due by 5/22/2015, Responses due by
                 5/26/2015, Sentencing set for 5/29/2015 at 01:00 PM before Judge Katherine B.
                 Forrest.) (Signed by Judge Katherine B. Forrest on 5/19/2015)(ft) (Entered:
                 05/19/2015)
05/19/2015   248 ORDER as to Ross William Ulbricht. The Government has indicated that it has access
                 to a computer with a searchable copy of the Silk Road website. On May 20, 2015, at
                 4:40 p.m., the Court will hold a conference in Chambers to view the website and run
                 various searches. If defense counsel believe that defendant's presence is necessary,
                 they shall make appropriate arrangements. SO ORDERED. (Status Conference set for
                 5/20/2015 at 04:40 PM before Judge Katherine B. Forrest.) (Signed by Judge
                 Katherine B. Forrest on 5/19/2015)(ft) (Entered: 05/19/2015)
05/20/2015   249 ORDER as to Ross William Ulbricht. The Court has been reviewing the mitigation
                 materials provided by defendant and has several questions. (*** See this Order
                 complete text. ***). (Signed by Judge Katherine B. Forrest on 5/20/2015)(bw)
                 (Entered: 05/20/2015)
05/20/2015   250 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Timothy T. Howard dated 5/19/2015 re: Please find a copy of the article requested. (ft)
                 (Entered: 05/20/2015)
05/26/2015   252 Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from Joshua L. Dratel, Esq. dated May 22, 2015 re: CORRECTED Sentencing Letter
                 on Behalf of Ross Ulbricht. (Attachments: # 1 Exhibit 1−− Letter of Ross Ulbricht, # 2
                 Exhibit 2−− Letters on Behalf of Ross Ulbricht (Part 1), # 3 Exhibit 2−− Letters on
                 Behalf Of Ross Ulbricht (Part 2), # 4 Exhibit 2−−Letters on Behalf Of Ross Ulbricht
                 (Part 3), # 5 Exhibit 2−−Letters on Behalf Of Ross Ulbricht (Part 4), # 6 Exhibit
                 2−−Letters on Behalf Of Ross Ulbricht (Part 5), # 7 Exhibit 3−− Email Re Dr X, # 8
                 Exhibit 4 −− Photos of Mr. Ulbricht With Family and Friends)(Dratel, Joshua)
                 (Entered: 05/26/2015)
05/26/2015   253 ORDER as to Ross William Ulbricht. Do defense counsel have, and can they allow the
                 Court to temporarily borrow, the following book in hard copy: Jonathan P. Caulkins et
                 al., Rand Drug Policy Research Center, Mandatory Minimum Drug Sentences:
                 Throwing Away the Key or the Taxpayers Money? (1997). This book is cited at page
                 54 of defendants sentencing submission. SO ORDERED. (Signed by Judge Katherine
                 B. Forrest on 5/26/2015)(ft) (Entered: 05/26/2015)
05/26/2015   255 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Joshua L. Dratel dated 5/26/2015 re: Removal of #251.
                 ENDORSEMENT: So ordered. Dkt. #251 to be removed (& replaced). (Signed by
                 Judge Katherine B. Forrest on 5/26/2015)(ft) (Entered: 05/26/2015)
05/26/2015   256 SENTENCING SUBMISSION by USA as to Ross William Ulbricht. (Attachments: #
                 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, #
                 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I)(Turner, Serrin) (Entered: 05/26/2015)
05/26/2015         ***DELETED DOCUMENT. Deleted document number 254, as to Ross William
                   Ulbricht. The document was incorrectly filed in this case. (jp) (Entered:
                   05/26/2015)
05/26/2015   257 Sentencing Letter by USA as to Ross William Ulbricht addressed to Judge Katherine
                 B. Forrest from the Government dated 05/26/2015 re: Victim Impact Letters.
                 (Attachments: # 1 victim letter from father of Bryan B, # 2 victim letter from sister of
                 Bryan B, # 3 victim letter from mother of Preston B, # 4 victim letter from father of
                 Preston B, # 5 victim letter from mother of Jacob L)(Turner, Serrin) (Entered:
                 05/26/2015)
05/27/2015   258 ORDER as to Ross William Ulbricht: The parties are advised that the Court is
                 considering whether any of Counts 1 to 4 are duplicative for sentencing purposes and
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                   whether Congress intended separate punishments for each. See, e.g., Rutledge v.
                   United States, 517 U.S. 292 (1996) (even concurrent sentences may create issues). In
                   particular, the Court is considering whether Counts 1 and 2, which are based on the
                   same conduct, are duplicative for sentencing purposes, and whether Counts 3 and 4
                   are. If the parties have views on this issue, they should provide their views in writing
                   not later than May 28, 2015 at noon. (Signed by Judge Katherine B. Forrest on
                   5/27/2015)(jp) (Entered: 05/27/2015)
05/27/2015   259 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from the Government dated 05/27/2015 re: Lesser Included Offenses to Be Dismissed
                 at Sentencing Document filed by USA. (Turner, Serrin) (Entered: 05/27/2015)
05/27/2015         As requested in the Government's submission, dated May 18, 2015, the DVD−ROM
                   accompanying the submission will be filed under seal. (jp) (Entered: 05/27/2015)
05/27/2015   260 Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from Lindsay A. Lewis, Esq. dated May 27, 2015 re: questions posed in the Court's
                 May 20, 2015, Order regarding the mitigation materials relevant to Mr. Ulbricht's
                 sentencing. (Attachments: # 1 Exhibit 1−− Additional Weekly Reports to DPR, # 2
                 Exhibit 2−− Buyer Questionnaire, # 3 Exhibit 3−− Vendor Questionnaire, # 4 Exhibit
                 4−− Dr. X Thread Excerpts)(Lewis, Lindsay) (Entered: 05/27/2015)
05/28/2015   261 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Joshua L. Dratel, Esq. dated May 28, 2015 re: whether certain Counts in the
                 Superseding Indictment are duplicative for sentencing purposes (Dratel, Joshua)
                 (Entered: 05/28/2015)
05/28/2015   262 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from the Government dated 05/28/2015 re: Proposed Order of Forfeiture Document
                 filed by USA. (Attachments: # 1 Text of Proposed Order)(Turner, Serrin) (Entered:
                 05/28/2015)
05/28/2015   263 Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from Joshua L. Dratel, Esq. dated May 28, 2015 re: Reply to the Government's
                 Sentencing Letter. (Attachments: # 1 Exhibit 5 −− Letter of Michael Van Praagh, # 2
                 Exhibit 6 −− Letter of Joseph Ernst, # 3 Exhibit 7 −− Dr. Mark L. Taff Formal
                 Report)(Lewis, Lindsay) (Entered: 05/28/2015)
05/28/2015   264 REDACTION byRoss William Ulbricht to 263 Letter − Sentencing, filed by Ross
                 William Ulbricht (Dratel, Joshua) (Entered: 05/28/2015)
05/28/2015   265 Sentencing Letter by Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from Joshua L. Dratel, Esq. dated May 28, 2015 re: Additional Letter in Support of
                 Ross Ulbricht from Elizabeth Oden. (Attachments: # 1 Exhibit Letter of Elizabeth
                 Oden)(Dratel, Joshua) (Entered: 05/28/2015)
05/28/2015   267 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Joshua L. Dratel dated 5/28/2015 re: Removal of Exhibit #7 to Docket
                 #263. ENDORSEMENT: ORDERED. Application granted. (Signed by Judge
                 Katherine B. Forrest on 5/28/2015)(ft) (Entered: 05/29/2015)
05/29/2015   266 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Lindsay A. Lewis, Esq. dated May 29, 2015 re: Torchat Logs referenced in Mr.
                 Ulbricht's reply to the government's sentencing letter (Attachments: # 1 Exhibit 1 −−
                 Excerpt from Torchat Log gx5of53tpzvvjwbn, # 2 Exhibit 2−−Excepts from Torchat
                 Log "tv32")(Lewis, Lindsay) (Entered: 05/29/2015)
05/29/2015   268 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Lindsay A. Lewis, Esq. dated May 29, 2015 re: Correction Regarding the Requested
                 Designation Recommendation by the Court to the Bureau of Prisons (Lewis, Lindsay)
                 (Entered: 05/29/2015)
06/01/2015         Minute Entry for proceedings held before Judge Katherine B. Forrest: Sentencing held
                   on 6/1/2015 for Ross William Ulbricht (1) Count 2s,4s,5s,6s,7s. (ajc) (Entered:
                   06/01/2015)
06/01/2015         DISMISSAL OF COUNTS on Government Motion as to Ross William Ulbricht (1)
                   Count 1,1s,2,3,3s,4. (ajc) (Entered: 06/01/2015)
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06/01/2015   269 JUDGMENT as to Ross William Ulbricht (1), Count(s) 1, 1s, 2, 3, 3s, 4, Count is
                 dismissed on the motion of the United States. Count(s) 2s, The defendant is hereby
                 committed to the custody of the United States Bureau of Prisons to be imprisoned for a
                 total term of. For a Count(s) 4s, The defendant is hereby committed to the custody of
                 the United States Bureau of Prisons to be imprisoned for a total term of: Life to run
                 concurrently; Count (5): Five (5) Years to run concurrently; Count Six (6): Fifteen (15)
                 Years to run concurrently; Count Seven (7): Twenty (20) Years to run concurrently.
                 The court makes the following recommendations to the Bureau of Prisons: PLEASE
                 SEE ADDITIONAL IMPRISONMENT TERMS PAGE FOR
                 RECOMMENDATIONS. ADDITIONAL IMPRISONMENT TERMS; It is
                 respectfully recommended that the defendant be designated to FCI Petersburg I in
                 Virginia in the event that the Bureau of Prisons waive the public safety factor with
                 regard to sentence length. However, if the Bureau of Prisons is not inclined to waive
                 the public safety factor, it is respectfully recommended that the defendant be
                 designated to USP Tuscon, in Arizona, or, as a second choice, USP Coleman II, in
                 Florida. Upon release from imprisonment, the defendant shall be on supervised release
                 for a term of: Life on Counts Two (2) and Four (4) to run concurrently; Three (3)
                 Years on Counts Five (5), Six (6) and Seven (7) to run concurrently.; Count(s) 5s, The
                 defendant is hereby committed to the custody of the United States Bureau of Prisons to
                 be imprisoned for a total term of: Counts Two (2) and Four (4): Life to run
                 concurrently; Count (5): Five (5) Years to run concurrently; Count Six (6): Fifteen (15)
                 Years to run concurrently; Count Seven (7): Twenty (20) Years to run concurrently.
                 Upon release from imprisonment, the defendant shall be on supervised release for a
                 term of: Life on Counts Two (2) and Four (4) to run concurrently; Three (3) Years on
                 Counts Five (5), Six (6) and Seven (7) to runconcurrently. ADDITIONAL
                 SUPERVISED RELEASE TERMS; The defendant shall submit his computer, person
                 and place of residence to searched as deemed appropriate by the Probation
                 Department. The defendant must pay the total criminal monetary penalties, $500
                 special assessment, lump sum payment of $500 due immediately, balance due.
                 ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES; Forfeiture in
                 the amount of $183,961,921.00 is Ordered. (Signed by Judge Katherine B. Forrest on
                 6/1/15)(ajc) (Entered: 06/01/2015)
06/02/2015   270 MOTION for an Order, pursuant to Rule 38(b)(2), Fed.R.Crim.P., recommending that
                 Mr. Ulbricht's custody be retained at the Metropolitan Correctional Center in New
                 York City pending his direct appeal . Document filed by Ross William Ulbricht.
                 (Lewis, Lindsay) (Entered: 06/02/2015)
06/02/2015   271 DECLARATION of Lindsay A. Lewis, Esq. in Support as to Ross William Ulbricht
                 re: 270 MOTION for an Order, pursuant to Rule 38(b)(2), Fed.R.Crim.P.,
                 recommending that Mr. Ulbricht's custody be retained at the Metropolitan Correctional
                 Center in New York City pending his direct appeal .. (Attachments: # 1 Exhibit 1−−
                 Judgment)(Lewis, Lindsay) (Entered: 06/02/2015)
06/03/2015   272 ORDER granting 270 Motion, Custody Location as to Ross William Ulbricht (1). SO
                 ORDERED. New York, New York June 3, 2015, KATHERINE B. FORREST, United
                 States District Judge. (Signed by Judge Katherine B. Forrest on 6/3/15) (ajc) (Entered:
                 06/03/2015)
06/03/2015   273 PRELIMINARY ORDER OF FORFEITURE/MONEY JUDGMENT as to Ross
                 William Ulbricht. NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND
                 DECREEDTHAT:1. As a result of the offenses charged in Counts Onethrough Seven
                 of the Indictment, to which the defendant wasfound guilty, a money judgment in the
                 amount of $183,961,921 inUnited States currency (the "Money Judgment") shall be
                 enteredagainst the defendant, representing (a) proceeds obtained as aresult of, and
                 property used or intended to be used in anymanner or part to commit or to facilitate the
                 commission of, oneor more of the offenses alleged in Counts One through Four ofthe
                 Indictment; (b) proceeds obtained directly or indirectly asa result of the offenses
                 alleged in Counts Five and Six of theIndictment; and (c) property involved in the
                 offense alleged inCount Seven of the Indictment, or property traceable to
                 suchproperty. Pursuant to Rule 32. 2(b)(4) of the Federal Rulesof Criminal Procedure,
                 upon entry of this Preliminary Order ofForfeiture/Money Judgment, this Preliminary
                 Order ofForfeiture/Money Judgment is final as to the defendant, ROSS WILLIAM
                 ULBRICHT, a/k/a "Dread Pirate Roberts," a/k/a "DPR," a/k/a ''Silk Road," and shall
                 be deemed part of the sentence of the defendant, and shall be included in the judgment
                 of conviction therewith. (Signed by Judge Katherine B. Forrest on 6/3/2015)(jw)
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                   (Entered: 06/03/2015)
06/04/2015   274 NOTICE OF APPEAL by Ross William Ulbricht from 269 Judgment, 273 Preliminary
                 Order for Forfeiture of Property. Filing fee $ 505.00, receipt number 465401127234.
                 (nd) (Entered: 06/04/2015)
06/04/2015         Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Ross
                   William Ulbricht to US Court of Appeals re: 274 Notice of Appeal − Final Judgment.
                   (nd) (Entered: 06/04/2015)
06/04/2015         Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                   Electronic Files as to Ross William Ulbricht re: 274 Notice of Appeal − Final
                   Judgment were transmitted to the U.S. Court of Appeals. (nd) (Entered: 06/04/2015)
06/05/2015   275 SEALED DOCUMENT placed in vault. (nm) (Entered: 06/05/2015)
06/05/2015   276 SEALED DOCUMENT placed in vault. (nm) (Entered: 06/05/2015)
06/10/2015         Payment of Special Assessment $500 from Ross William Ulbricht in the amount of
                   $500. Date Received: 6/10/2015. (ew) (Entered: 06/10/2015)
06/30/2015   277 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Sentence held on
                 5/29/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Pamela
                 Utter, (212) 805−0300, Transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through PACER. Redaction
                 Request due 7/24/2015. Redacted Transcript Deadline set for 8/3/2015. Release of
                 Transcript Restriction set for 10/1/2015. (McGuirk, Kelly) (Entered: 06/30/2015)
06/30/2015   278 NOTICE OF FILING OF OFFICIAL TRANSCRIPT as to Ross William Ulbricht.
                 Notice is hereby given that an official transcript of a Sentence proceeding held on
                 5/29/2015 has been filed by the court reporter/transcriber in the above−captioned
                 matter. The parties have seven (7) calendar days to file with the court a Notice of
                 Intent to Request Redaction of this transcript. If no such Notice is filed, the transcript
                 may be made remotely electronically available to the public without redaction after 90
                 calendar days.... (McGuirk, Kelly) (Entered: 06/30/2015)
07/28/2015   279 SEALED DOCUMENT placed in vault. (rz) (Entered: 07/28/2015)
08/31/2015   280 LETTER MOTION addressed to Judge Katherine B. Forrest from the Government
                 dated 08/31/2015 re: Corrections to Transcript and Unsealing of Certain Materials .
                 Document filed by USA as to Ross William Ulbricht. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B)(Turner, Serrin) (Entered: 08/31/2015)
09/02/2015   281 LETTER MOTION addressed to Judge Katherine B. Forrest from Lindsay A. Lewis,
                 Esq. dated September 2, 2015 re: opposing the government's request to unseal the
                 redacted portions of the Courts December 22, 2014, Memorandum Opinion and the
                 two ex parte letters from Mr. Ulbrichts counsel referenced in the Opinion . Document
                 filed by Ross William Ulbricht. (Lewis, Lindsay) (Entered: 09/02/2015)
09/04/2015   282 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Joshua L. Dratel dated 9/2/2015 re: Reschedule Telephonic
                 conference....ENDORSEMENT: Conference adjourned to 9/16/2015 at 5:15pm.
                 Answer/response to complaint extended to 9/21/15(Answer/ Responses due by
                 9/21/2015, Telephone Conference set for 9/16/2015 at 05:15 PM before Judge
                 Katherine B. Forrest.) (Signed by Judge Katherine B. Forrest on 9/3/2015)(jw)
                 (Entered: 09/04/2015)
09/11/2015   283 ORDER terminating 280 LETTER MOTION as to Ross William Ulbricht (1);
                 terminating 281 LETTER MOTION as to Ross William Ulbricht (1). The Court has
                 reviewed the Governments letter motion dated August 31, 2015 and defendants letter
                 in opposition dated September 2, 2015. As to the requested corrections to the
                 transcript, the Court notes that there arepage and line number discrepancies and
                 typographical errors in the proposedcorrections. The parties shall make the appropriate
                 changes and submit a new version to the Court. The Clerk of Court is directed to
                 terminate the motions at ECF No. 280 and 281. (Signed by Judge Katherine B. Forrest
                 on 9/11/15) (jw) (Entered: 09/11/2015)
       Case  18-691,
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                                    03/12/2018,
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                                                  01:13 PMPage39
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10/05/2015   284 SEALED DOCUMENT placed in vault. (mps) (Entered: 10/05/2015)
10/07/2015   285 ORDER as to Ross William Ulbricht. The Court notes that there are page and line
                 number differences between the transcripts that the Court has and the ones that the
                 U.S. Attorneys Office has. The parties shall work with the Court Reporters to make the
                 appropriate changes on the attached pages; such changes are allowed (Signed by Judge
                 Katherine B. Forrest on 10/7/2015)(jw) (Entered: 10/07/2015)
10/07/2015   286 MEMO ENDORSEMENT as to Ross William Ulbricht on E−Mail addressed to
                 Chambers of Judge Katherine B. Forrest from AUSA Serrin Turner dated 10/5/2015
                 05:32 PM re: Proposed revised corrections. Pursuant to discussions with chambers, I
                 am attaching a revised version of the Government's proposed corrections to the
                 Ulbricht trial transcript. Changes to the original version (which are slight) are reflected
                 in red. If there are any additional revisions to the corrections that chambers believes
                 should be made, please let me know and I can make them before filing the revised
                 corrections on ECF. ENDORSEMENT: Post to docket. (Signed by Judge Katherine B.
                 Forrest on 10/7/2015)(bw) (Entered: 10/07/2015)
01/06/2016   287 INTERNET CITATION NOTE as to Ross William Ulbricht: Material from decision
                 with Internet citation re: 42 Memorandum & Opinion. (Attachments: # 1 Internet
                 Citation, # 2 Internet Citation, # 3 Internet Citation, # 4 Internet Citation, # 5 Internet
                 Citation, # 6 Internet Citation, # 7 Internet Citation) (sj) (Entered: 01/06/2016)
02/23/2016   288 LETTER by USA as to Ross William Ulbricht addressed to Judge Katherine B. Forrest
                 from the Government dated 02/23/2016 re: Termination of Appearance Document
                 filed by USA. (Turner, Serrin) (Entered: 02/23/2016)
02/24/2016   289 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Serrin Turner dated 2/23/2016 re: The Government respectfully requests
                 that the Court order the Clerk to terminate the appearance of undersigned counsel in
                 this matter. AUSA Timothy Howard will remain counsel of record in the
                 case..ENDORSEMENT: SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 2/23/2016)(jw) (Entered: 02/24/2016)
06/07/2016   290 NOTICE OF ATTORNEY APPEARANCE Michael Daniel Neff appearing for USA.
                 (Neff, Michael) (Entered: 06/07/2016)
06/09/2016   291 LETTER MOTION addressed to Judge Katherine B. Forrest from Tim Howard, Eun
                 Young Choi, and Michael Neff dated June 9, 2016 re: Limited unsealing of certain
                 materials for purpose of responding to defendant's arguments on appeal . Document
                 filed by USA as to Ross William Ulbricht. (Neff, Michael) (Entered: 06/09/2016)
06/09/2016   292 MEMO ENDORSEMENT granting 291 LETTER MOTION filed by USA as to Ross
                 William Ulbricht (1), addressed to Judge Katherine B. Forrest from AUSAs Tim
                 Howard, Eun Young Choi, and Michael Neff, dated June 9, 2016 re: Limited unsealing
                 of certain materials for purpose of responding to defendant's arguments on appeal. In
                 an abundance of caution, the Government respectfully writes to make a limited
                 unsealing request in this case. The Government seeks to ensure that it may publicly
                 respond in its brief on appeal to the defendant's arguments on appeal, without running
                 afoul of prior sealing orders of the Court. Specifically, the Government requests that
                 the Court unseal seven sets of documents −−− five applications and orders authorizing
                 pen registers and/or trap and trace devices, and two search warrants and associated
                 applications (one to Facebook, and one to Google)−−−for the limited purpose of
                 permitting the Government to respond on appeal. Each set of documents was sworn
                 out and issued in this District by Magistrate Judges, and produced to the defense
                 during discovery. See 13 Mag. 2228 (pen register/trap and trace order dated 9/16/2013,
                 signed by Magistrate Judge Henry Pitman); 13 Mag. 2236 (pen register/trap and trace
                 order dated 9/17/2013, signed by Magistrate Judge Henry Pitman); 13 Mag. 2258 (pen
                 register/trap and trace order dated 9/19/2013, signed by Magistrate Judge Henry
                 Pitman); 13 Mag. 2274 (pen register/trap and trace order dated 9/20/2013, signed by
                 Magistrate Judge Debra Freeman); 13 Mag. 2275 (pen register/trap and trace order
                 dated 9/20/2013, signed by Magistrate Judge Debra Freeman); 13 Mag. 2408
                 (Facebook search warrant dated 10/8/2013, signed by Magistrate Judge Gabriel W.
                 Gorenstein); 13 Mag. 2409 (Google search warrant dated 10/8/2013, signed by
                 Magistrate Judge Gabriel W. Gorenstein). The defense consents to the Government's
                 request. ENDORSEMENT: SO ORDERED. (Signed by Judge Katherine B. Forrest on
                 6/9/2016) (bw) (Entered: 06/09/2016)
       Case  18-691,
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06/09/2016         Transmission to Sealed Records Clerk: as to Ross William Ulbricht. Transmitted re:
                   292 Order on Letter Motion, to the Sealed Records Clerk for the sealing or unsealing
                   of document or case. (bw) (Entered: 06/09/2016)
12/07/2016   293 SEALED DOCUMENT placed in vault. (mps) (Entered: 12/07/2016)
06/23/2017   294 MOTION for Paul Grant to Appear Pro Hac Vice . Filing fee $ 200.00, receipt number
                 0208−13822926. Motion and supporting papers to be reviewed by Clerk's Office
                 staff. Document filed by Ross William Ulbricht. (Attachments: # 1 Affidavit
                 Declaration in support of motion, # 2 Exhibit Certificate of Good Standing, # 3 Text of
                 Proposed Order Proposed Order)(Grant, Paul) (Entered: 06/23/2017)
06/23/2017         >>>NOTICE REGARDING PRO HAC VICE MOTION. Regarding Document
                   No. 294 MOTION for Paul Grant to Appear Pro Hac Vice . Filing fee $ 200.00,
                   receipt number 0208−13822926. Motion and supporting papers to be reviewed by
                   Clerk's Office staff.. The document has been reviewed and there are no
                   deficiencies. (wb) (Entered: 06/23/2017)
06/29/2017   295 ORDER FOR ADMISSION PRO HAC VICE: as to Ross William Ulbricht. The
                 motion of Paul Grant for admission to practice Pro Hac Vice in the above−captioned
                 action is granted. Applicant has declared that he is a member in good standing at the
                 bar of the state of Colorado; and that his contact information is as follows: Applicant's
                 Name: Paul Grant,...[See this Order]... Applicant having requested admission Pro Hac
                 Vice to appear for all purposes as counsel for Ross William Ulbricht in the
                 above−entitled action; IT IS HEREBY ORDERED that Applicant is admitted to
                 practice Pro Hac Vice in the above−captioned case in the United States District Court
                 for the Southern District of New York All attorneys appearing before this Court are
                 subject to the Local Rules of this Court, including the Rules governing the discipline
                 of attorneys. (Signed by Judge Katherine B. Forrest on 6/29/2017)(bw) (Entered:
                 06/29/2017)
09/06/2017   296 MANDATE of USCA (Certified Copy) as to Ross William Ulbricht re: 274 Notice of
                 Appeal. USCA Case Number 15−1815. Ordered, Adjudged and Decreed that the
                 judgment of the District Court is AFFIRMED. Catherine O'Hagan Wolfe, Clerk USCA
                 for the Second Circuit. Issued As Mandate: 09/06/2017. (Attachments: # 1
                 Opinion)(nd) (Entered: 09/06/2017)
02/05/2018   297 FILING ERROR − DEFICIENT DOCKET ENTRY − FIRST MOTION to
                 Disqualify Judge Forrest. Document filed by Ross William Ulbricht. (Attachments: #
                 1 Memorandum of Law, # 2 Declaration, # 3 Exhibit Exhibit 1, # 4 Exhibit Exhibit 2,
                 # 5 Declaration)(Grant, Paul) Modified on 2/5/2018 (ka). (Entered: 02/05/2018)
02/05/2018   298 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 FIRST MOTION for Extension of Time to File Rule 33 Motion for New Trial.
                 Document filed by Ross William Ulbricht. (Attachments: # 1 Declaration)(Grant,
                 Paul) Modified on 2/5/2018 (ka). (Entered: 02/05/2018)
02/05/2018   299 FILING ERROR − WRONG EVENT TYPE SELECTED FROM MENU −
                 FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant
                 dated February 5, 2018 re: Partial Unsealing of Magistrate Files 13MAG2258,
                 13MAG2274, 13MAG2275. Document filed by Ross William Ulbricht. (Attachments:
                 # 1 Declaration)(Grant, Paul) Modified on 2/5/2018 (ka). (Entered: 02/05/2018)
02/05/2018         ***NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − DEFICIENT
                   DOCKET ENTRY ERROR as to Ross William Ulbricht: Notice to Attorney Paul
                   Grant to RE−FILE Document 297 FIRST MOTION to Disqualify Judge Forrest..
                   ERROR(S): Filing Error of Attachments. Supporting dcouments must be filed
                   individually. Event codes located under Replies, Opposition and Supporting
                   documents.***NOTE: Separate docket entry for each. (ka) (Entered: 02/05/2018)
02/05/2018         NOTICE TO ATTORNEY TO RE−FILE DOCUMENT − EVENT TYPE
                   ERROR as to Ross William Ulbricht: Notice to Attorney Paul Grant to RE−FILE
                   Document 299 FIRST LETTER MOTION addressed to Judge Katherine B.
                   Forrest from Paul Grant dated February 5, 2018 re: Partial Unsealing of
                   Magistrate Files 13MAG2258, 13MAG2274, 13MAG2275., 298 FIRST MOTION
                   for Extension of Time to File Rule 33 Motion for New Trial.. Use the event type
                   Letter Motion found under the event list Motions. (ka) (Entered: 02/05/2018)
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02/05/2018   300 FIRST MOTION to Disqualify Judge Forrest. Document filed by Ross William
                 Ulbricht. (Grant, Paul) (Entered: 02/05/2018)
02/05/2018   301 MEMORANDUM in Support by Ross William Ulbricht re 300 FIRST MOTION to
                 Disqualify Judge Forrest.. (Grant, Paul) (Entered: 02/05/2018)
02/05/2018   302 DECLARATION of Paul Grant in Support as to Ross William Ulbricht re: 300 FIRST
                 MOTION to Disqualify Judge Forrest.. (Attachments: # 1 Exhibit Exhibit 1, # 2
                 Exhibit Exhibit 2)(Grant, Paul) (Entered: 02/05/2018)
02/05/2018   303 DECLARATION of Ross Ulbricht in Support as to Ross William Ulbricht re: 300
                 FIRST MOTION to Disqualify Judge Forrest.. (Grant, Paul) (Entered: 02/05/2018)
02/05/2018   304 FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant
                 dated February 5, 2018 re: Recusal of Judge Forrest. Document filed by Ross William
                 Ulbricht. (Grant, Paul) (Entered: 02/05/2018)
02/05/2018   305 FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant
                 dated February 5, 2018 re: Partial Unsealing of Magistrate Files . Document filed by
                 Ross William Ulbricht. (Grant, Paul) (Entered: 02/05/2018)
02/05/2018   306 DECLARATION of Paul Grant in Support as to Ross William Ulbricht re: 305 FIRST
                 LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated
                 February 5, 2018 re: Partial Unsealing of Magistrate Files .. (Grant, Paul) (Entered:
                 02/05/2018)
02/05/2018   307 FIRST MOTION for Extension of Time to File Rule 33 Motion. Document filed by
                 Ross William Ulbricht. (Grant, Paul) Modified on 2/6/2018 (ka). Modified on
                 2/6/2018 (ka). (Entered: 02/05/2018)
02/05/2018   308 DECLARATION of Paul Grant in Support as to Ross William Ulbricht re: 307 FIRST
                 MOTION for Extension of Time to File Rule 33 Motion.. (Grant, Paul) (Entered:
                 02/05/2018)
02/05/2018   309 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Paul Grant dated 2/5/2018 re: Counsel writes requesting an extension of
                 time in which to submit a Rule 33 Motion for a New Trial. ENDORSEMENT:
                 Ordered: The motion to extend time for a Rule 33 motion is DENIED. A rule 33
                 motion is not an opportunity to re−litigate that which has been litigated, or to engage
                 in a fishing expedition for new evidence. The Court appreciates that Mr. Grant was not
                 involved in the trial, but the transcript reveals that the very evidence to which he now
                 points (that the FBI was monitoring the defendant's online movements) was explicitly
                 known at the trial. (See e.g., Tr. 319, et. seq.) This is not new news. As to an inability
                 to obtain the file, that does not suggest any basis for a new trial or indeed, whatever is
                 in the file was necessarily known to prior counsel. No good cause to delay the deadline
                 has been shown. (Signed by Judge Katherine B. Forrest on 2/5/2018)(jp) (Entered:
                 02/05/2018)
02/05/2018   310 MEMO ENDORSEMENT as to Ross William Ulbricht on re: 301 Memorandum in
                 Support of Motion filed by Ross William Ulbricht. ENDORSEMENT as follows: This
                 is frivolous and full of many misstatements of the record. It is denied without need for
                 any further briefing. (Signed by Judge Katherine B. Forrest on 2/5/18)(jm) (Entered:
                 02/06/2018)
02/05/2018   311 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Attorney Paul Grant dated 2/5/18 re: Requesting the unsealing of three
                 (3) Magistrate files..ENDORSEMENT: In light of the Court's Order on the Rule 33
                 motion denying the extension, this is denied as Moot. (Signed by Judge Katherine B.
                 Forrest on 2/5/18)(jm) (Entered: 02/06/2018)
02/09/2018   312 NOTICE OF ATTORNEY APPEARANCE Eun Young Choi appearing for USA.
                 (Choi, Eun Young) (Entered: 02/09/2018)
02/12/2018   313 FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant
                 dated February 12, 2018 re: That Three Items Be Added to the Public Docket .
                 Document filed by Ross William Ulbricht. (Grant, Paul) (Entered: 02/12/2018)
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02/13/2018   314 ORDER as to Ross William Ulbricht (1): The Court has received a letter motion dated
                 February 12, 2018, requesting that various documents and records be added to the
                 public docket. (ECF No. 313.) The Court notes that the record in this matter has long
                 been closed, and that the appeal to the Second Circuit is complete. The appeal to the
                 Supreme Court relies on the record as it was. In any event, this Court is particularly
                 careful to ensure that all matters generally publicly filed have been. While voir dire
                 transcripts are not routinely publicly filed, the Court GRANTS defendant's first
                 (unopposed) request to file the transcript of the in−court jury voir dire. The transcript
                 will be posted separately. As to defendants second and third requests, the Court notes
                 that there were numerous conferences (again, as fully reflected in transcripts on the
                 public docket) whereby every aspect of jury selection was placed fully before the
                 parties, discussed, and agreed to. The Juror Questionnaire was sent numerous times to
                 both the Government and the defendant for review and comment. The first page of the
                 questionnaire stated in all caps and bold that "All information contained in this
                 questionnaire will be kept confidential and under seal." Neither party noted any
                 objection. However, to dispel a misconception, the jury in this case was not
                 "anonymous." Counsel of record always had access to the names and addresses of the
                 full venire panel. Accordingly, defendants' second and third requests are DENIED. SO
                 ORDERED. (Signed by Judge Katherine B. Forrest on 2/13/2018) (lnl) (Entered:
                 02/13/2018)
02/13/2018   315 TRANSCRIPT of Proceedings as to Ross William Ulbricht re: Hearing held on
                 1/13/2015 before Judge Katherine B. Forrest. Court Reporter/Transcriber: Sabrina
                 D'Emidio, (914) 390−4053, Transcript may be viewed at the court public terminal or
                 purchased through the Court Reporter/Transcriber before the deadline for Release of
                 Transcript Restriction. After that date it may be obtained through PACER. Redaction
                 Request due 3/6/2018. Redacted Transcript Deadline set for 3/16/2018. Release of
                 Transcript Restriction set for 5/14/2018. (lnl) (Entered: 02/13/2018)
02/20/2018   316 FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant
                 dated February 20, 2018 re: 309 Endorsed Letter, Terminate Motions,,,,,,,, re:
                 Reconsideration . Document filed by Ross William Ulbricht. (Attachments: # 1
                 Affidavit)(Grant, Paul) (Entered: 02/20/2018)
02/20/2018   317 FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant
                 dated February 20, 2018 re: 310 Memo Endorsement, re: Reconsideration . Document
                 filed by Ross William Ulbricht. (Grant, Paul) (Entered: 02/20/2018)
02/20/2018   318 FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant
                 dated February 20, 2018 re: 310 Memo Endorsement, re: Rehearing . Document filed
                 by Ross William Ulbricht. (Attachments: # 1 Affidavit)(Grant, Paul) (Entered:
                 02/20/2018)
02/21/2018   319 MEMO ENDORSEMENT denying 316 FIRST LETTER MOTION filed by Ross
                 William Ulbricht (1), addressed to Judge Katherine B. Forrest from Attorney Paul
                 Grant dated February 20, 2018 re: 309 Endorsed Letter, Terminate Motions re:
                 Reconsideration. Petition for Rehearing Re Denial of Request for Extension of Time to
                 Submit Rule 33 Motion. ENDORSEMENT: Denied. (Signed by Judge Katherine B.
                 Forrest on 2/21/2018) (bw) (Entered: 02/21/2018)
02/21/2018   320 MEMO ENDORSEMENT as to Ross William Ulbricht (1) denying 318 FIRST
                 LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated
                 February 20, 2018 re: 310 Memo Endorsement, re: Rehearing. ENDORSEMENT:
                 Denied. Ordered. (Signed by Judge Katherine B. Forrest on 2/21/2018) (lnl) (Entered:
                 02/21/2018)
02/26/2018   321 ENDORSED LETTER as to Ross William Ulbricht addressed to Judge Katherine B.
                 Forrest from Attorney Paul Grant dated February 26, 2018 re: I am requesting an order
                 from the court to allow me to obtain copies of the sealed documents filed in the
                 above−referenced case. I have received only limited cooperation from prior counsel in
                 this case and I know that I have not been provided with copies of all of the sealed
                 documents. ENDORSEMENT: Work with the Government as appropriate to identify
                 specific documents. (Signed by Judge Katherine B. Forrest on 2/26/2018)(bw)
                 (Entered: 02/26/2018)
02/27/2018   322 LETTER by Ross William Ulbricht addressed to Judge Katherine B. Forrest from
                 Joshua L. Dratel dated February 27, 2018 re: Endorsement of February 26, 2018 Letter
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                  from Paul Grant, Esq. (Docket #321) (Dratel, Joshua) (Entered: 02/27/2018)
02/28/2018   323 ORDER as to Ross William Ulbricht: By letter dated February 26, 2018 (ECF No.
                 321), Paul Grant, counsel for defendant requested copies of the sealed documents filed
                 in this action. On February 27, 2018, former counsel for Mr. Ulbricht, Joshua Dratel,
                 wrote to the Court (ECF No. 322) indicating that he has already provided Mr. Grant
                 with copies of all the sealed (or ex parte or otherwise publicly unavailable) filings.
                 Accordingly, based upon Mr. Dratel's representation to the Court, Mr. Grant's request
                 at ECF No. 321 is DENIED. SO ORDERED. (Signed by Judge Katherine B. Forrest
                 on 2/28/2018) (lnl) (Entered: 02/28/2018)
03/01/2018   324 FIRST LETTER MOTION addressed to Judge Katherine B. Forrest from Paul Grant
                 dated March 1, 2018 re: 323 Order,, re: Reconsideration . Document filed by Ross
                 William Ulbricht. (Grant, Paul) (Entered: 03/01/2018)
03/01/2018   325 MEMO ENDORSEMENT as to Ross William Ulbricht on 324 FIRST LETTER
                 MOTION addressed to Judge Katherine B. Forrest from Paul Grant dated March 1,
                 2018 re: 323 Order, re: Reconsideration. ENDORSEMENT: Does the Government
                 know of any reason why this request for sealed records should not be granted.
                 Ordered. (Signed by Judge Katherine B. Forrest on 3/1/2018) (lnl) (Entered:
                 03/01/2018)
03/09/2018   326 NOTICE OF APPEAL by Ross William Ulbricht from 309 Endorsed Letter,
                 Terminate Motions, 319 Order on Letter Motion,. Filing fee $ 505.00, receipt number
                 465401203974. (nd) (Entered: 03/12/2018)
03/12/2018        Transmission of Notice of Appeal and Certified Copy of Docket Sheet as to Ross
                  William Ulbricht to US Court of Appeals re: 326 Notice of Appeal. (nd) (Entered:
                  03/12/2018)
03/12/2018        Appeal Record Sent to USCA (Electronic File). Certified Indexed record on Appeal
                  Electronic Files as to Ross William Ulbricht re: 326 Notice of Appeal were transmitted
                  to the U.S. Court of Appeals. (nd) (Entered: 03/12/2018)
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                                         PAUL GRANT
                                   LAW OFFICE OF PAUL GRANT
                                         P.O. Box 2720
                                        Parker CO 80134
                                          303-909-6133
February 5, 2018

BY ECF
Hon. Katherine B. Forrest
United States District Judge
United States District Court
500 Pearl Street
New York NY 10007

Re:    United States v. Ross William Ulbricht, et al, 14 Cr. 68 (KBF)
       Request for Extension of Time to Submit Rule 33 Motion

Dear Judge Forrest:

       I write on behalf of Defendant Ross Ulbricht to request an extension of time through and
including May 7, 2018, in which to submit his Rule 33 Motion for a New Trial Based on Newly
Discovered Evidence. I have contacted the government about this request and AUSA Eun Young
Choi advised that the government will not oppose this request.

        Mr. Ulbricht was tried in this court and on February 4, 2015, his jury brought back guilty
verdicts on all charges in the indictment. The deadline for filing his Rule 33 motion is 3 years
from the date of those verdicts, which means his motion is due to be filed on or before February
5, 2018. Rule 33(b), Fed.R.Crim.P.; Rule 45(a)(1)(C), Fed.R.Crim.P.

       Mr. Ulbricht submitted his petition for writ of certiorari to the Supreme Court on
December 22, 2017, and his case was docketed on January 4, 2018. That action does not extend
the deadline for filing his Rule 33 motion.

      Mr. Ulbricht is requesting an extension of his filing deadline until and including May 7,
2018. This extension is made necessary for the following reasons:

       1. Undersigned counsel has yet to receive the complete client file from prior trial and
appellate counsel, Joshua Dratel and Lindsay Lewis. Counsel has made every effort to persuade
Mr. Dratel and Ms. Lewis to collect Mr. Ulbricht’s complete client file, and send it to
undersigned counsel. See generally the Declaration of Paul Grant in Support of Request for
Extension of time to Submit Rule 33 Motion for New Trial, which declaration is filed herewith.

        After nearly 8 months of continuous efforts by undersigned counsel to obtain the client
file from Mr. Dratel, Ms. Lewis advised me [for the first time], on January 22, 2018, that Mr.


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Dratel still retains a file cabinet full of Mr. Ulbricht’s case materials, which they will release to
me only if Mr. Ulbricht, undersigned counsel, or someone will pay them for their time to gather
together the file materials, search their email records to find relevant emails, produce a copy of
client file materials for them to retain, and ship the remaining client file materials to Paul Grant.
Declaration of Paul Grant In Support of Request for Extension of Time, par. 3-15.

        Undersigned counsel cannot distinguish what may be newly discovered evidence from
evidence that was available to trial counsel, without the complete client file. Counsel can’t
distinguish among what might be discovery violations by the government, strategic decisions by
defense counsel, or neglect of issues by trial counsel, without the complete client file.

         Counsel can’t adequately represent Mr. Ulbricht in Rule 33 or in other post-conviction
matters, such as an investigation into possible 28 U.S.C. § 2255 claims, without the complete
client file. Counsel’s efforts to find newly discovered evidence and to provide competent
representation to Mr. Ulbricht are being hindered by the refusal and failure of trial and appellate
counsel Dratel to collect and transmit the entire client file to undersigned counsel.

        2. Counsel has requested data from the USAO relating to the pen-trap orders and data
collection used in this case. The USAO advised (in November 2017) that they were searching for
these records in FBI files. The USAO advised that they found it difficult to locate the files, given
that the lead agents involved in the investigation no longer work for the FBI.

       The USAO advised undersigned counsel on Friday, February 2, 2018, that they had
located some pertinent files, files containing pen register and trap and trace data collection
(“PRTT files”), and that they will be sending that data to undersigned counsel on a disk.
Undersigned counsel has also requested those files and FBI surveillance files through a FOIA
request sent to the FBI, but the FBI has recently said that some of the records being sought are in
the control of the Executive Office for United States Attorneys. It isn’t clear at this time whether
the FOIA request will produce any records.

         The requested PRTT files are material to determining whether Mr. Ulbricht has grounds
for filing a Rule 33 motion. The affidavits in support of the laptop search warrant and the
residence search warrant that were obtained during the course of the Silk Road investigation, both
relied upon evidence allegedly collected pursuant to the pen-trap orders. Only the results from
one pen-trap data collection were provided to the defense prior to trial. Undersigned counsel has
requested from the USAO in the SDNY the files containing the data collected pursuant to four
other pen-trap orders, the orders identified by magistrate case numbers as 13 MAG 2228, a Sealed
Order for the Secret Service directed to Comcast, 13 MAG 2258 (the 9.19.13 wireless router pen
for FBI), 13 MAG 2274 (9.20.13.Router Pen for FBI), and 13 MAG 2275 (9.20.13.MAC Address
Pen for FBI).

      It is not yet clear if those PRTT files are the files now being produced to the defense by
the AUSA. Mr. Ulbricht will need expert assistance and an unknown length of time to examine


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what are expected to be gigabytes of data.

        Defendant Ulbricht did make a written discovery request to the government before trial
for any and all data obtained from pen registers judicially authorized in this case. Doc 70-3, Par.
13, p. 3, 9/17/2014 letter from Joshua Dratel to AUSAs Serrin Turner and Timothy T. Howard.
That request was for data material to preparation of the defense.

        In response to Ulbricht’s request for discovery of any and all data obtained from pen
registers judicially authorized in this case, the government responded [somewhat ambiguously]:

        The Government has provided all available pen register data used to detect Ulbricht’s
email and Internet activity in September 2013, as well as pen register data received from
Icelandic law enforcement authorities concerning the SR Server and the server described in the
Tarbell Declaration as Server-1. To the extent any other pen register information was obtained
in the course of the investigation, the Government objects to this request on the ground that such
information is not material to the defense or otherwise required to be produced under Rule 16.
See Doc 70-4 at p. 5, 9/23/2014 letter from AUSA Serrin Turner to Joshua Dratel.

        The government’s response is artfully or inadvertently worded to avoid revealing whether
the data used to detect Ulbricht’s internet activity was available and whether it was or was not
provided, and, at the same time, the government said that if any other data was not available, then
it wasn’t material and they were not required to produce it. It isn’t clear from the response
whether the government was saying that the data used to detect Ulbricht’s internet activity in
September 2013 was provided, or whether it was no longer available.

        The government only produced to the defense the data resulting from one pen register,
data in a file called 9.17.13 ISP Pen (Comcast). That pen register was authorized by the
magistrate in Case No. 13 MAG 2236, and that order required data collection assistance from
Comcast. That order did not authorize the collection of MAC addresses and did not authorize
collection of routing data involving any data transmitted from or to any device identified by a
MAC address.

        Four other pen-trap orders were obtained. No data was ever produced in discovery for any
of those four orders, yet the laptop search warrant cites the results from two of those orders,
orders which did authorize the collection of MAC addresses, and which did authorize collection
of data transmitted to or from devices associated with certain MAC addresses. Those two orders
were obtained by AUSA Serrin Turner on 9/20/2013, in cases numbered 13 MAG 2274 and 13
MAG 2275.

       If the data collected as a result of those two pen-trap orders was important enough to
include in the laptop and residence search warrant affidavits, and important enough to include in
Tarbell’s declaration as to what data was and was not collected, then the data was material to
preparation of the defense and it should have been provided to the defense. By law, that data,


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along with descriptions of methods and equipment that law enforcement employed in the data
collection, were required to be filed under seal with the court which authorized the orders. That
data and those descriptions should be there still, available for review by Mr. Ulbricht. Mr.
Ulbricht is today requesting access to those files, by separate motion.

        Because three of the pen-trap orders authorized law enforcement (the FBI) to use their
own data collection hardware and software, without third party involvement, the FBI was
required to file in each of the three case files (13 MAG 2258, 13 MAG 2274, 13 MAG 2275)
authorizing pen-trap data collection, a record which will identify (i) any officer or officers who
installed the device and any officer or officers who accessed the device to obtain information
from the network; (ii) the date and time the device was installed, the date and time the device was
uninstalled, and the date, time, and duration of each time the device is accessed to obtain
information; (iii) the configuration of the device at the time of its installation and any subsequent
modification thereof; and (iv) any information which has been collected by the device. 18 U.S.C.
§ 3123. The record to be maintained must be provided ex parte and under seal to the court which
authorized the installation and use of the device within 30 days after termination of the order. Id.

        The government has never produced the data collected pursuant to four of the five pen-
trap orders, yet argued before trial against suppression of evidence obtained from the pen
registers on the basis of the government’s representation as to what each of the pen registers did
and did not collect. If the government lacked the data, the arguments based on the knowledge of a
government attorney were made in bad faith. If the government had the data, but did not produce
it upon request, and misrepresented what it contained in argument to the court, that would be a
serious problem. If the government had the data but did not produce it, that alone would
constitute a serious discovery violation.

        The government stated that the pen registers were used to establish when Ulbricht logged
onto and off of the internet, in support of their argument that the search warrant applications to
search for information to allow comparison with online activity were reasonable requests seeking
relevant information, referencing Tarbell Dec. Ex. M., par. 33-41. See Doc. 56 at 29.

         There is new information which has recently become available that reveals the FBI used
electronic surveillance to track the movement and determine the precise location of Mr. Ulbricht
in his residence as part of its pen register data collection, and to determine when he logged in and
out on his laptop, while Ulbricht was in his residence. This information is revealed in the book
American Kingpin, a book published in May 2017, long after the trial was concluded.

       According to the author, Nick Bilton, his accounts are based, in part, on more than 250
hours spent with federal agents involved in the investigation, including FBI special agents
[Tarbell and Kiernan], and including Homeland Security special agent Jared Der-Yeghiayan.
Bilton’s account of FBI surveillance correctly places Tarbell, Der-Yeghiayan, and Kiernan on site
outside Ulbricht’s residence, a short time before Ulbricht’s arrest. He describes the actions and
observations of these agents.


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       Bilton describes the FBI surveillance of Ulbricht in his residence:

 “Jared [Der-Yeghiayan], Thom [Thomas Kiernan], and Brophy stood in front of the café near
Ross’ house, listening to Tarbell . . . They knew that Ross was at home because the FBI had an
undercover SUV circling his block and monitoring the Wi-Fi traffic (this is pen register and trap
and trace activity). The system they were using (which should be described in the magistrates’
files) would check the signal strength of the Wi-Fi on his computer and then, by triangulating that
data from three different points they had captured as they drove around the block, they were able
to figure out Ross’s exact location, which at this very moment was his bedroom, on the third floor
of his Monterey Boulevard apartment.” Bilton at 331.

                                            CONCLUSION
        The description of methods, hardware and configuration used by the FBI to gather pen-
trap data, as well as the data itself, were all essential and material to preparation of the defense
and should have been provided before the trial.

        Undersigned counsel will need to obtain and then review (1) all of the remaining client
file materials from Joshua Dratel, (2) the new PRTT data promised by the prosecutor, and (3)
material from the now sealed magistrate files, to see if these materials will provide the basis for a
Rule 33 motion, i.e., whether newly discovered evidence will show that a new trial is required.

        It is clear from the facts presented that Mr. Ulbricht has diligently pursued the collection
of evidence and of his file materials in his investigation into the basis for a Rule 33 motion. He
has a good faith basis for believing that investigation into the surveillance of him while within his
residence, and investigation into the missing pen register data, will provide him with information
that can provide the bases for a successful Rule 33 motion.

        Mr. Ulbricht is serving a life sentence and justice requires that he be afforded the
opportunity to research and present his motion for a new trial. Mr. Ulbricht therefore
respectfully requests, pursuant to Rule 45(b)(1)(A), Fed.R.Crim.P., and for good cause shown,
that he be allowed an extension of time until and including May 7, 2018, in which to submit his
Rule 33 motion.

         Mr. Ulbricht is incarcerated and has no ability to pay Mr. Dratel for the costs to search for,
gather together, and reproduce his client file, or to pay the costs for shipping the file to current
counsel. Mr. Dratel is harming Mr. Ulbricht by holding onto portions of the client file until Mr.
Ulbricht or undersigned counsel or someone pays him for collecting and transferring the complete
client file.

       For the reasons stated above, Mr. Ulbricht further requests that the court order
Joshua L. Dratel, of the law firm Joshua L. Dratel, P.C., to collect and transfer to Paul
Grant, of the Law Office of Paul Grant, on or before February 23, 2018, all of Mr.
Ulbricht’s client file, which file includes both trial court and appellate work performed for Mr.


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Ulbricht, including all electronic documents in Ulbricht’s file, all email communications in his
possession or control which involve work on Ulbricht’s cases, all paper documents in his file, and
all sealed documents filed in Ulbricht’s cases, with Joshua L. Dratel bearing all the costs
associated with gathering the client file and transferring it to Mr. Grant.

Respectfully submitted,

/s/ Paul Grant
Paul Grant
Counsel for Ross William Ulbricht

cc: Eun Young Choi (by ECF)
    Assistant United States Attorney




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                                         PAUL GRANT
                                   LAW OFFICE OF PAUL GRANT
                                          P.O. Box 2720
                                        Parker CO 80134
                                          303-909-6133
February 5, 2018

BY ECF
Hon. Katherine B. Forrest
United States District Judge
United States District Court
500 Pearl Street
New York NY 10007

Re:    United States v. Ross William Ulbricht, et al, 14 Cr. 68 (KBF)
       Request to Partially Unseal and Make Available to Counsel and Defendant Three
       Magistrate’s Files

Dear Judge Forrest:

        I write on behalf of Defendant Ross Ulbricht to request that three SDNY magistrate’s
files (13 MAG 2258, 13 MAG 2274, 13 MAG 2275) be partially unsealed and that the entire
contents of those files be made available to counsel for the parties and to Mr. Ulbricht, for
examination and review and use in this case. I have contacted the government about this
request, and AUSA Eun Young Choi advises the government will oppose this request.

        As the court may recall from pre-trial suppression proceedings, the government obtained
five pen-trap orders authorizing the pen register and trap and trace collection of data sent to and
from Ulbricht’s router or to and from a device (assumed to be Ulbricht’s computer) associated
with a particular MAC address, including: 13 MAG 22, a Sealed Order for the Secret Service,
directed to Comcast to provide assistance; 13 MAG 2228, a Sealed Order for the Secret Service,
directed to Comcast to provide assistance; 13 MAG 2258 (the 9.19.13 wireless router pen for
FBI); 13 MAG 2274 ((9.20.13.Router Pen for FBI); and 13 MAG 2275 (9.20.13.MAC Address
Pen for FBI). Doc. 48, Memorandum of Law in Support of Defendant Ross Ulbricht’s Pre-Trial
Motions to Suppress Evidence . . ., at pages 37 -39 (page numbers in original document).

       The latter three orders, each of which is directed to the FBI (the “three FBI pen-trap
orders”), were issued in the three sealed magistrate’s files (13 MAG 2258, 13 MAG 2274, 13
MAG 2275) which Mr. Ulbricht now wishes to examine.

       Mr. Ulbricht argued in his motion to dismiss that the data collection resulting from the
five pen-trap orders must be suppressed because this data collection required search warrants
based on probable cause, and because the orders failed to adhere to statutory limitations. See

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Doc. 48, Memorandum of Law in Support of Defendant Ross Ulbricht’s Pre-Trial Motions to
Suppress . . ., at page 37. Mr. Ulbricht’s pre-trial Motion to Suppress was hampered by the fact
that the government had not disclosed the pen-trap data it had (allegedly) collected. Because the
government failed to disclose all of the pen-trap data, Mr. Ulbricht could only attack the scope of
the pen-trap orders, i.e., what they authorized. Mr. Ulbricht was not able to separately attack, for
example, whether the government’s collection actually complied with the statute and with the
terms of the pen-trap orders.

         In a pre-trial discovery request, Mr. Ulbricht had requested from the government any and
all data obtained from pen registers judicially authorized in this case. Doc 70-3, par. 13, p. 3,
letter from J. Dratel to AUSA S. Turner, et al.

       The government responded to that defense discovery request:

The Government has provided all available pen register data used to detect Ulbricht’s
email and Internet activity in September 2013, as well as pen register data received from
Icelandic law enforcement authorities concerning the SR Server and the server described in the
Tarbell Declaration as Server-1. To the extent any other pen register information was obtained
in the course of the investigation, the Government objects to this request on the ground that such
information is not material to the defense or otherwise required to be produced under Rule 16.
See Doc 70-4 at p. 5, 9/23/2014 letter from AUSA Serrin Turner to Joshua Dratel.

        In this response to the defense discovery request, the government stated that it had
provided all available pen register data used to detect Ulbricht’s email and internet activity in
September 2013, but the government did not state that it had actually produced anything, or if it
did, what other data was not available. That appears to have been a false or at best ambiguous
statement unless some of the relevant collected data was then unavailable, because the
government did not, in fact, provide the pen-trap data referred to in the laptop search warrant
affidavit. See below.

        The only pen-trap data provided to the defense before trial was data that appears to have
resulted from collection authorized in the 9/17/2013 Pen Trap Order in Case No. 13 MAG 2236.
Declaration of Paul Grant In Support of Partial Unsealing, at par. 5-7. That order authorized a
trap and trace device to identify the IP address of internet communications directed to, and a pen
register to determine the destination IP addresses of, any Internet communications originating
from the “Target Account,” referring to a Comcast account.

        Mr. Ulbricht has still not received the data resulting from the three FBI pen-trap orders
identified above. The government relied on the data supposedly obtained from those pen-trap
orders, to monitor Ulbricht’s online activity, to correlate his activity to that of DPR, and to
establish, in the minds of investigators, that Ulbricht was DPR. Those are the facts testified to in
the laptop search warrant affidavit, facts used to establish probable cause for the laptop search
warrant to issue.

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       In the laptop search warrant affidavit, the affiant, Christopher W. Tarbell, FBI Special
Agent, testified, in relevant part:

       5. . . . The computer contains a network adapter assigned the MAC address 88-53-
       2E-9C-81-96.

                               PROBABLE CAUSE
                                  OVERVIEW
                  IDENTIFICATION OF “DREAD PIRATE ROBERTS”
                          AS ROSS WILLIAM ULBRICHT
                   ULBRICHT’S USE OF THE SUBJECT COMPUTER
       ...

       35. On September 20, 2013, the Government obtained a judicial order
       authorizing the FBI to use a pen register/trap and trace device . . . Data obtained
       from the Wireless Router Pen-Trap the same day showed a computer with the
       MAC address 88-53-2E-9C-81-96 - that is, the SUBJECT COMPUTER -
       regularly accessing the router.

       36. Based on my training and experience . . . I determined that the manufacturer
       associated with the MAC address of the subject computer produces network cards
       for computers running the Windows operating system. The Subject Computer is
       the only Windows-based computer that has been detected from the Wireless
       Routing Pen . . .

       39. On September 20, 2013, the FBI collected data from the Wireless Router
       Pen-Trap over the course of several hours, which showed the SUBJECT
       COMPUTER logging on and off the wireless router at the Subject Residence at
       the same time that DPR logged on and off of Pidgin.

       40. On September 20, 2013, the Government obtained a judicial order
       authorizing the FBI to use a pen register/trap and trace device . . . to collect
       routing data . . .

       41. This surveillance yielded the following results:
              a. At approximately 11:15 a.m., PDT, pen register data from the Subject
       Computer Pen-Trap showed the Subject Computer logging onto the internet at the
       Subject Residence . . .

       42. Based on the foregoing, I respectfully submit there is probable cause to
       believe that Ulbricht uses the SUBJECT COMPUTER and that he specifically
       uses it in connection with his operation of Silk Road.


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Excerpts from Laptop Search Warrant.

       Paragraphs 35, 39, and 41 refer to the FBI pen-trap orders, from which no data has ever
been produced to the defense. Paragraph 42 in the affidavit shows the government relied on the
pen-trap data described above, data resulting from the three FBI pen-trap orders, to establish
probable cause to obtain the laptop search warrant.

       The data collected pursuant to the three FBI pen-trap orders should be contained in the 3
magistrate’s files (13 MAG 2258, 13 MAG 2274, 13 MAG 2275). See 18 U.S.C. § 3123. Mr.
Ulbricht is requesting the magistrates’ files be partially unsealed and the contents made available
to counsel for both parties and to the defendant, because these files should contain the following
material and discoverable information:

a record which will identify (I) any officer or officers who installed the device and any officer or
officers who accessed the device to obtain information from the network; (ii) the date and time
the device was installed, the date and time the device was uninstalled, and the date, time, and
duration of each time the device is accessed to obtain information; (iii) the configuration of the
device at the time of its installation and any subsequent modification thereof; and (iv) any
information which has been collected by the device. 18 U.S.C. § 3123. “The record to be
maintained must be provided ex parte and under seal to the court which authorized the
installation and use of the device within 30 days after termination of the order.” Id.

        Mr. Ulbricht is entitled to examine the contents of the three magistrate files, to see if
what the government claimed to have collected was collected, and to see how the data was
collected. To withhold that data now would be unconscionable. That information was material
to preparation by the defense, was in the possession of the FBI, both before and after the
deadline by which the law required it to have been filed with the magistrates, and it should have
been disclosed to the defense prior to trial. Rule 16(a)(1)(E)(I), Fed.R.Crim.P. The government
told the court that these pen registers were not used to geo-locate Mr. Ulbricht - apparently
without having access to the data collected pursuant to the three FBI pen-trap orders. Doc. 57,
Tarbell Declaration at Page 9 of 10, par. 21. These files should help address that issue.

        The government has never produced the data collected pursuant to four out of the five
pen-trap orders, yet argued before trial against suppression of evidence obtained from the pen
registers on the basis of the government’s representation as to what each of the pen registers did
and did not collect. If the government did not have the data, then providing the court with
statements from the affidavit of an FBI special agent who should have provided them with the
data itself, was incautious. If the government had the data, but did not produce it upon request,
and misrepresented what the data contained in argument to the court, that would be a serious
problem; if the government had the data but simply did not produce it, that would constitute a
serious discovery violation.

       The government stated that the pen registers were used to establish when Ulbricht logged

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onto and off of the internet, in defending the search warrant, in support of their argument that the
search warrant applications to search for information to allow comparison with online activity
were reasonable requests seeking relevant information, referencing Tarbell Decl. Ex. M., par.
33-41. See Doc. 56 at 29.

        Mr. Ulbricht has discovered new information, information which has just recently
become available, that reveals that the government did use electronic surveillance to track his
location, at the very same time, and as part of, its pen register data collection. The government
apparently used its WiFi sniffing and tracking surveillance (as part of the pen-trap data
collection) to track and determine Ulbricht’s precise location, and to determine when he logged
in and out on his laptop, while Ulbricht was in his residence. This information is provided in the
the book titled American Kingpin, a book published in May 2017, long after the trial was
concluded.

        According to the author, Nick Bilton, his accounts are based, in part, on more than 250
hours spent with federal agents involved in the investigation, including FBI special agents
[Tarbell and Kiernan], and including Homeland Security special agent Jared Der-Yeghiayan.
Bilton’s account of FBI surveillance correctly places Tarbell, Der-Yeghiayan, and Kiernan on
site outside Ulbricht’s residence, a short time before Ulbricht’s arrest. He describes the actions
and observations of these agents, in considerable detail and in credible terms, in a manner
consistent with material previously disclosed by the government.

       Bilton describes the FBI surveillance of Ulbricht in his residence:

 “Jared [Der-Yeghiayan], Thom [Thomas Kiernan], and Brophy stood in front of the café near
Ross’ house, listening to Tarbell . . . They knew that Ross was at home because the FBI had an
undercover SUV circling his block and monitoring the Wi-Fi traffic (this is pen register and trap
and trace activity). The system they were using (which should be described in the magistrates’
files) would check the signal strength of the Wi-Fi on his computer and then, by triangulating
that data from three different points they had captured as they drove around the block, they were
able to figure out Ross’s exact location, which at this very moment was his bedroom, on the third
floor of his Monterey Boulevard apartment.” Bilton at 331.

        Under Federal Rule of Criminal Procedure 16(a)(1)(E), the government is required to
produce documents or data “if the item is within the government’s possession, custody, or
control and . . . the item is material to preparing the defense.” Rule 16(a)(1)(E) permits
discovery related to the constitutionality of a search or seizure. U.S. v. Hector Soto-Zuniga, 837
F.3d 992, 1003 (9th Cir. 2016). Materiality is a " low threshold; it is satisfied so long as the
information . . . would have helped" to prepare a defense. Id., quoting United States v.
Hernandez-Meza, 720 F.3d 760, 768 (9th Cir. 2013).

       The defendant was entitled to rely on the government’s statement that it had provided all
available pen-trap data related to monitoring Ulbricht’s internet activity, and on the statement

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that any other pen-trap data it may have was not material and not subject to production. See
United States v. Lee, 573 F.3d 155, 161 (3d Cir. 2009).

        It appears the government may now have the PRTT data that the FBI collected in
September 2013 pursuant to the three FBI pen-trap orders. Declaration of Paul Grant In Support
of Partial Unsealing, par. 10. Any relevant PRTT data the FBI had collected in 2013 was
required by statute to have been placed in the three magistrate’s files. That PRTT data in the
magistrate’s files may well be more extensive than the new PRTT data (or may not even include
the same data) that the government is now prepared to disclose, and is data that would have been
in possession of the FBI pre-trial in 2014, when the defense requested it. Any and all such data
should have been provided to the defense prior to trial. That data was material and relevant to
preparing the defense, particularly because the pen-traps were directly at issue.

        The prosecutor is obligated to disclose to the defendant evidence which is favorable to
the defense and suppression of the evidence which is material to either guilt or punishment,
violates due process, regardless of the good faith or the bad faith of the prosecutor. Brady v.
Maryland, 373 U.S. 83, 86-88. (1963). Brady itself is a case involving a post-conviction claim of
newly discovered evidence. See Id., at 85. “Society wins not only when the guilty are convicted
but when criminal trials are fair; our system of the administration of justice suffers when any
accused is treated unfairly.” Id., at 88.

        It is clear that the government did not produce in discovery prior to trial the data that is,
or should be, in the three magistrate’s files; it appears that the government violated its disclosure
obligations under Rule 16 and under Brady, and the defense has reason to believe that the
evidence it failed to disclose will prove to be exculpatory.

       Mr. Ulbricht was unable to review the data before trial, the pen-trap data upon which the
government relied to establish probable cause for issuance of both the laptop and residence
search warrants. Mr. Ulbricht was, therefore, denied his due process right to effectively
challenge the constitutionality of the laptop and residence search warrants. The best way to
begin to remedy that violation now, is to allow Mr. Ulbricht to access the data that the
government improperly withheld prior to trial, PRTT data which by law should be located in the
three magistrate’s files.

        PRTT evidence withheld in violation of Rule 16 discovery obligations or in violation of
Brady obligations before trial, will be newly discovered evidence now. Mr. Ulbricht requires
access to the material in the three magistrate’s files, to determine whether that data is newly
discovered evidence which will support his Rule 33 Motion for a New Trial.

         The prosecutor should join in this motion, not oppose it. “The United States Attorney is
the representative . . . of a sovereign whose obligation to govern impartially is as compelling as
its obligation to govern at all; and whose interest, therefore, in a criminal prosecution is not that
it shall win a case, but that justice shall be done.” Berger v. United States, 295 U.S. 78, 88

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(1935). Prosecutors have an ethical duty to reveal exculpatory evidence obtained after
conviction. See ABA Model Rules of Professional Conduct, Rule 3.8(g) (2012). If the
prosecutor opposes this motion, as they have stated they will, they will be supporting their own
improper withholding of evidence prior to trial, and they will be supporting the misleading or
misinformed statements they made to the defendant and the court.

         Post-conviction judicial decisions should be made with the sole purpose of insuring
justice. See Imbler v. Poachtman, 424 U.S. 409, 428 (1976). Mr. Ulbricht is serving a sentence
to life without parole and under such dire circumstances, justice requires that this court order that
the contents of the sealed magistrate’s files be made available to counsel for both parties and to
the defendant.

         WHEREFORE, for all the reasons provided above, and in the interests of justice, Mr.
Ulbricht requests that the court order the partial unsealing of three magistrate’s files, namely
files identified as 13 MAG 2258, 13 MAG 2274, 13 MAG 2275, and that the contents of those
three files be made available for examination and review, to counsel for both parties and to the
defendant. Mr. Ulbricht also requests such additional relief as the court finds to be just and
equitable.

Respectfully submitted,

/s/ Paul Grant
Paul Grant
Counsel for Ross William Ulbricht

cc: Eun Young Choi (by ECF)
    Assistant United States Attorney




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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York


                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007




                                                       September 23, 2014




By E-mail
Joshua L. Dratel, Esq.
2 Wall Street, 3rd Floor
New York, NY 10005


               Re:     United States v. Ross William Ulbricht, 14 Cr. 68 (KBF)


Dear Mr. Dratel:

        The Government is in receipt of your discovery requests dated September 17, 2014 (the
“September 17 Requests”). As set forth below, the Government objects to the September 17
Requests to the extent they concern the defendant’s pending motion for suppression of the
contents of the server that hosted the Silk Road website (the “SR Server”). The defense has
failed to set forth any valid legal basis for its suppression motion that would support any
corresponding discovery requests. Further, the Government objects to the discovery requests to
the extent they call for the Government to search for material not in the possession of the
prosecution team. Notwithstanding these objections, the Government is producing herewith
certain material and information responsive to your requests in the interest of minimizing
additional motion practice.

A.     Objections

       1.      Materiality

        Federal Rule of Criminal Procedure 16(a)(1) outlines the items subject to disclosure
during criminal discovery. Such items include, inter alia, “papers, documents, data,
photographs, tangible objects . . . or copies or portions of any of these items, if the item is within
the government’s possession, custody, or control and the item is material to preparing the
defense . . . .” Fed. R. Crim. P. 16(a)(1)(E). In the context of this Rule, an item is “material”
only if it “could be used to counter the government’s case or to bolster a defense.” United States
v. Stevens, 985 F.2d 1175, 1180 (2d Cir.1993) (internal citations omitted). “Defense” means “the
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defendant’s response to the Government’s case in chief,” encompassing only items “which refute
the Government’s arguments that the defendant committed the crime charged.” United States v.
Armstrong, 517 U.S. 456, 462 (1996) (interpreting predecessor to Fed. R.Crim. P. 16(a)(1)(E)).

        “It is defendant’s burden to [show] that the documents sought are material to preparing
his defense.” United States v. Giffen, 379 F.Supp.2d 337, 342 (S.D.N.Y.2004) (citation omitted).
“Materiality means more than that the evidence in question bears some abstract logical
relationship to the issues in the case. There must be some indication that the pretrial disclosure of
the disputed evidence would have enabled the defendant significantly to alter the quantum of
proof in his favor.” Id. (internal quotation marks omitted). A showing of materiality cannot be
made through conjecture or conclusory allegations. Id. Moreover, evidence is not material
merely because it might be “‘useful’ in order [for a defendant] to meet [his] burden under Rule
16(a)(1)(E)” to obtain further discovery. United States v. Rigas, 258 F.Supp.2d 299, 307
(S.D.N.Y. 2003). In short, in contrast to civil discovery, criminal discovery is not exploratory.
Only if a defendant can show at the outset how the requested materials will advance his defense
to the Government’s case-in-chief is he entitled to their disclosure.

        In light of these basic legal principles, the Government objects to the September 17
Requests as a general matter on the ground that no adequate explanation has been provided as to
how the requested items are material to the defense. Most of the requests appear to concern how
the Government was able to locate and search the SR Server. Yet the Government has already
explained why, for a number of reasons, there is no basis to suppress the contents of the SR
Server: (1) Ulbricht has not claimed any possessory or property interest in the SR Server as
required to establish standing for any motion to suppress; (2) the SR Server was searched by
foreign law enforcement authorities to whom the Fourth Amendment does not apply in the first
instance; (3) even if the Fourth Amendment were applicable, its warrant requirement would not
apply given that the SR Server was located overseas; and (4) the search was reasonable, given
that the FBI had reason to believe that the SR Server hosted the Silk Road website and,
moreover, Ulbricht lacked any expectation of privacy in the SR Server under the terms of service
pursuant to which he leased the server.

        Particularly given these circumstances, it is the defendant’s burden to explain how the
contents of the SR Server were supposedly obtained in violation of the defendant’s Fourth
Amendment rights and how the defendant’s discovery requests are likely to vindicate that claim.
The defense has failed to do so, and the Government is unaware of any evidence – including any
information responsive to the defense’s discovery requests – that would support any viable
Fourth Amendment challenge. Instead, the defense’s discovery requests continue to be based on
mere conjecture, which is neither a proper basis for discovery nor a proper basis for a
suppression hearing. See United States v. Persico, 447 F. Supp. 2d 213, 217 (E.D.N.Y. 2006)
(“basing discovery requests on nothing more than mere conjecture” is a “non-starter”); United
States v. Seijo, No. 02 Cr. 1415, 2003 WL 21035245, at *4 (S.D.N.Y. May 7, 2003) (“A
defendant seeking the suppression of evidence is not automatically entitled to an evidentiary
hearing on his claim; rather, the defendant must first ‘state sufficient facts which, if proven,
would [require] the granting of the relief requested.’”) (quoting United States v. Kornblau, 586
F.Supp. 614, 621 (S.D.N.Y.1984)). In the absence of any cognizable legal basis for the



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defendant’s suppression motion, the Government does not believe the defense is entitled to any
discovery with respect to the motion.

       2.      Prosecution Team

        The Government also objects to the unbounded definition of the term “government” set
forth in the September 17 Requests. Specifically, the requests ask the prosecution to search for
information within “not only the United States Attorney’s Office for the Southern District of
New York, but also the Offices in all other Districts, any and all government entities and law
enforcement agencies, including but not limited to the Federal Bureau of Investigation, Central
Intelligence Agency, Drug Enforcement Administration, Immigration and Customs Enforcement
Homeland Security Investigations, National Security Agency, and any foreign government
and/or intelligence agencies, particularly those with which the U.S. has a cooperative intelligence
gathering relationship, i.e., Government Communications Headquarters (“GCHQ”), the British
counterpart to the NSA.”

        Even in the Brady context, the law is clear that a prosecutor has a duty to learn only of
“evidence known to . . . others acting on the government’s behalf in the case.” Kyles v. Whitley,
514 U.S. 419, 437 (1995); see United States v. Payne, 63 F.3d 1200, 1208 (2d Cir. 1995). The
imposition of an unlimited duty on a prosecutor to inquire of other offices and agencies not
working with the prosecutor’s office on the case in question would inappropriately reflect a
“monolithic view of government that would “condemn the prosecution of criminal cases to a
state of paralysis.” United States v. Gambino, 835 F. Supp. 74, 95 (E.D.N.Y. 1993), aff’d, 59
F.3d 353 (2d Cir. 1995). Accordingly, the Second Circuit and courts within it have repeatedly
concluded that the prosecution team cannot be deemed to have constructive knowledge of
evidence possessed by other government agencies not involved in its investigation of the
defendant. See, e.g., United States v. Avellino, 136 F.3d 249, 256 (refusing to impute to federal
prosecutor information gathered in state investigation); Pina v. Henderson, 752 F.2d 47, 49-50
(2d Cir. 1985) (concluding prosecution did not have constructive knowledge of information
relayed to parole officer); United States v. Stofsky, 527 F.2d 237, 243-44 (2d Cir. 1975) (no
imputation of witness’s tax information held by the IRS); United States v. Canniff, 521 F.2d 565,
573-74 (2d Cir. 1975) (no imputation of information in witness’s Pre-Sentence Report that was
not in the government’s possession); United States v. Chalmers, 410 F. Supp. 2d 278, 289-90
(S.D.N.Y. 2006) (refusing to impute evidence in custody of federal agencies that did independent
investigation of United Nations Oil-For-Food program to prosecution team).

B.     Responses

       Without waiving the objections set forth above, in the interest of minimizing any
additional motion practice, the Government hereby provides the following responses to the
September 17 Requests, based on the information available to the prosecution team:

1.     The MD5 hash value of the device mapper for the partition sda4_crypt as well as the
       MD5 hash of the RAW (.dd) image of the partition, both of which should have
       been generated, when the following command was issued (according to the bash
       history attributable to the FBI): 2175 date ; md5sum /dev/mapper/sda4_crypt >

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       /media/sv_13_0210/evidence/l1c1_sda4_crypt/sd4_md5.txt ; date ; md5sum
       /media/sv_13_0210/evidence/l1c1_sda4_crypt/sda4_crypt.dd >
       /media/sv_13_0210/evidence/l1c1_sda4_crypt/sda4_crypt.dd.md5.txt.

       The commands referenced were unsuccessful and did not return an MD5 hash. The
Government is not in possession of an MD5 value with regard to the “device mapper for partition
sda4_crypt.” After the image was completed, an MD5 value was created for the raw .dd image.
The hash value returned was 1e610e4a5f28b3d01bb8efd835ef0fed.

2.     Any and all logs of communications between the front-end and back-end Silk Road
       Servers.

       If by “front-end” server you mean the server hosting the Silk Road hidden service and
“back-end” server you mean the server hosting the Silk Road website, then the Government is
not aware of logs of communications between the two other than any logs included on the
images of the servers already provided to you in discovery.

3.     Any and all traffic and communication logs for the Icelandic server assigned IP
       address 193.107.84.4.

       The Government has already provided these records to you.

4.     Exact dates and times of access and/or attempted access to the Silk Road servers by
       former SA Tarbell and/or CY-2.

         Please see Attachment 1, which is an excerpt of a log file on the SR Server, reflecting the
IP address used by former SA Tarbell to directly contact the SR Server outside of Tor, as
described in the fourth sentence of paragraph 8 of the Tarbell Declaration. The log file from
which this excerpt is taken is found on the image of the 193.107.86.49 server (“orange21.tar”
file) at /home/s/oldlogs/access.log.3.gz [6/11/2013:16:58:36 +0000].

5.     The name of the software that was used to capture packet data sent to the FBI from
       the Silk Road servers.

        Other than Attachment 1, the Government is not aware of any contemporaneous records
of the actions described in paragraphs 7 and 8 of the Tarbell declaration. (Please note that
Attachment 1 is marked “Confidential” and is subject to the protective order entered in this
matter.)

6.     A list of the “miscellaneous entries” entered into the username, password, and
       CAPTCHA fields on the Silk Road login page, referenced in the SA Tarbell’s
       Declaration, at ¶ 7.

       See response to request #5.




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7.     Any logs of the activities performed by SA Tarbell and/or CY-2, referenced in ¶ 7 of
       SA Tarbell’s Declaration.

       See response to request #5.

8.     Logs of any server error messages produced by the “miscellaneous entries”
       referenced in SA Tarbell’s Declaration.

       See response to request #5.

9.     Any and all valid login credentials used to enter the Silk Road site.

       See response to request #5.

10.    Any and all invalid username, password, and/or CAPTCHA entries entered on the
       Silk Road log in page.

       See response to request #5.

11.    Any packet logs recorded during the course of the Silk Road investigation, including
       but not limited to packet logs showing packet headers which contain the IP address
       of the leaked Silk Road Server IP address [193.107.86.49].

       See response to request #5.

12.    Any server configuration files from the time period referenced in the Tarbell
       Declaration, at ¶ 7, including in particular, NGINX vhost configuration files
       obtained from the Silk Road Server in early June 2013.

        Any server configuration files from the SR Server in the Government’s possession are
contained in the images of the SR Server already provided to you. Those images were created in
late July 2013 and early October 2013.

13.    Any and all data obtained from pen registers judicially authorized in this case.

        The Government has provided all available pen register data used to detect Ulbricht’s
email and Internet activity in September 2013, as well as pen register data received from
Icelandic law enforcement authorities concerning the SR Server and the server described in the
Tarbell Declaration as Server-1. To the extent any other pen register information was obtained
in the course of the investigation, the Government objects to this request on the ground that such
information is not material to the defense or otherwise required to be produced under Rule 16.




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14.    Information and documentation regarding how the IP address (193.107.84.4) of the
       initial Silk Road Server was obtained.

        The Government objects to this request on the ground that it is not material to the
defense. As noted in the Tarbell Declaration, although the Government originally asked
Icelandic authorities for assistance with respect to this server – including obtaining subscriber
information, collecting routing information, and covertly imaging the server – Icelandic
authorities did not produce traffic data for Server-1 until May 2013. Thereafter, on June 12,
2013, the Government informed Icelandic authorities that it believed that the SR Server was now
hosting the Silk Road website, and thus requested that Icelandic authorities search the SR Server
instead. However, Icelandic authorities had already imaged the contents of Server-1 by this
time, on or about June 6, 2013. Although the Government did not ask Icelandic authorities to
share the image of Server-1, Icelandic authorities included the image on the same device on
which it produced the image of the SR Server to the Government on or about July 29, 2013. The
Government does not intend to use any contents from Server-1 at trial, and accordingly the
Government objects to this request as immaterial.

15.    Any and all correspondence between the Reykjavik Metropolitan Police and the
       United States government (as described in fn. 1).

        The Government reasserts its general materiality objections set forth above. The only
potential relevance of the requested correspondence is to the issue of whether U.S. officials had
“authority to control or direct” the actions of the Reykjavik Metropolitan Police (“RMP”) with
regard to their search of the SR Server. United States v. Getto, 729 F.3d 221, 231 (2d Cir. 2013).
The Government does not believe that the requested correspondence, which concern requests for
foreign law enforcement assistance, would establish that U.S. officials had such authority. See
id., 729 F.3d at 230-31 (holding that the Fourth Amendment does not apply to actions of foreign
officials merely because they undertook investigative steps only in response to an American
MLAT request). But in any event, even if the facts could demonstrate that U.S. officials had
“authority to control or direct” the actions of the RMP, the defendant has not articulated any
viable theory of how the RMP’s search violated his Fourth Amendment rights. Because the
defendant has failed to assert any theory, let alone facts, that would establish such a violation,
there is no justification for the defense to obtain wide-ranging discovery into the Government’s
communications with foreign law enforcement authorities. Collecting, reviewing, and producing
the requested correspondence would not only be burdensome for the Government, but also, were
such correspondence routinely subject to disclosure in any investigation involving international
cooperation, candid and effective communications between foreign and U.S. law enforcement
authorities would be inhibited. Cf. United States v. Getto, 729 F.3d 221, 230 (2d Cir. 2013)
(citing United States v. Morrow, 537 F.2d 120, 140 (5th Cir.1976) (“Normal lines of
communication between the law enforcement agencies of different countries are beneficial
without question and are to be encouraged.”); cf. also United States v. Cherry, 876 F. Supp. 547,
551-52 (S.D.N.Y. 1995) (rejecting request for discovery of investigative files of local law
enforcement agency that cooperated with federal government in its investigation, finding that
subjecting such materials to discovery “would in all likelihood inhibit cooperation between local
and federal law enforcement agencies, to the benefit of criminals but to the detriment of the
public good”). To the extent the Court determines, however, that it needs to resolve the question

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of whether U.S. officials had “authority to control or direct” the actions of the RMP, the
Government would propose to submit the requested correspondence to the Court ex parte for its
review, in light of the Government’s concern about the sensitivity of its communications with
foreign law enforcement authorities.

16.    A copy of the August 27, 2013, First Supplemental Request issued by U.S.
       Authorities to Icelandic Authorities.

       The Government objects to this request on the ground that it is not material to the
defense, particularly because the First Supplemental Request does not concern the SR Server or
any other evidence the defendant seeks to suppress.

17.    The September image of the 193.107.86.49 server, referenced in item #9 of the
       government’s March 21, 2014, discovery letter.

       The SR Server was originally imaged in July 2013. The Government is not aware of any
image of the SR Server made by Icelandic authorities in September 2013. As far as the
Government is aware, the SR Server was re-imaged by Icelandic authorities in October 2013
pursuant to an official U.S. request made in late September 2013 (which has been produced to
you). This image was produced to you as item #12 in the Government’s March 21, 2014
discovery production. To the extent that the Government’s cover letter accompanying this
production also references the server image in item #9, this appears to be an error.

18.    In regard to the several .tar compressed archives (all.tar; home.tar; and
       orange21.tar) produced as part of item #1 of the government’s March 21, 2014,
       discovery letter, please (a) identify when these .tar archives were created; (b) list the
       commands that were issued to create them; (c) state whether any cryptographic
       hash values were generated for the .tar archives at the time they were created.

       (a) The creation dates of these archive files are reflected in their file properties.

       (b) According to information provided by the RMP, copying of the data was executed as
           follows:

           1. Screen and keyboard are connected to the machine and restart it with ctrl + alt + del
           2. Booted console in Single mode with bash shell to bypass password authentication (init = /
              bin / bash)
           3. Copying machine with the following command line anti: tar-cvpzf / mnt/orange21.tar.gz-
              exclude = / mnt - exclude = / proc-exclude = / sys-exclude = / dev-exclude = / run /
           4. USB Disk un-mounted and console rebooted and linked back to the network.
           5. The machine boots back up normally.




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      (c) The Government is unaware of any records in its possession responsive to this
          request.

                                                  Sincerely,

                                                  PREET BHARARA
                                                  United States Attorney


                                              By: ______________________________
                                                  Serrin Turner
                                                  Assistant United States Attorney

Enclosures




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X

UNITED STATES OF AMERICA,                                            14 Cr. 68 (KBF)

                                   Plaintiff,                        MOTION FOR RECUSAL

                            -v-

ROSS WILLIAM ULBRICHT,

                                   Defendant.

----------------------------------------------------X

        Pursuant to 28 U.S.C. § 455, defendant Ross Ulbricht hereby moves the Court for an

Order recusing the court in this matter. This motion is based upon the Memorandum of Law in

Support of Motion for Recusal, the Declaration of Ross Ulbricht, and the Declaration of Paul

Grant In Support of Motion for Recusal, each of which is submitted with this motion.

Dated: 2/5/2018

                                                       Respectfully submitted,

                                                       /s/ Paul Grant
                                                       Paul Grant
                                                       Law Office of Paul Grant
                                                       P.O. Box 2720
                                                       Parker CO 80134
                                                       Telephone: 303-909-6133
                                                       Email: paul_pglaw@yahoo.com
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X

UNITED STATES OF AMERICA,                                            14 Cr. 68 (KBF)

                                   Plaintiff,                        MEMORANDUM OF LAW
                                                                     IN SUPPORT OF MOTION
                                                                     FOR RECUSAL

                            -v-

ROSS WILLIAM ULBRICHT,

                                   Defendant.

----------------------------------------------------X

        On February 4, 2015, Defendant Ross Ulbricht was convicted by his jury of various

offenses and he was subsequently sentenced by the court to life imprisonment. Mr. Ulbricht has

appealed his convictions and sentence to the Second Circuit Court of Appeals, and his appeal has

been denied. On December 22, 2017, Mr. Ulbricht submitted his petition for writ of certiorari to

the Supreme Court, and his petition is currently pending.

        There have been no proceedings in this court since Mr. Ulbricht was sentenced on May

29, 2015. Mr. Ulbricht now intends to pursue his right to file a Rule 33 Motion for New Trial

Based on Newly Discovered Evidence, a motion which is due on or before February 5, 2018.

        Mr. Ulbricht is entitled to have his Rule 33 Motion and all other proceedings in this case

presided over by a fair and impartial judge. A judge “shall disqualify [herself] in a proceeding in

which [her] impartiality might reasonably be questioned.” 28 U.S.C. § 455(a). A judge must

recuse herself in a proceeding in which the judge has a personal bias or prejudice concerning a


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party. 28 U.S.C. § 455(b)(1). The requirement that a judge recuse herself whenever her

impartiality might reasonably be questioned, is commonly linked to circumstances where the

alleged impartiality originates with an extrajudicial source. U.S. v. Carlton, 534 F.3d 97, 100

(2nd Cir. 2008), citing Liteky v. United States, 510 U.S. 540, 544 (1994). Extrajudicial sources,

although a common basis, are not the exclusive basis for establishing bias or prejudice. Liteky v.

United States, 510 U.S. 540, 551 (1994). “The goal of section 455(a) is to avoid even the

appearance of partiality.” Liljeberg v. Health Services Acquisition Corp., 486 U.S. 847, 860

(1988).

I.        The trial court undermined the presumption of innocence and prejudiced the jurors

against the defendant by empaneling an anonymous jury.

          The trial court began the trial with an in camera, unsolicited, unexplained, and

unannounced decision to empanel an anonymous jury. Declaration of Paul Grant, par. 5, 6, 7.

No one reviewing the transcripts of pre-trial proceedings or the court’s docket could glean from

the record that the court had determined to, or had empaneled an anonymous jury. Yet, the trial

transcript reveals that the jurors’ names were never mentioned in trial proceedings and that the

jurors were advised at the conclusion of the trial that they would never need to reveal their names

to anyone. Declaration of Paul Grant, par. 5.

          The juror questionnaires administered to prospective jurors before the trial convened in

open court, reveal that the prospective jurors had been told prior to the trial not to provide their

names in the juror questionnaire. This is apparent as only three of the 183 prospective jurors

filled in their names in the space provided. Declaration of Paul Grant, par. 4. Someone obviously

instructed the prospective jurors not to write their names on the form.


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        During the first day of trial, after the anonymous jury had been empaneled, the trial court

then concealed from the public and Mr. Ulbricht the fact that an anonymous jury had been

empaneled. This was apparent when the trial court stated in open court that the presence of jury

rights protesters and pamphleteers outside the courthouse might require the court to empanel an

anonymous jury. Addressing defense counsel Joshua Dratel, the court stated: “I know, Mr.

Dratel, you have objected and not wanted to have an anonymous jury. But if individuals are

continuing, I don’t really know if we’ve got much alternative.” Tr. 1-13-2015 at 116.

        It’s not clear what the court was referring to, in mentioning defense counsel Dratel’s

“opposition” to an anonymous jury, for two reasons: (1) the court had just completed empaneling

an anonymous jury without any objection from defense counsel, and (2) because undersigned

counsel searched the public docket and the pre-trial hearing transcripts and found no indication in

the record that the parties and trial court had ever addressed the possibility of empaneling an

anonymous jury. Declaration of Paul Grant, par. 7. It may be that the trial court was threatening

additional “anonymizing measures,” measures that would have included having the jurors

“brought out to a different place and brought in specially. I prefer for the defendant not to do

that.” Tr. 1-13-2015 at 102. “[W]e won’t let it go any longer than that because it’s a classic

reason to allow for additional procedures.” Tr. 1-13-2015 at 103.

        What is clear is that neither the public nor Mr. Ulbricht had any idea that an anonymous

jury had been empaneled. Mr. Ulbricht would have voiced his objection, had he been aware of

the court’s undisclosed action to empanel an anonymous jury, and had he been aware of the fact

that he had been prejudiced by an erosion of the presumption of innocence. Declaration of Ross

Ulbricht, par. 6, 7, 10, 11, 13, 14, 17.


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       "A district court may order the empaneling of an anonymous jury upon (a) concluding

that there is strong reason to believe the jury needs protection, and (b) taking reasonable

precautions to minimize any prejudicial effects on the defendant and to ensure that his

fundamental rights are protected." The empaneling of an anonymous jury and its impact on the

presumption of innocence must receive close judicial scrutiny and be evaluated in

the light of reason, principle and common sense. U.S. v. Thomas, 757 F.2d 1359, 1363 (2nd Cir.

1985), citing Estelle v. Williams, 425 U.S. 501, 504, 96 S.Ct. 1691, 1693 (1976). Where a trial

court examines the specific facts of the case, considers the arguments of counsel, determines the

jury needs protection, and gives the jury an intelligent, reasonable and believable explanation for

concealing the jurors’ names that does not cast the defendant in an unfavorable light, the

defendant’s interest in avoiding erosion of the presumption innocence may be overcome. Id., at

1364-1365.

       If an anonymous jury is determined to be warranted, a defendant's fundamental rights

must be protected "by the court's conduct of a voir dire designed to uncover bias as to issues in

the cases and as to the defendant," and by "t[aking] care to give the jurors a plausible and

nonprejudicial reason for not disclosing their identities or for taking other security measures."

United States v. Paccione, 949 F.2d 1183, 1192 (2d Cir.1991), cert. denied, --- U.S. ----, 112

S.Ct. 3029, 120 L.Ed.2d 900 (1992).

       In this case, the court did not consider the arguments of counsel, did not on the record

examine the facts of the case, did not provide a reasoned basis for empaneling an anonymous

jury, and there is no record that the court ever provided to the jurors an intelligent, reasonable,

and believable explanation for concealing the jurors’ names. In fact, there is no record at all of


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how the court made or implemented this decision. This decision appears to have been made

privately, based on the trial court’s own personal, undisclosed reasons. The decision implies the

trial court considered Mr. Ulbricht to pose a threat to the jurors. The jurors may well have

inferred that the trial court thought they needed protection from Mr. Ulbricht or from persons

associated with him, thus prejudicing Mr. Ulbricht’s right to a fair trial and eroding his right to

the presumption of innocence.

       Mr. Ulbricht did not waive his right to the presumption of innocence; he did not waive his

right to have his case presided over by a fair and impartial judge; he did not waive his right to

trial by a fair and impartial jury; he did not knowingly or intelligently waive any of his fair trial

or due process rights; and he did not authorize or consent to his trial counsel waiving any of

those rights on his behalf. Declaration of Ross Ulbricht, par. 2, 3, 4.

II.    The trial court engaged in actions which would cause a reasonable person to doubt

the impartiality of the court, when the court told the jury they would get all the evidence

they needed to reach their verdict. The statement also compromised the presumption of

innocence.

       During the in-court voir dire process, the trial court intervened on behalf of the

government by advising the jurors that “all of the evidence that you are going to need to render a

verdict will be evidence received into evidence at this trial.” Tr. 1-13-2015, Voir Dire at 17.

This statement implied that the trial court had already previewed the government’s evidence and

determined that their evidence would be sufficient to prove the defendant guilty. How else could

the court assure the jurors they were going to receive all the evidence they needed to reach their

verdicts? The only verdict that requires evidentiary support, is a verdict of guilty.


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        There is only one party with the burden of proof at trial, and that is the government.

When the trial court told the jury they would receive all the evidence they needed, the trial court

vouched for the strength and sufficiency of the government’s evidence. The court certainly

wasn’t talking about the evidence that Mr. Ulbricht might produce, because he had no obligation

to produce any evidence or prove his innocence. A jury doesn’t need any evidence to render a

verdict of acquittal.

        A common trial strategy for the defense in many cases is to put on no evidence and argue

at the close of evidence that the government’s evidence was insufficient to prove beyond a

reasonable doubt that the defendant committed the crime(s) charged. The court’s assurances to

the jury of the strength of the evidence, before any evidence was even introduced, deprived Mr.

Ulbricht of that argument and of the presumption of innocence and of his right to a fair trial.

        When addressing the jury, as in all aspects of trial administration, the trial court must

avoid any appearance of partiality, to avoid running afoul of the maxim that “prosecution and

judgment are two quite separate functions in the administration of justice; they must not merge.”

United States v. Norris, 873 F.2d 1519, 1527 (D.C.Cir. 1989) (quoting United States v. Marzano,

149 F.2d 923, 926 (2d Cr. 1945). Each judicial intervention raises the possibility that the jury

will perceive the court as favoring one party over the other. See Starr v. United States, 153 U.S.

614, 626 (1894) (“It is obvious that under any system of jury trials the influence of the trial judge

on the jury is necessarily and properly of great weight, and that his lightest word or intimation is

received with deference, and may prove controlling.”)

        The trial court presented the appearance of judicial bias when its words implied that the

court was vouching for the sufficiency of the government’s evidence at the very beginning of the


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trial, when instructing the jury about their role in the case and in advising them of what was to

come, thus causing serious prejudice to Mr. Ulbricht’s right to a fair trial.

       The trial court didn’t leave much room for doubt that it meant the jury really would

receive all the evidence needed to convict, when on Day 2 of the trial, the court intervened in a

manner that showed the intent of the court to help the government strengthen its presentation of

evidence.

       The court advised the prosecuting attorney that its first witness had described the Tor

browser in a way that was just “mumbo jumbo to most people on the jury right now. . . [I]n terms

of clarity, I do think clarity of the evidence is important here. The jury I do think needs to

understand things. I wanted to give you a sense that there still is room for clarity.” Tr. 1-14-2015

at 127. The government responded by telling the court that it was trying to explain the use of the

Tor browser to the jury, and by informing the court what it was trying to communicate: “I think

the point is, it hides an IP address and, therefore, allows people to anonymize their identities and

locations. That’s really all we’re trying to get across.” Tr. 1-14-2015 at 127.

       The court then stated that it was not telling the government how to put on its evidence, it

was just trying to help the government keep in mind that in trying to make something seem

simple, they might make be making it sound more complex. Tr. 1-14-2015 at 127-128.

       The government accepted the court’s advice, and began the second day of testimony by

having their witness re-explain what the Tor network was, how it worked, and what it allowed

for, complete with a demonstration. Tr. 1-14-2015 at 135-139. This second-day testimony was

much more clear and effective than the testimony presented through the same witness before the

trial court intervened and advised the prosecutor about the weakness and lack of clarity of his


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presentation.

       That kind of judicial intervention presents a strong appearance of partiality. That judicial

intervention had a clearly perceptible effect on the quality and clarity of the government’s

presentation of evidence, from that point forward in the trial. The court’s intervention did help

the government present its case.

       The trial court conducted Mr. Ulbricht’s trial in a manner evidencing pre-judgment of Mr.

Ulbricht (the jury needed protection from him) and in a manner evidencing pre-judgment of the

evidence, telling the jury that the [government’s] evidence presented would support their verdict.

The trial court successfully persuaded the prosecutor as to the need to present his evidence more

clearly, pointing out specific weaknesses in the government’s first attempt to explain the Tor

browser to the jury. The court’s advice and observations resulted in the prosecutor presenting

further testimony to more clearly explain the Tor browser. The trial court’s actions and

statements in the course of the trial presented the appearance of partiality and bias and actually

appear to have helped the government in presenting its case.

       Defense counsel did not object to these court interventions and statements but Mr.

Ulbricht did not waive his right to object. Declaration of Ross Ulbricht, par. 11, 14, 15, 17. Nor

did Mr. Ulbricht authorize defense counsel to waive his right to object to the court’s intervention

and statements which appeared designed to help and support the government. Declaration of

Ross Ulbricht, par. 19.

III.   The Trial Court Displayed Bias Against Mr. Ulbricht At Sentencing

       The trial court displayed an animus against and fear of Mr. Ulbricht’s philosophical views

at sentencing, causing any reasonable observer to wonder whether the sentence imposed was a


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sentence designed to punish him for his views and to suppress his political views, views which

the trial court found to be “deeply troubling and terribly misguided and also very dangerous.”

Before pronouncing Mr. Ulbricht’s sentence, the court again mentioned his philosophy: “. . . the

reasons that you started Silk Road were philosophical and I don't know that it is a philosophy

left behind.”

       The trial court should not have concerned itself about Mr. Ulbricht’s philosophy in

determining his sentence. His freedom of expression (and belief) “is . . . protected against

censorship or punishment, unless shown likely to produce a clear and present danger of a serious

substantive evil that rises far above public inconvenience, annoyance, or unrest.'' Terminiello v.

City of Chicago, 337 U.S. 1, 4-5 (1949). The right to free speech embraces the liberty to discuss

matters of public concern without . . . fear of subsequent punishment. Thornhill v. Alabama,

310 U.S. 88, 101-102 (1940).

       The court’s expressed concern about Mr. Ulbricht’s “deeply troubling and terribly

misguided and also very dangerous” political views, combined with the imposition of the

harshest penalty the law allowed, gives the appearance that the sentence may well have been

imposed to punish Mr. Ulbricht for his dangerous views and to prevent his views from being

expressed or followed. The court’s focus on Mr. Ulbricht’s views provides the appearance, if not

the proof, that the court was biased against Mr. Ulbricht because she found his views so troubling

and dangerous.

       A reasonable person can’t read the sentencing transcript without questioning whether the

trial court may have sentenced Mr. Ulbricht based on her disagreement with and fear of his

views. The law forbids sentencing based on consideration of a defendant’s political or


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philosophical views: Sentencing based on “race, sex, national origin, creed, and socioeconomic

status of offenders” is prohibited. See 28 U.S.C. § 994(d); U.S.S.G. § 5H1.10.

       The trial court’s expressed concerns about Mr. Ulbricht’s philosophy provide the

appearance that the trial court based his sentence on impermissible considerations, and provides

the appearance of bias, irrespective of whether there was actual bias, and when under such

circumstances the case is remanded for re-sentencing, . . . “[T]he better course is to remand to a

different judge for re-sentencing as a matter of course, irrespective of whether there was actual

bias . . .” See United States v. Kaba, 480 F.3d 152, 157 (2nd Cir. 2007).

       The better course in this proceeding, will be for the trial court to recuse itself. The

appearance of bias at sentencing would cause a reasonable person to question the impartiality of

the court, and requires that the trial court recuse itself from further proceedings in this case.

No Waiver of Right to Seek Recusal

       Mr. Ulbricht has never knowingly and intentionally waived his right to have his case

presided over by a fair and impartial judge, nor has he waived his right to ask for recusal of the

trial court based on actual or apparent bias. Declaration of Ross Ulbricht, par. 8, 12. Nor has he

authorized his trial or appellate counsel to waive any of those rights, including the right to seek

recusal where the trial court’s actions and statements reveal actual bias or provide the appearance

of bias. Declaration of Ross Ulbricht, par. 19, 20.

       Mr. Ulbricht has never before had the opportunity to ask for the court’s recusal in this

case. He wasn’t aware of his rights to request recusal at trial or sentencing, or of his rights to

object to the court’s actions described above.

       Waiver is the intentional relinquishment of a known right. United States v. Quinones,


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511 F.3d 289, 321 n.21 (2d Cir. 2007). Mr. Ulbricht did not knowingly and intentionally waive

any of his fair trial or due process rights, nor did he authorize his trial or appellate counsel to

waive any of his rights. Declaration of Ross Ulbricht, par. 18, 19, 20. Mr. Ulbricht was not

aware that the trial court secretly empaneled an anonymous jury or how that would prejudice his

jury or what his rights were to object. He was not aware of the implications of the trial court

vouching for the strength of the government’s evidence. He was not aware he had a right to

object to the trial court helping the prosecutor present his evidence. He was not aware he had the

right to move for recusal of the court at sentencing, for the trial court’s prior actions and

statements exhibiting bias or the appearance of bias.

                                           CONCLUSION

        The trial court’s actions and words as described above, provide at least the appearance of

partiality and bias, and would cause a reasonable person to question the court’s partiality. Mr.

Ulbricht, in the interest of justice and on the basis of the facts and arguments submitted, hereby

moves the Court for an Order recusing the court in this matter, and for such other relief as is just

and proper. The motion for recusal is based upon this Memorandum of Law in Support of

Motion for Recusal, and upon the Declaration of Paul Grant and the Declaration of Ross

Ulbricht, each of which is submitted with this motion.

Dated: 2/5/2018                                 Respectfully submitted,

                                                /s/ Paul Grant
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February 20, 2018

BY ECF
Hon. Katherine B. Forrest
United States District Judge
United States District Court
500 Pearl Street
New York NY 10007

Re:    United States v. Ross William Ulbricht, et al, 14 Cr. 68 (KBF)
       Petition for Rehearing Re Denial of Request for Extension of Time
       to Submit Rule 33 Motion

Dear Judge Forrest:

        I write on behalf of Defendant Ross Ulbricht to submit this petition for rehearing, asking
that the court vacate its February 5, 2018 order (Doc. 309) denying the request for extension of
time. I have contacted the government about this request and AUSA Eun Young Choi advises
that the government will take no position regarding this petition insofar as Mr. Ulbricht is
requesting the court reconsider its denial of the request for extension of time. The government
did not oppose the original request for an extension of time. The government is not endorsing
Mr. Ulbricht’s arguments.

       Mr. Ulbricht believes that the court has misapprehended, overlooked, or misapplied the
following facts and pertinent law:

1.       The court is mistaken in not noting that the evidence Mr. Ulbricht brought to the court’s
attention is, in fact, new evidence that was neither disclosed nor known to exist at the time of
trial. The court stated that the evidence to which Mr. Ulbricht now points (that the FBI was
monitoring the defendant’s online movements) was known at trial.

         What was known at the time of trial was that the FBI (claimed to have) monitored Mr.
Ulbricht’s online activities through the use of pen registers and trap and trace devices to collect
pen register and trap and trace data (“PRTT data”), and that the FBI (claimed to have) conducted
its activities pursuant to three pen/trap orders authorized by magistrates in the Southern District
of New York. Doc. 307 at 2. What was known at the time of trial was that the government had
stated that there was no undisclosed PRTT data that would be material to the preparation of the
defense. Doc. 307 at 3.


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        What was not known prior to trial, and what the government then vehemently denied,
was that the government was using unauthorized surveillance tools to track Mr. Ulbricht’s
physical movements and location within his residence. Unauthorized and unwarranted
surveillance by the FBI has now been revealed in the book American Kingpin, where the author
describes how the FBI used surveillance equipment located outside the house to physically track
Mr. Ulbricht’s movement and computer activity and to determine his precise location in his
residence. Doc. 307 at 4-5. This is new evidence.

        What was not known (and was denied by the government) before trial (but is known
now), is that the government did have additional and material FBI-collected PRTT data,
evidence that was material to the preparation of the defense because it is data the government
relied on in its applications for the laptop and residence search warrants. The government
apparently recently “found” some of this data and promised (on February 2, 2018) to deliver it to
Mr. Ulbricht, for his review. Doc. 307 at 3. This is new evidence.

        The government was required to produce the FBI-collected PRTT data prior to trial
because the defense requested it. “Upon a defendant's request, the government must permit the
defendant to inspect and to copy or photograph books, papers, documents, data, photographs,
tangible objects, buildings or places, or copies or portions of any of these items, if the item is
within the government's possession, custody, or control and: (i) the item is material to preparing
the defense.” Rule 16(a)(1)(E)(i), Fed.R.Crim.P. Prior to trial, the government denied such
evidence existed. Doc. 307 at 3.

       Mr. Ulbricht was entitled to rely on the government’s statement that it had provided all
available pen-trap data related to monitoring Ulbricht’s internet activity, and that any other data
it may have was not material and not subject to production. See United States v. Lee, 573 F.3d
155, 161 (3d Cir. 2009).

          Rule 16(a)(1)(E) permits discovery related to the constitutionality of a search or seizure.
U.S. v. Hector Soto-Zuniga, 837 F.3d 992, 1003 (9th Cir. 2016). Materiality is a "low threshold;
it is satisfied so long as the information . . . would have helped" to prepare a defense. Id., quoting
United States v. Hernandez-Meza, 720 F.3d 760, 768 (9th Cir. 2013).

        The only obstacles that will prevent Mr. Ulbricht from inspecting, copying and using
material information from the newly located PRTT data (and data in the magistrate’s files) to
challenge the warrants, should such information be contained in the data, are the court’s
February 5, 2018-dated orders denying Mr. Ulbricht the opportunity and the time to examine and
use the data.

2. Mr. Ulbricht advised the court in his request for extension of time that he would need time to
obtain and examine pen register and trap and trace (“PRTT”) data from two sources: (1) the
newly located PRTT data promised by the prosecutor, and (2) material from the now-sealed
magistrate files, to see if those materials would provide the basis for his Rule 33 motion, i.e.,


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whether newly discovered evidence will show that a new trial is required. Doc. 307 at 5.

         What the court did not note and apparently overlooked in its order denying the extension,
is that the government advised undersigned counsel, on February 2, 2018, three days before the
deadline expired for filing his Rule 33 Motion, that they had located additional PRTT data
collected in this case, and would provide it to the defense. Doc. 307 at 2.

        The government promised it was sending this new evidence to undersigned counsel, but
three days later, and before the package arrived, the court denied the request for extension of
time.

       As a result, Mr. Ulbricht cannot use this new evidence (and data from the three sealed
magistrate’s files) even if the data constitutes evidence that would establish that the laptop and
residence search warrants were unconstitutionally obtained.

         The court’s denial of the request for extension will thwart the pursuit of justice, i.e., it
will prevent Mr. Ulbricht from examining the data that may show the government engaged in
illegal and warrantless surveillance of his activities within the privacy of his home.

3.      Mr. Ulbricht advised the court in his Request that he was seeking to examine three now-
sealed magistrate’s files which, by law, should contain the pen register and trap and trace data
collected by the FBI, as well as a written description of the methods and equipment used in their
surveillance. Doc. 307 at 4.

       After denying Mr. Ulbricht’s request for extension of time to submit his Rule 33 Motion,
on February 5, 2018, the court also denied (on the same day) “as moot” (Doc. # 311) Mr.
Ulbricht’s request to view the new evidence contained in the three magistrate’s files.

        The PRTT evidence in the three magistrate’s files is new evidence because the
government denied its existence in 2014, or denied that it would be material to the preparation of
the defense.

       The FBI-collected PRTT evidence in the magistrate’s files was material because the
laptop and residence search warrants applications depended on that data. Doc. 307 at 2. It
also appears material to preparation of the defense because those records should reveal details of
the FBI surveillance described in American Kingpin.

       Tracking Mr. Ulbricht’s movements and determining his location within his residence,
without a search warrant, would constitute an unreasonable search of his residence. See Kyllo v.
United States, 533 U.S. 27 (2001). The FBI surveillance described in American Kingpin
“involved officers on a public street engaged in more than naked-eye surveillance of a home.”
See Kyllo at 33. “Where . . . the government uses a device to explore details of the home that
would previously have been unknowable without physical intrusion, the surveillance is a


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“search” and is presumptively unreasonable without a warrant.” Id., at 40.

       Mr. Ulbricht should be allowed the time and opportunity to examine the data and written
record now concealed in the three sealed magistrate’s files, and to use that information to
vindicate his Fourth Amendment rights, if that improperly withheld data and record show Fourth
Amendment violations.

4.      In the court’s denial of the Request for Extension, the court stated: The transcript reveals
that the very evidence to which he points (that the FBI was monitoring the defendant’s online
movements [sic]) was explicitly known at trial. Doc. 309.

       The court’s statement is incorrect. What Mr. Ulbricht pointed to in his Request for
Extension of Time, was the passage in American Kingpin which reveals, for the first time, that
the FBI was tracking Mr. Ulbricht’s physical movement and location in his house:

They knew that Ross was at home because the FBI had an undercover SUV circling his block and
monitoring the Wi-Fi traffic (this is pen register and trap and trace activity). The system they were
using (which should be described in the magistrates’ files) would check the signal strength of the Wi-
Fi on his computer and then, by triangulating that data from three different points they had captured
as they drove around the block, they were able to figure out Ross’s exact location, which at this very
moment was his bedroom, on the third floor of his Monterey Boulevard apartment. Doc. 307 at 5.

         The court’s statement refers to testimony from Der-Yeghiayan (Tr. 319, et seq) which
described him monitoring DPR’s (not Mr. Ulbricht’s) online activity. Der-Yeghiayan initiated
online chats with DPR because and he was able to sign on and access staff chat with DPR.
When he was chatting with DPR, he could tell that DPR was online. Tr. 314. What Der-
Yeghiayan described in his testimony was FBI efforts to correlate DPR’s chat activity with Mr.
Ulbricht’s online activity, in an effort to establish that DPR was Ulbricht. They were hoping to
initiate a chat with DPR at the same time they were watching Mr. Ulbricht in real life - i.e., in a
public place and active on his laptop, to establish that DPR and Ulbricht were one and the same
person.

        The trial testimony that the court refers to does not refer to the FBI monitoring Mr.
Ulbricht’s online movements [sic], and does not reveal that the FBI was using surveillance
technology that allowed them to track Mr. Ulbricht’s physical movements in his home. What Mr.
Ulbricht pointed to in his request for extension of time, is what Bilton described in American
Kingpin, which is the [warrantless and unlawful] tracking of Ulbricht’s physical movements and
determination of his location within his home. That is the newly discovered evidence which
needs to be developed and if the FBI conducted such surveillance, and if they complied with the
requirements for filing records as specified in 18 U.S.C. § 3123, then evidence describing such
surveillance will be found in the sealed magistrate’s files.

5.    Mr. Ulbricht asked for his extension of time in the interest of justice and for good cause
shown. Doc. 307 at 5. There is no indication in the court’s denial that the court considered the

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interest of justice. Rule 33 is premised on the interest of justice: “Upon the defendant's motion,
the court may vacate any judgment and grant a new trial if the interest of justice so requires.” Rule
33, Fed.R.Crim.P.

       According to the government, at least some of the PRTT data that was requested but not
produced prior to trial, has recently been located and will now be provided to Mr. Ulbricht. That
data may provide Mr. Ulbricht with the basis for challenging the constitutionality of the laptop
and residence search warrants. But for this court’s denial of the Request for Extension of Time
and the nearly simultaneous denial of his Request to examine the three magistrate’s files, Mr.
Ulbricht would now have access to improperly withheld, FBI-collected data and descriptions of
methods that might allow him to show that the laptop and residence search warrants were
obtained in violation of his Fourth Amendment rights.

        If Mr. Ulbricht’s rights against unreasonable search and seizure were violated, then
evidence seized as a result of invalid search warrants should have been suppressed. Had the
evidence resulting from the search of the defendant’s laptop and residence not been used against
him, he may well not have been convicted at trial, on some or all of the counts of the indictment.
Justice requires that Mr. Ulbricht be allowed to determine whether the data just located by the
prosecutor and the data and record hidden in the magistrate’s files would have changed the
outcome of his case.

5.      Mr. Ulbricht has been hindered and interfered with since the first week of June, 2017, in
researching and preparing his Rule 33 Motion, by his trial counsel’s refusal to turn over the
complete client file. Request at 1. Mr. Ulbricht still does not have his complete file, and is not
sure he has all discovery provided to the defense. He asked this court for assistance, requesting
an order addressed to trial counsel, Joshua L. Dratel, to turn over the complete client file to
current counsel. Doc. 307 at 5-6. The court did not respond to that request.

         The court’s order denying the extension of time says prior counsel’s refusal to turn over
the client file doesn’t matter, because prior counsel knew what was in the file. Doc. 309. That
statement from the court assumes that trial counsel had examined and comprehended everything
in the file, that he had kept track of what was in the file, that trial counsel was actively pursuing
the best interests of his client, and that it was okay that Mr. Ulbricht has not been able to
persuade Mr. Dratel to transfer Mr. Ulbricht’s complete file to current counsel, though he has
been trying to get the complete file since the first week of June, 2017. Those assumptions are
either unreasonable or they are contradicted by known facts, for the following reasons, which
Mr. Ulbricht asks the court to consider:

a. Discovery provided by the government in this case amounted to some 6 terabytes of
information. It would take one technically proficient and extremely dedicated human being
years to go through all of that data, depending on the format of the data and the hours available
each day, each week, etc. Human memory being what it is, after years of review anyone would
have forgotten most of what they had reviewed. The discovery contains data in several different


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formats, many of which are unfamiliar or impenetrable to most lawyers. Some of the unfamiliar-
to-most lawyer file formats are .pcap (packet capture files that can be read in Wireshark), some
require ftk imager, some require MySQL. Even if one could examine the data, it would not be
easy for most lawyers to comprehend and relate the data to issues in the case. There is no reason
to believe that Mr. Dratel (trial counsel) is an expert in these areas or that he hired an expert to
spend thousands of hours to review the data, some of which Mr. Dratel apparently lost.
Declaration of Paul Grant in Support of Petition for Rehearing Re Request for Extension of Time
to Submit Rule 33 Motion for New Trial (“Declaration”), at par. 3 - 4.

b. Trial counsel apparently lost track of some of the discovery provided to him by the
government. For example, trial counsel claimed to have provided to undersigned counsel all of
the discovery he received in this case, but trial counsel did not provide to undersigned counsel
any of the .pcap files that resulted from packet capture data acquisition. Undersigned counsel
did eventually, and purely by happenstance, obtain the .pcap files that had been produced in
discovery, not from trial counsel, but from the United States Attorney in September 2017, when
they shipped a hard drive to undersigned counsel. The 4,499 .pcap files contained in a folder on
that drive did contain PRTT data, but not the PRTT data that the government allegedly had relied
upon in the laptop and residence search warrant affidavits. Declaration at par. 4 - 6.

       After obtaining expert assistance and discovering what was missing from those files, on
October 10, 2017, undersigned counsel requested the United States Attorneys Office provide the
missing PRTT data. On February 2, 2018, the AUSA confirmed that they had located additional
PRTT data and would be sending it to undersigned counsel. Declaration at par. 6.

         There is no indication that trial counsel ever looked at the content of any packet capture
files, or that he even kept a copy of the discovery folder containing these files. Declaration at
par. 7.

c. Discovery data was provided in numerous formats so it is impossible to describe “how much”
data was included in that 6 terabytes. It is estimated that 1 terabyte of text is equivalent to about
38,000 copies of Webster’s Unabridged Dictionary. Needless to say, it is not reasonable to
assume that anyone could know what was contained in 6 terabytes of data.

d. Trial counsel abandoned his duties to Mr. Ulbricht at least eight months ago, and perhaps
much earlier. On May 31, 2017, trial counsel Joshua L. Dratel wrote to Mr. Ulbricht’s parents
notifying them that the Second Circuit had that day affirmed Mr. Ulbricht’s conviction and
sentence. In that email message, Mr. Dratel, still counsel of record for Mr. Ulbricht in the
Second Circuit, informed Mr. Ulbricht’s parents that he would not prepare Mr. Ulbricht’s
petition for rehearing, which was due in 14 days. Declaration at par. 8. Mr. Dratel reminded Mr.
Ulbricht’s parents that he had previously warned them that he would no longer represent their
son because they had stopped paying Mr. Dratel’s bills. Declaration at par. 8.

       As of May 31, 2017, Mr. Dratel had neither sought nor received permission from this


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court or from the Second Circuit Court of Appeals to withdraw from Mr. Ulbricht’s case.
Declaration at par. 9.

       On June 6, 2016, Mr. Dratel notified Mr. Ulbricht’s parents in writing that he would not
gather together Mr. Ulbricht’s file and ship it to undersigned counsel, unless they first paid Mr.
Dratel a suitable retainer to cover Mr. Dratel’s time and expenses. Declaration at par. 10.

       Prior counsel was officially terminated in writing by Mr. Ulbricht the first week of June
2017 and counsel’s failure to turn over the complete client file to undersigned counsel since that
time (more than eight months) has prevented Mr. Ulbricht from effectively pursuing his Rule 33
motion (and from fully investigating claims under 28 U.S.C. § 2255), as mentioned in his
Request. Doc. 307 at 2.

       Prior counsel abandoned Mr. Ulbricht, on May 31, 2017, or before. Any thought about
what prior counsel may have known cannot justify denying Mr. Ulbricht’s timely Request for
Extension of Time.

                                         CONCLUSION

        Justice requires that prior counsel, Joshua L. Dratel, be ordered to gather together and
deliver the complete client file to undersigned counsel, that Mr. Ulbricht be allowed the time to
receive and examine the newly located PRTT data promised by the government, that the contents
of the three magistrate’s files be made available to Mr. Ulbricht for his examination and use, and
that the requested extension of time be granted for Mr. Ulbricht to file his Rule 33 Motion.

       The government should not be allowed to profit from its discovery violations and
possible unlawful surveillance, and Mr. Ulbricht should not be forced to serve a sentence to life
imprisonment, because the court denies Mr. Ulbricht the time needed to examine the relevant
and important newly located and newly discovered evidence which he and the government both
believe is now available.

        The good cause shown by Mr. Ulbricht in his request for extension of time consists of his
diligent efforts to pursue new and important evidence (in the face of discovery violations by the
government and obstruction and abandonment by his trial counsel); his discovery of important
new evidence in American Kingpin and in the hands of the United States Attorney (who searched
for and recently found FBI-collected PRTT evidence at the defendant’s request); and in his
discovery of new evidence in the magistrate’s files (despite the government’s pre-trial denial that
there was any undisclosed, material PRTT data). These magistrate’s files should contain FBI-
collected PRTT data (relied on to get the laptop and residence search warrants) and a description
of the configuration of equipment and the surveillance methods used, including the invasive
methods (described in American Kingpin) used to monitor and track Mr. Ulbricht’s movement
and computer activity and his location within his home.



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        The extension of time requested would not result in prejudice to any legitimate interest.
There is no legitimate interest in the finality of a judgment that may result from discovery
violations by the government and from hidden Fourth Amendment violations. The interests of
justice cannot be served by preserving an unjust conviction obtained through discovery
violations and through what may prove to be illegal searches and seizures.

       Granting the requested extension now will serve the interests of justice and the public
appearance of justice by showing the public and Mr. Ulbricht that the court agrees that he should
be allowed the opportunity to examine material evidence that should have been disclosed by the
prosecutor prior to his trial. Denying the extension of time disserves the interests of justice.

        For all the reasons stated above, the request for extension of time should be granted. Mr.
Ulbricht therefore respectfully requests the court consider the arguments and facts provided
herein and in his Request for Extension, grant this petition, vacate the order denying the request
for extension, and provide him with a 90 day extension of time, from the date of the court’s new
order, in which to submit his Rule 33 Motion.

Respectfully submitted,

/s/ Paul Grant
Paul Grant
Counsel for Ross William Ulbricht

cc: Eun Young Choi (by ECF)
    Assistant United States Attorney




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X

UNITED STATES OF AMERICA,                                     14 Cr. 68 (KBF)

                                   Plaintiff,                 DECLARATION OF PAUL
                                                              GRANT IN SUPPORT OF
                                                              PETITION FOR REHEARING RE
                                                              REQUEST FOR EXTENSION OF
                                                              TIME TO SUBMIT RULE 33
                                                              MOTION FOR NEW TRIAL
                            -v-

ROSS WILLIAM ULBRICHT,

                                    Defendant.
----------------------------------------------------X

        I, Paul Grant, pursuant to 28 U.S.C. § 1746, hereby affirm under penalty of perjury:

I am an attorney licensed in the State of Colorado and admitted pro hac vice in this case for

purposes of my representation of Ross Ulbricht in this matter. I state the following to be true:

1.      I represent Mr. Ulbricht on post-conviction matters in this case, and on related matters

before the Second Circuit.

2.      I have received some discovery in this case from prior counsel, Joshua L. Dratel, and

some additional discovery from the United States Attorney.

3.      The discovery provided to me by Mr. Dratel amounted to some 6 terabytes of digitally

stored material.

4.      I have spent hundreds of hours reviewing the discovery but have barely scratched the

surface of the material contained therein. I am not an expert in many of the formats in which the

discovery is stored, including .pcap (packet capture files that can be read in Wireshark), ftk

imager, and MySQL. I require expert assistance to review and understand the data.


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5.     I found no .pcap - formatted files in any of the discovery provided to me by prior

       counsel.

6.     I have found 4,499 .pcap - formatted files in some discovery inadvertently provided to

me by the United States Attorney. Those files apparently do include PRTT data, but not the FBI-

collected PRTT data described in the laptop and residence search warrant applications. Upon

learning that, on October 10, 2017, I requested the United States Attorney provide me with the

missing data. On February 2, 2018, the AUSA confirmed to me in writing that they had found

and would be sending me some recently located PRTT data files.

7.     I have reviewed all of the client file materials provided to me by prior counsel to the best

of my ability, and have seen no evidence that prior counsel ever looked at or even retained any of

the .pcap data files provided in discovery.

8.     Mr. Dratel sent Mr. Ulbricht’s parents an email dated May 31, 2017, advising them that

the Second Circuit had on that day denied Mr. Ulbricht’s appeal, affirming his conviction and

sentence. Mr. Dratel informed the parents that he would not be preparing Mr. Ulbricht’s petition

for rehearing, which was due in 14 days. Mr. Dratel stated as his reason the fact that the parents

had stopped paying his bills and he reminded them that he had previously warned them that he

would not represent Mr. Ulbricht after the Second Circuit ruled on the appeal.

9.     As of May 31, 2017, Mr. Dratel was still counsel of record for Mr. Ulbricht in the

Second Circuit and he had not filed a motion to withdraw in either the Second Circuit or in the

Southern District of New York.

10.    On June 6, 2017, Mr. Dratel sent an email to Mr. Ulbricht’s parents, advising them that

he had received my request for the client file. Mr. Dratel said his firm “cannot” undertake the

task of locating and assembling and preparing and sending the file materials to me, without being


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paid up front for their time. Mr. Dratel required a “suitable retainer” from Mr. Ulbricht’s parents

before he would undertake this task. Mr. Dratel has provided some file materials to undersigned

counsel since that date.

11.    As of today’s date, February 19, 2018, Mr. Dratel continues to refuse to provide

additional file materials to undersigned counsel, or even to search for relevant email messages,

without some payment.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

Executed this 19th day of February, 2018.

                                                             /s/ Paul Grant
                                                             Paul Grant




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        Ross William Ulbricht                                                                     Docket No.: -~-~::_~~jKBF) __________ _
                                                                                                                Hon. Katherine 8. Forrest
                                                                                                                              (District Court Judge)


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        This appeal concerns: Conviction only L__ Sentence only L__J Conviction & Sentence L__ Other I ./

        Defendant found guilty by plea I             I trial I     I N/A I ./ .
        Offense occurred after November 1, 1987? Yes I ./ i No I                            N/A[

        Date of sentence:                                                 N/A I ./ I

        Bail/Jail Disposition: Committed 1./              Not committed I         ' NIA I
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p
·~      Appellant is represented by counsel? Yes ./]No I                          If yes, provide the following information:


        Defendant's Counsel:             Paul Grant

        Counsel's Address:               Law Office of Paul Grant 19501 E. Mainstreet, # 200

                                         Parker, CO 80138

        Counsel's Phone:                 303-909-6133


        Assistant U.S. Attorney:          Eun Young Choi
                                          United States Attorney's Office Southern District of New York
        AUSA's Address:
                                          One St. Andrew's Plaza                       New York NY 10007

         AUSA's Phone:
                                           212-637-2187

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          PARKER, CO US                                         Delivered                     NEW YORK CITY, NY US
                                                            Signed for by: G.GELANDI




          Travel History
            Date/Time          Activity                                                                       Location

            -    3/09/2018 - Friday
           12:20 pm            Delivered                                                                      New York, NY

           8:18 am             On FedEx vehicle for delivery                                                  NEW YORK, NY

           7:40 am             At local FedEx facility                                                        NEW YORK, NY


            -    3/08/2018 - Thursday
           10:12 pm            At local FedEx facility                                                        NEW YORK, NY

           12:57 pm            Delivery exception                                                             NEW YORK, NY

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           8:50 am             On FedEx vehicle for delivery                                                  NEW YORK, NY

           8:47 am             At local FedEx facility                                                        NEW YORK, NY


            -    3/07/2018 - Wednesday
           8:53 pm             At local FedEx facility                                                        NEW YORK, NY

           1:45 pm             Delivery exception                                                             NEW YORK, NY

                               Customer not available or business closed
           1:25 pm             On FedEx vehicle for delivery                                                  NEW YORK, NY

           12:23 pm            Delivery exception                                                             NEW YORK, NY

                               Package at station, arrived after courier dispatch
           12:23 pm            At local FedEx facility                                                        NEW YORK, NY

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           9:09 am             At local FedEx facility                                                        NEW YORK, NY

           6:55 am             Arrived at FedEx location                                                      NEWARK, NJ

           3:55 am             Departed FedEx location                                                        MEMPHIS, TN

           12:43 am            Arrived at FedEx location                                                      MEMPHIS, TN


            -    3/06/2018 - Tuesday
           7:26 pm             Left FedEx origin facility                                                     LITTLETON, CO

           5:41 pm             Picked up                                                                      LITTLETON, CO

           3:15 pm             Shipment information sent to FedEx
           2:15 pm             Picked up                                                                      DENVER, CO

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           Tracking Number        789916814760                           Service              FedEx Priority Overnight
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 1   to use Internet and that we would be able to initiate a chat

 2   with them.

 3   Q.   Initiate a chat with who?

 4   A.   With the defendant.

 5   Q.   OK.    In terms of -- let's see.     So the plan was to observe

 6   Mr. Ulbricht

 7               MR. DRATEL:   Objection, your Honor.

 8   Q.   I just want to be clear.     When you are talking about

 9   initiating a chat, who were you in a position to initiate a

10   chat with?

11   A.   I was going to utilize my access to the staff chat with DPR

12   to start a chat with DPR once -- if we could get Ross Ulbricht

13   into an area where he would be in a public setting.

14   Q.   I just want to distinguish throughout this discussion the

15   DPR you are seeing with any surveillance, physical surveillance

16   of the defendant.     Can you agree to do that?

17   A.   Yes.

18   Q.   OK.    So what was the point of the plan?     What was the

19   purpose of planning the arrest that way?

20   A.   The purpose of that was to         if indeed Ross Ulbricht was

21   Dread Pirate Roberts, if I was to initiate a chat with him

22   while I was in a public setting, that we would try to get his

23   computer in a nonencrypted        in an open state where we could

24   then observe the same chat on his computer that I would be

25   having with Dread Pirate Roberts.


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 1   Q.   When you say "unencrypted," get the laptop in an

 2   unencrypted state, what do you mean?

 3   A.   What I mean by that is if it's protected by a password, get

 4   in a place where he has already logged in with that password so

 5   that the computer is open then.

 6   Q.   When you say "open," what do you mean?

 7   A.   Open and all of the files are available that are on the

 8   computer.

 9   Q.   What could cause a computer to lock up?

10   A.   Just by shutting it down, just by closing -- if it is a

11   laptop, by closing the lid, by -- you could set up other type

12   of triggers that could cause it to then turn on the password.

13   So there could be hot keys you could set up that could turn it

14   on, or you could actually just click shut down on it as well.

15   Q.   So where was the defendant living at this time?

16   A.   In San Francisco, California.

17   Q.   Where did the defendant's arrest take place?

18   A.   In San Francisco, California, at the Glen Park library.

19   Q.   Glen Park is a suburb or a part of San Francisco?

20   A.   I believe so.    I'm not sure, though.

21               MR. DRATEL:   Objection.

22               MR. TURNER:   Withdrawn.

23   Q.   On what date, again, did the arrest take place?

24   A.   The arrest took place on October 1, 2013.

25   Q.   And approximately what time of day did the arrest occur?


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 1   A.   It occurred around like 3 p.m., 3:15-ish.

 2   Q.   When did you arrive in San Francisco for the arrest?

 3   A.   I arrived September 30, 2013.

 4   Q.   The day before?

 5   A.   The day before.

 6   Q.   And in October 1st, 2013, where did you go to meet the

 7   arrest team?

 8   A.   That day, around      probably around noontime Pacific Time I

 9   met up with the rest of the arrest team a few blocks away from

10   Mr. Ulbricht's home.

11   Q.   Why were you told to -- where did you meet specifically?

12   A.   It was the Bello -- it was right outside the Bello Cafe.

13   It was an Internet cafe that was there.

14   Q.   Why were you told to go there?

15   A.   That's where the team was assembling.

16   Q.   Do you know why they were assembled there?

17   A.   It was far away enough from the home where we were not --

18   if we were going to be seen in a group together, that might be

19   unusual or to try to -- it might gain his attention.         And,

20   also, that area was somewhere where he was observed the day

21   beforehand in a public Internet cafe on his computer.

22   Q.   And how many members of the arrest team were there,

23   approximately, do you know, roughly?

24   A.   There might have been five or six at the time.

25   Q.   Were the people in plainclothes or official law enforcement


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 1   gear, or what?

 2   A.   They were -- everyone was in street clothes that day.

 3   Q.   Did you see everybody there with you, or were they spread

 4   out in the area?

 5   A.   I didn't know everyone that was there that day.        They were

 6   spread out in different locations.       There was people in

 7   different cafes up and down the area.

 8   Q.   Was the plan definitely to arrest him that day, or was

 9   there flexibility built into the plan?

10   A.   There was flexibility.     I mean, there was --

11   Q.   What was the contingent on in terms of the decision to

12   arrest him that day?

13   A.   Based upon the previous day and seeing him in the cafe, we

14   decided that it would be better to try to see if -- return to

15   that same cafe and use his computer as well so I could initiate

16   the chat on that day.     If he hadn't gone anywhere that day,

17   then we would wait until the next day or even the day later.

18   Q.   What ability did you have to monitor whether the Dread

19   Pirate Roberts was online at the time you were in this area

20   setting up the arrest?

21   A.   I had my laptop computer on me the entire day.        Pretty much

22   had it on almost 24 hours at that point, and I was connected to

23   the Internet using a mobile hot spot that was with me.          So I

24   had my laptop with me and my Internet connection that I could

25   take with me anywhere.


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 1   Q.   And so how were you monitoring him, DPR?

 2   A.   Through the staff chat primarily because -- and the forum

 3   as well.      The forum would show when he was online, and the

 4   staff chat would tell me, too, if he was online.

 5   Q.   Can you take a look at Government Exhibit 128A?

 6   A.   OK.

 7   Q.   Do you recognize this document?

 8   A.   I do.

 9   Q.   What is it?

10   A.   It is an overview of the area where the arrest took place

11   around the Glen Park library.

12   Q.   And based on your experience there, can you say whether the

13   map fairly and accurately depicts the area surrounding the

14   place of arrest?

15   A.   Yes, it does.

16                MR. TURNER:    The government offers Exhibit 128A into

17   evidence.

18                MR. DRATEL:    No objection, your Honor.

19                THE COURT:    Received.

20                (Government's Exhibit 128A received in evidence)

21   Q.   Could you point with your laser pointer?       Do you still have

22   it up there?

23   A.   Yes.

24   Q.   Where did you go to initially set up for the arrest?

25   A.   OK.     So this is the Cafe Bello, and we were standing


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 1   primarily most of the time around that corner right there.

 2   Q.   Which corner?

 3   A.   I'm sorry.    Right on the edge, right there in front of Cafe

 4   Bello, which is right next to the Glen Park library.

 5   Q.   When you say "we," who were you with?

 6   A.   I was with a computer specialist from FBI Torn Kiernan as

 7   well as Special Agent Chris Tarbell of the FBI.

 8   Q.   And Kiernan, K-i-e-r-n-a-n, is that how you spell that?

 9   A.   I believe so.

10   Q.   So approximately when did you arrive in that area?

11   A.   Around like later in the afternoon, so like around 12:40,

12   1 o'clock p.m.

13   Q.   What happened next?     What happened after you arrived?

14   A.   After I arrived, I was instructed to go to the cafe where I

15   was the previous day and to wait there to see if he would show

16   up during the day.

17   Q.   And did he?

18   A.   No, he did not.

19   Q.   And were you monitoring DPR's online activity during this

20   time?

21   A.   Yes, I was.

22   Q.   What was the status of that?

23   A.   He was online at the time.     DPR was online on the staff

24   chat, and he remained online through the time that I was in

25   that cafe.


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